Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 1 of 111 Page ID #:6261




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     10
                             UNITED STATES DISTRICT COURT
     11
                            CENTRAL DISTRICT OF CALIFORNIA
     12
        MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF-SK
     13 Behalf of All Others Similarly Situated, )
                                                 ) CLASS ACTION
     14                          Plaintiff,      )
                                                 ) STIPULATION OF SETTLEMENT
     15       vs.                                )
                                                 )
     16 STAMPS.COM, INC., et al.,                )
                                                 )
     17                          Defendants. )
                                                 )
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          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 2 of 111 Page ID #:6262




      1            This Stipulation of Settlement, dated August 16, 2021 (the “Stipulation”), is
      2 made and entered into by and among: (i) Lead Plaintiff and Class Representative
      3 Indiana Public Retirement System (“Indiana” or “Lead Plaintiff”) (on behalf of itself
      4 and each of the Class Members), by and through its counsel of record in the
      5 Litigation (as defined herein); and (ii) defendants Stamps.com Inc. (“Stamps.com”
      6 or the “Company”), Kenneth McBride (“McBride”), Kyle Huebner (“Huebner”) and
      7 Jeff Carberry (“Carberry”) (collectively, “Defendants”), by and through their
      8 counsel of record in the Litigation. The Stipulation is intended to fully, finally, and
      9 forever resolve, discharge, and settle the Released Plaintiff’s Claims and Released
     10 Defendants’ Claims (as defined herein), subject to the approval of the Court and the
     11 terms and conditions set forth in this Stipulation.
     12 I.         THE LITIGATION
     13            The initial complaint in this Litigation was filed on February 28, 2019, in the
     14 United States District Court for the Central District of California (the “Court”). On
     15 June 5, 2019, the Court issued an order appointing Indiana as Lead Plaintiff, and
     16 Robbins Geller Rudman & Dowd LLP as Lead Counsel.
     17            On August 5, 2019, Lead Plaintiff filed its Consolidated Class Action
     18 Complaint for Violations of the Federal Securities Laws (“Complaint”). On October
     19 4, 2019, Defendants moved to dismiss the Complaint, which motion was opposed
     20 by Lead Plaintiff. On January 17, 2020, the Court granted in part and denied in part
     21 Defendants’ motion to dismiss the Complaint, holding that Lead Plaintiff had
     22 adequately alleged that Defendants made false or misleading representations that
     23 Stamps.com had a strong relationship with the United States Postal Service
     24 (“USPS”) and that the USPS fully approved of the Company’s use of the reseller
     25 program.
     26            Defendants then moved for bifurcation of merits and class certification
     27 discovery. That motion was denied. On June 22, 2020, Defendants moved for
     28 clarification of the Court’s January 17, 2020 order asking the Court to “identify
                                                     -1-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 3 of 111 Page ID #:6263




      1 specifically which statements alleged in the [Complaint]” remain in the case. The
      2 Court granted in part and denied in part Defendants’ motion for clarification holding
      3 Lead Plaintiff had adequately alleged that certain statements alleged in seven
      4 paragraphs of the Complaint were false or misleading.
      5            On January 31, 2020, Defendants filed their Answer to the Complaint, and on
      6 April 20, 2020, the Settling Parties filed a joint report and Rule 26(f) discovery plan.
      7 Shortly thereafter, the Settling Parties (as defined herein) began formal discovery.
      8 Lead Plaintiff served written discovery on Defendants and issued eight subpoenas
      9 to third parties. At the time the settlement was reached, Lead Plaintiff had collected
     10 hundreds of thousands of pages of documents from Defendants and various third
     11 parties. Lead Plaintiff has taken three fact and expert depositions to date. Similarly,
     12 Defendants collected thousands of pages of documents from Lead Plaintiff, its
     13 investment managers and other third parties, and have taken one fact and one expert
     14 deposition.
     15            In the course of the Litigation, the Settling Parties engaged the services of
     16 Daniel Weinstein, a nationally recognized mediator.              The Settling Parties
     17 participated in an in-person mediation session with Judge Weinstein on December
     18 1, 2020. The Settling Parties did not reach an agreement to settle the Litigation at
     19 the mediation and continued litigating the case. The Settling Parties participated in
     20 a second in-person mediation session with Judge Weinstein on March 23, 2020.
     21 While the Settling Parties did not reach an agreement to settle the Litigation at this
     22 second mediation, they continued settlement negotiations with the assistance of
     23 Judge Weinstein. Judge Weinstein subsequently provided the Settling Parties with
     24 a Mediator’s Proposal to settle the Litigation for $100,000,000, which the Settling
     25 Parties accepted on May 28, 2021.
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                                                    -2-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 4 of 111 Page ID #:6264




      1 II.        DEFENDANTS’ DENIALS OF WRONGDOING AND
                   LIABILITY
      2
                   Each Defendant has expressly denied and continues to deny all charges of
      3
          wrongdoing or liability arising out of any of the conduct, statements, acts or
      4
          omissions alleged, or that could have been alleged, in the Complaint, including
      5
          without limitation, that the allegations that Defendants or any of them made or
      6
          caused to be made any alleged misrepresentation or omission, or engaged in any
      7
          alleged scheme or course of conduct to defraud, that the price of Stamps.com
      8
          common stock was artificially inflated by reasons of alleged misrepresentations,
      9
          non-disclosures or otherwise, that any Defendant acted with scienter in making or
     10
          causing any alleged misrepresentation or omission, and that Lead Plaintiff or the
     11
          Class Members (as hereinafter defined) have suffered damages. Defendants believe
     12
          that the Litigation is without merit and the evidence developed to date supports their
     13
          position that they acted in good faith and in a manner they reasonably believed to be
     14
          in accordance with all applicable rules, regulations, and laws. Defendants also
     15
          believe that their public statements during the Class Period contained no material
     16
          misstatements or omissions.       In addition, Defendants maintain that they have
     17
          meritorious defenses to all claims alleged in the Litigation.
     18
                   Nonetheless, Defendants have concluded that further conduct of the Litigation
     19
          could be protracted and expensive, and that it is desirable that the Litigation be fully
     20
          and finally settled in the manner and upon the terms and conditions set forth in this
     21
          Stipulation in order to limit further expense, inconvenience and distraction, to
     22
          dispose of the burden of protracted litigation, and to permit the operation of the
     23
          Company’s business without further distraction and diversion of the Company’s
     24
          executive personnel with respect to the matters at issue in the Litigation. Defendants
     25
          also have taken into account the uncertainty and risks inherent in any litigation,
     26
          especially in complex cases like this Litigation.        Defendants have, therefore,
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                                                    -3-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 5 of 111 Page ID #:6265




      1 determined that it is desirable and beneficial that the Litigation be settled in the
      2 manner and upon the terms and conditions set forth in this Stipulation.
      3            The Defendants enter into this Stipulation and the Settlement without in any
      4 way admitting to or acknowledging any fault, liability, or wrongdoing of any kind.
      5 There has been no adverse determination by any court against any of the Defendants
      6 on the merits of the claims asserted by Lead Plaintiff. Neither this Stipulation, nor
      7 any of its terms or provisions, nor any of the negotiations or proceedings connected
      8 with it, shall be construed as an admission or concession by any of Defendants of
      9 the merit or truth of any of the allegations or wrongdoing of any kind on the part of
     10 any of the Defendants. Defendants enter into this Stipulation and Settlement (as
     11 defined herein) based upon, among other things, Lead Plaintiff’s agreement herein
     12 that, to the fullest extent permitted by law, neither this Stipulation nor any of the
     13 terms or provisions, nor any of the negotiations or proceedings connected therewith,
     14 shall be offered as evidence in the Litigation or in any pending or future civil,
     15 criminal, or administrative action or other proceeding to establish any liability or
     16 admission by any Defendant or Released Defendant Party (as defined herein), or any
     17 other matter adverse to any of the Defendants, Released Defendant Parties, or any
     18 of their respective related entities, except as expressly set forth herein.
     19 III.       LEAD PLAINTIFF’S CLAIMS AND THE BENEFITS OF
                   SETTLEMENT
     20
                   Lead Plaintiff believes that the claims asserted in the Litigation have merit
     21
          and that the evidence developed to date supports the claims. However, Lead Plaintiff
     22
          and its counsel recognize and acknowledge the expense and length of continued
     23
          proceedings necessary to prosecute the Litigation against Defendants through trial
     24
          and through appeals. Lead Plaintiff and its counsel also have taken into account the
     25
          uncertain outcome and the risk of any litigation, especially in complex actions such
     26
          as this, as well as recent changes in the law and the difficulties and delays inherent
     27
          in such litigation. Lead Plaintiff and its counsel also are mindful of the inherent
     28
                                                    -4-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 6 of 111 Page ID #:6266




      1 problems of proof under and possible defenses to the securities law violations
      2 asserted in the Litigation. Lead Plaintiff and its counsel believe that the Settlement
      3 set forth in the Stipulation confers substantial benefits upon the Class. Based on
      4 their evaluation, Lead Plaintiff and its counsel have determined that the Settlement
      5 set forth in the Stipulation is in the best interests of the Class.
      6 IV.        TERMS OF STIPULATION AND AGREEMENT OF
                   SETTLEMENT
      7
                   NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by
      8
          and among Lead Plaintiff (for itself and the Class) and Defendants, by and through
      9
          their attorneys of record, that, subject to the approval of the Court, the Litigation, the
     10
          Released Plaintiff’s Claims, and Released Defendants’ Claims shall be finally and
     11
          fully compromised, settled, and released, and the Litigation shall be dismissed with
     12
          prejudice, as to all Settling Parties, upon and subject to the terms and conditions of
     13
          the Stipulation, as follows.
     14
                   1.         Definitions
     15
                   As used in the Stipulation the following terms have the meanings specified
     16
          below:
     17
                   1.1        “Authorized Claimant” means any Class Member who submits a Claim
     18
          for payment that is approved for payment from the Net Settlement Fund pursuant to
     19
          the terms of this Stipulation and the Court-approved Plan of Allocation.
     20
                   1.2        “Claim” means a paper claim submitted on a Proof of Claim and
     21
          Release or an electronic claim that is submitted to the Claims Administrator.
     22
                   1.3        “Claimant” means a person or entity who or which submits a Claim
     23
          seeking to be eligible to share in the proceeds of the Net Settlement Fund.
     24
                   1.4        “Claim Form” or “Proof of Claim and Release” means the form,
     25
          substantially in the form attached hereto as Exhibit A-2, that a Claimant must
     26
          complete and submit should that Claimant seek to share in the distribution of the Net
     27
          Settlement Fund.
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                                                      -5-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 7 of 111 Page ID #:6267




      1            1.5        “Claims Administrator” means the firm retained by Lead Plaintiff and
      2 Lead Counsel, subject to approval of the Court, to administer the Settlement,
      3 including providing all notices approved by the Court to Class Members, and
      4 processing Claims.
      5            1.6        “Class” means all persons who purchased or otherwise acquired
      6 Stamps.com common stock between May 3, 2017, and May 8, 2019, inclusive, and
      7 were damaged thereby.               Excluded from the Class are Defendants and their
      8 immediate families, the officers and directors of the Company, at all relevant times,
      9 members of their immediate families, and their legal representatives, heirs,
     10 successors or assigns, and any entity in which Defendants have or had a controlling
     11 interest. Also excluded from the Class are those Persons who exclude themselves
     12 by submitting a request for exclusion that is accepted by the Court.
     13            1.7        “Class Member(s)” or “Member(s) of the Class” mean a Person who
     14 falls within the definition of the Class as set forth in ¶1.6 above.
     15            1.8        “Class Period” means the period from May 3, 2017 through May 8,
     16 2019, inclusive.
     17            1.9        “Defendants” means Stamps.com, Kenneth McBride, Kyle Huebner,
     18 and Jeff Carberry.
     19            1.10 “Defendants’ Counsel” means Katten Muchin Rosenman LLP.
     20            1.11 “Effective Date,” or the date upon which this Settlement becomes
     21 “effective,” means the date by which all of the events and conditions specified in
     22 ¶7.1 of this Stipulation have been met and have occurred.
     23            1.12 “Escrow Account” means a segregated account maintained at Citibank,
     24 wherein the Settlement Amount shall be deposited and shall be maintained and held
     25 in escrow under the control of Lead Counsel, the Escrow Agent, and shall be deemed
     26 to be in the custody of the Court and shall remain subject to the jurisdiction of the
     27 Court until such time as the Settlement Fund is distributed or returned pursuant to
     28 the terms of this Stipulation and further order of the Court.
                                                       -6-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 8 of 111 Page ID #:6268




      1            1.13 “Escrow Agent” means Lead Counsel Robbins Geller Rudman &
      2 Dowd LLP.
      3            1.14 “Fee and Expense Application” means the application or applications
      4 for: (a) an award of attorneys’ fees; plus (b) expenses or charges in connection with
      5 prosecuting the Litigation; plus (c) any interest on such attorneys’ fees and expenses
      6 at the same rate and for the same periods as earned by the Settlement Fund (until
      7 paid) as may be awarded by the Court.
      8            1.15 “Fee and Expense Award” means the payment of attorneys’ fees and
      9 expenses of Plaintiff’s Counsel from the Settlement Fund.
     10            1.16 “Final” means, with respect to the Judgment approving the Stipulation,
     11 substantially in the form of Exhibit B attached hereto or any other order of the Court,
     12 when the last of the following shall occur: (i) the expiration of the time to file a
     13 motion to alter or amend the Judgment or order under Federal Rule of Civil
     14 Procedure 59(e) without any such motion having been filed; (ii) the time in which to
     15 appeal the Judgment or order has passed without any appeal having been taken; or
     16 (iii) if a motion to alter or amend is filed or if an appeal is taken, immediately after
     17 the determination of that motion or appeal so that it is no longer subject to any further
     18 judicial review or appeal whatsoever, whether by reason of affirmance by a court of
     19 last resort, lapse of time, voluntary dismissal of the appeal or otherwise in such a
     20 manner as to permit the consummation of the Settlement substantially in accordance
     21 with the terms and conditions of this Stipulation. For purposes of this paragraph, an
     22 “appeal” shall include any petition for a writ of certiorari or other writ that may be
     23 filed in connection with approval or disapproval of this Settlement, however, any
     24 appeal which concerns only the issue of Lead Counsel’s attorneys’ fees and
     25 expenses, payment to Lead Plaintiff for its time and expenses, the Plan of Allocation,
     26 as hereinafter defined, or the procedures for determining Authorized Claimants’
     27 recognized claims shall not in any way delay or preclude the Judgment from
     28 becoming Final.
                                                   -7-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 9 of 111 Page ID #:6269




      1            1.17 “Judgment” means the Final Judgment and Order of Dismissal with
      2 Prejudice to be rendered by the Court, substantially in the form attached hereto as
      3 Exhibit B.
      4            1.18 “Lead Counsel” means Robbins Geller Rudman & Dowd LLP,
      5 655 West Broadway, Suite 1900, San Diego, CA 92101.
      6            1.19 “Lead Plaintiff” means Indiana Public Retirement System.
      7            1.20 “Litigation” means the action captioned Karinski v. Stamps.com, Inc.,
      8 et al., Case No. 2:19-cv-01828-MWF-SK.
      9            1.21 “Net Settlement Fund” means the Settlement Fund less any attorneys’
     10 fees, expenses, and interest and any award to Lead Plaintiff provided for herein or
     11 approved by the Court and less Notice and Administration Expenses, Taxes and Tax
     12 Expenses, and other fees and expenses authorized by the Court.
     13            1.22 “Notice” means the Notice of Pendency and Settlement of Class Action,
     14 substantially in the form attached hereto as Exhibit A-1, which is to be mailed to
     15 Class Members.
     16            1.23 “Notice and Administration Expenses” means all costs, fees, and
     17 expenses incurred in connection with providing notice to the Class and the
     18 administration of the Settlement, including, but not limited to: (i) providing notice
     19 by mail, publication, and other means to Class Members; (ii) receiving and
     20 reviewing Claims; (iii) applying the Plan of Allocation; (iv) communicating with
     21 Persons regarding the Settlement and claims administration process; (v) distributing
     22 the proceeds of the Settlement; and (vi) fees related to the Escrow Account and
     23 investment of the Settlement Fund.
     24            1.24 “Person” means an individual, corporation (including all divisions and
     25 subsidiaries), general partnership, limited partnership, association, joint stock
     26 company, joint venture, limited liability company, professional corporation, estate,
     27 legal representative, trust, unincorporated association, government or any political
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                                                   -8-
          4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 10 of 111 Page ID
                                 #:6270



   1 subdivision or agency thereof, and any business or legal entity and their heirs,
   2 predecessors, successors, representatives, or assignees.
   3            1.25 “Plaintiff’s Counsel” means Lead Counsel.
   4            1.26 “Plan of Allocation” means the proposed plan of allocation of the Net
   5 Settlement Fund set forth in the Notice.
   6            1.27 “Preliminary Approval Order” means the proposed order, substantially
   7 in the form of Exhibit A attached hereto, requesting, inter alia, the preliminary
   8 approval of the Settlement set forth in the Stipulation, and approval for the mailing
   9 of the Notice and publication of the Summary Notice, substantially in the forms of
  10 Exhibits A-1 and A-3 attached hereto.
  11            1.28 “Released Defendant Party” or “Released Defendant Parties” means
  12 each and all of the Defendants, and each of their respective past, present, or future
  13 subsidiaries, parents, associates, affiliates, principals, successors and predecessors,
  14 joint venturers, assigns, officers, directors, shareholders, underwriters, trustees,
  15 partners, members, agents, representatives, general or limited partners or
  16 partnerships, fiduciaries, contractors, employees, insurers, co-insurers, reinsurers,
  17 controlling shareholders, attorneys, accountants or auditors, financial or investment
  18 advisors or consultants, banks or investment bankers, personal or legal
  19 representatives, estates, heirs, related or affiliated entities, in their capacity as such,
  20 and any entity in which Defendants have a controlling interest, any member of an
  21 individual Defendant’s immediate family, or any trust of which any individual
  22 Defendant is a settlor or which is for the benefit of any individual Defendant and/or
  23 member(s) of his or her family, and each of the heirs, executors, administrators,
  24 predecessors, successors, and assigns of the foregoing.
  25            1.29 “Released Defendants’ Claims” means any and all actions, suits,
  26 claims, demands, rights, liabilities, obligations, damages, costs, restitution,
  27 rescission, interest, attorneys’ fees, expert or consulting fees, expenses, matters and
  28 issues whatsoever, whether known or unknown, asserted or unasserted, whether
                                                 -9-
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 11 of 111 Page ID
                                 #:6271



   1 arising under federal, state, local, statutory, common, foreign or administrative law,
   2 or any other law, rule or regulation, whether fixed or contingent, at law or in equity,
   3 whether class or individual in nature, that any Released Defendant Party could have
   4 asserted against any of the Releasing Plaintiff Parties that arise out of or relate in any
   5 way to the institution, prosecution, or settlement of the claims in the Litigation.
   6 “Released Defendants’ Claims” includes “Unknown Claims” as defined in ¶1.40
   7 hereof. “Released Defendants’ Claims” do not include any claims relating to the
   8 enforcement of the Settlement.
   9            1.30 “Released Plaintiff’s Claims” means any and all claims, debts, duties,
  10 losses, actions, suits, demands, controversies, rights, liabilities, obligations,
  11 judgments, damages, costs, restitution, rescission, interest, attorneys’ fees, expert or
  12 consulting fees, expenses, matters, arguments, causes of action, and issues
  13 whatsoever, whether known or unknown, asserted or unasserted, accrued or
  14 unaccrued, liquidated or unliquidated, whether arising under federal, state, local,
  15 statutory, common, foreign or administrative law, or any other law, rule or
  16 regulation, whether fixed or contingent, at law or in equity, whether in the nature of
  17 class, individual, representative, or in other capacity, that any Releasing Plaintiff
  18 Party asserted in the Litigation or could have asserted, directly or indirectly, in any
  19 forum that arise out of or are based upon or relate in any way to both: (1) the
  20 purchase, acquisition or holding of Stamps.com common stock during the Class
  21 Period and (ii) the facts, claims, matters, allegations, transactions, events,
  22 occurrences, disclosures, representations, statements, acts, or omissions or failures
  23 to act that were alleged, asserted, contended, set forth, related to, or referred to in the
  24 Litigation. “Released Plaintiff’s Claims” includes “Unknown Claims” as defined in
  25 ¶1.40 hereof. “Released Plaintiff’s Claims” do not include any claims relating to the
  26 enforcement of the Settlement.
  27            1.31 “Releasing Plaintiff Party” or “Releasing Plaintiff Parties” means Lead
  28 Plaintiff, Lead Counsel, each and every Class Member, and each of their respective
                                                - 10 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 12 of 111 Page ID
                                 #:6272



   1 past, present, or future subsidiaries, parents, associates, affiliates, principals,
   2 successors and predecessors, joint venturers, assigns, officers, directors,
   3 shareholders, underwriters, trustees, partners, members, agents, representatives,
   4 general or limited partners or partnerships, fiduciaries, contractors, employees,
   5 insurers, co-insurers, reinsurers, controlling shareholders, attorneys, accountants or
   6 auditors, financial or investment advisors or consultants, banks or investment
   7 bankers, personal or legal representatives, estates, heirs, related or affiliated entities,
   8 in their capacity as such, and any entity in which Lead Plaintiff has a controlling
   9 interest, any member of an individual Class Member’s immediate family, or any
  10 trust of which any individual Class Member is a settlor or which is for the benefit of
  11 any individual Class Member and/or member(s) of his or her family, and each of the
  12 heirs, executors, administrators, predecessors, successors, and assigns of the
  13 foregoing. Releasing Plaintiff Parties do not include any Person who timely and
  14 validly seeks exclusion from the Class.
  15            1.32 “Settlement” means the settlement between Lead Plaintiff and
  16 Defendants on the terms and conditions set forth in this Stipulation.
  17            1.33 “Settlement    Amount”     means    One     Hundred     Million    Dollars
  18 ($100,000,000.00) in cash to be paid by wire transfer or check to the Escrow Agent
  19 pursuant to ¶2.2 of this Stipulation.
  20            1.34 “Settlement Fund” means the Settlement Amount plus all interest and
  21 income earned thereon.
  22            1.35 “Settlement Hearing” means the hearing to be held by the Court to
  23 determine whether the Settlement is fair, reasonable and adequate and should be
  24 approved.
  25            1.36 “Settling Parties” means, collectively, Defendants and Lead Plaintiff,
  26 on behalf of itself and the Class.
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                                                - 11 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 13 of 111 Page ID
                                 #:6273



   1            1.37 “Summary Notice” means the Summary Notice, substantially in the
   2 form attached hereto as Exhibit A-3, to be published as set forth in the Preliminary
   3 Approval Order.
   4            1.38 “Tax” or “Taxes” mean any and all taxes, fees, levies, duties, tariffs,
   5 imposts, and other charges of any kind (together with any and all interest, penalties,
   6 additions to tax and additional amounts imposed with respect thereto) imposed by
   7 any governmental authority, whether federal, state or local.
   8            1.39 “Tax Expenses” means, without limitation, expenses of tax attorneys
   9 and/or accountants and mailing and distribution costs and expenses relating to filing
  10 (or failing to file) the returns described in ¶2.10.
  11            1.40 “Unknown Claims” means any and all Released Plaintiff’s Claims
  12 which the Releasing Plaintiff Parties do not know or suspect to exist in their favor at
  13 the time of the release of the Released Defendant Parties, and any and all Released
  14 Defendants’ Claims which the Released Defendant Parties do not know or suspect
  15 to exist in their favor at the time of the release of the Releasing Plaintiff Parties,
  16 which, if known by him, her, or it, might have affected his, her or its decision(s) with
  17 respect to the Settlement, including the decision to object to the terms of the
  18 Settlement or to exclude himself, herself, or itself from the Class. With respect to
  19 any and all Released Plaintiff’s Claims and Released Defendants’ Claims, the
  20 Settling Parties stipulate and agree that, upon the Effective Date, Lead Plaintiff and
  21 Defendants shall expressly waive, and each Releasing Plaintiff Party and Released
  22 Defendant Party shall be deemed to have, and by operation of the Judgment shall
  23 have expressly waived, the provisions, rights, and benefits of California Civil Code
  24 §1542, which provides:
  25            A general release does not extend to claims which the creditor or
                releasing party does not know or suspect to exist in his or her favor
  26            at the time of executing the release and that, if known by him or
                her, would have materially affected his or her settlement with the
  27            debtor or released party.
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                                                - 12 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 14 of 111 Page ID
                                 #:6274



   1 Lead Plaintiff and Defendants shall expressly waive, and each Releasing Plaintiff
   2 Party and Released Defendant Party shall be deemed to have, and by operation of
   3 the Judgment shall have expressly waived, any and all provisions, rights, and
   4 benefits conferred by any law of any state or territory of the United States or any
   5 foreign country, or any principle of common law, which is similar, comparable or
   6 equivalent in substance to California Civil Code §1542.                   Lead Plaintiff, any
   7 Releasing Plaintiff Party, Defendants, or any Released Defendant Party may
   8 hereafter discover, facts, legal theories, or authorities in addition to or different from
   9 those which any of them now knows or believes to be true with respect to the subject
  10 matter of the Released Plaintiff’s Claims and the Released Defendants’ Claims, but
  11 Lead Plaintiff and Defendants shall expressly, fully, finally, and forever waive,
  12 compromise, settle, discharge, extinguish, and release, and each Releasing Plaintiff
  13 Party and Released Defendant Party shall be deemed to have waived, compromised,
  14 settled, discharged, extinguished, and released, and upon the Effective Date and by
  15 operation of the Judgment shall have waived, compromised, settled, discharged,
  16 extinguished, and released, fully, finally, and forever, any and all Released
  17 Plaintiff’s Claims and Released Defendants’ Claims as applicable, known or
  18 unknown, suspected or unsuspected, contingent or absolute, accrued or unaccrued,
  19 apparent or unapparent, which now exist, or heretofore existed, or may hereafter
  20 exist, without regard to the subsequent discovery or existence of such different or
  21 additional facts, legal theories, or authorities.            Lead Plaintiff and Defendants
  22 acknowledge, and the Releasing Plaintiff Parties and Released Defendant Parties
  23 shall be deemed by operation of the Judgment to have acknowledged, that the
  24 foregoing waiver was separately bargained for and a key element of the Settlement.
  25            2.         The Settlement
  26            2.1        The obligations incurred pursuant to this Stipulation are: (a) subject to
  27 approval by the Court and the Judgment, reflecting such approval, becoming Final;
  28 and (b) in full and final disposition of the Litigation with respect to the Releasing
                                                      - 13 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 15 of 111 Page ID
                                 #:6275



   1 Plaintiff Parties and Released Defendant Parties and any and all Released Plaintiff’s
   2 Claims and Released Defendants’ Claims.
   3                       a.    The Settlement Amount
   4            2.2        In full settlement of the claims asserted in the Litigation against
   5 Defendants and in consideration of the releases specified in ¶¶4.1 and 4.3 below, all
   6 of which the Settling Parties agree are good and valuable consideration, Defendants
   7 shall pay or cause to be paid the Settlement Amount by wire transfer or check in
   8 accordance with instructions to be provided by the Escrow Agent. The Settlement
   9 Amount shall be paid within eighteen (18) calendar days [after both: (i) entry of
  10 preliminary approval by the Court of this Settlement, and (ii) Lead Counsel provides
  11 Defendants’ Counsel with the information necessary to effectuate a transfer of funds
  12 to the Escrow Account. If the entire Settlement Amount is not timely paid to the
  13 Escrow Agent, Lead Counsel may terminate the Settlement but only if: (i) Lead
  14 Counsel has notified Defendants’ Counsel in writing of Lead Counsel’s intention to
  15 terminate the Settlement, and (ii) the entire Settlement Amount is not transferred to
  16 the Escrow Agent within two (2) calendar days after Lead Counsel has provided
  17 such written notice by email. The Escrow Agent shall deposit the Settlement
  18 Amount in the Escrow Account.
  19            2.3        With the sole exception of Defendants’ obligation to secure payment of
  20 the Settlement Amount into the Escrow Account as provided for in ¶2.2, the
  21 Released Defendant Parties shall have no responsibility for, interest in, or liability
  22 whatsoever with respect to: (i) any act, omission, or determination by Lead Counsel
  23 or the Claims Administrator, or any of their respective designees, in connection with
  24 the administration of the Settlement or otherwise; (ii) the management, investment,
  25 or distribution of the Settlement Fund; (iii) the Plan of Allocation; (iv) the
  26 determination, administration, calculation, or payment of any claims asserted against
  27 the Settlement Fund; (v) any loss suffered by, or fluctuation in value of, the
  28 Settlement Fund; or (vi) the payment or withholding of any Taxes, Tax Expenses,
                                                    - 14 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 16 of 111 Page ID
                                 #:6276



   1 and/or costs incurred in connection with the taxation of the Settlement Fund,
   2 distributions or other payments from the Escrow Account, or the filing of any
   3 federal, state, or local returns.
   4            2.4        Other than the obligation to cause the payment of the Settlement
   5 Amount pursuant to ¶2.2, Defendants shall have no obligation to make any other
   6 payments into the Escrow Account or to any Class Member pursuant to this
   7 Stipulation.
   8                       b.    The Escrow Agent
   9            2.5        The Escrow Agent shall invest the Settlement Amount deposited
  10 pursuant to ¶2.2 hereof in United States Agency or Treasury Securities or other
  11 instruments backed by the Full Faith & Credit of the United States Government or
  12 an Agency thereof, or fully insured by the United States Government or an Agency
  13 thereof and shall reinvest the proceeds of these instruments as they mature in similar
  14 instruments at their then-current market rates. The Released Defendant Parties shall
  15 have no responsibility for, interest in, or liability whatsoever with respect to
  16 investment decisions executed by the Escrow Agent. All risks related to the
  17 investment of the Settlement Fund shall be borne solely by the Settlement Fund. The
  18 Escrow Agent shall not disburse the Settlement Fund except as provided in the
  19 Stipulation, by an order of the Court, or with the written agreement of Defendants’
  20 Counsel.
  21            2.6        Subject to further order(s) and/or directions as may be made by the
  22 Court, or as provided in the Stipulation, the Escrow Agent is authorized to execute
  23 such transactions as are consistent with the terms of the Stipulation. The Released
  24 Defendant Parties shall have no responsibility for, interest in, or liability whatsoever
  25 with respect to the actions of the Escrow Agent, or any transaction executed by the
  26 Escrow Agent.
  27            2.7        All funds held by the Escrow Agent shall be deemed and considered to
  28 be in custodia legis of the Court, and shall remain subject to the jurisdiction of the
                                                    - 15 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 17 of 111 Page ID
                                 #:6277



   1 Court, until such time as such funds shall be distributed or returned pursuant to the
   2 Stipulation and/or further order(s) of the Court.
   3            2.8        Notwithstanding the fact that the Effective Date of the Settlement has
   4 not yet occurred, Lead Counsel may pay from the Settlement Fund, without further
   5 approval from Defendants and/or order of the Court, all reasonable costs and
   6 expenses actually incurred in connection with providing notice of the Settlement to
   7 the Class by mail, publication, and other means, locating Class Members, assisting
   8 with the submission of Claims, processing Proof of Claim and Release forms,
   9 administering the Settlement, and paying escrow taxes, fees and costs, if any
  10 (“Notice and Administration Expenses”). In the event that the Settlement does not
  11 become Final, any money paid or incurred for the above purposes, including any
  12 related fees, shall not be returned or repaid to Defendants or their insurers.
  13            2.9        It shall be Lead Counsel’s responsibility to disseminate the Notice and
  14 Summary Notice to the Class in accordance with this Stipulation and as ordered by
  15 the Court. Class Members shall have no recourse as to the Released Defendant
  16 Parties with respect to any claims they may have that arise from any failure of the
  17 notice process.
  18                       c.    Taxes
  19            2.10 (a)         The Settling Parties agree to treat the Settlement Fund as being
  20 at all times a “qualified settlement fund” within the meaning of Treas. Reg. §1.468B-
  21 1. In addition, the Escrow Agent shall timely make, or cause to be made, such
  22 elections as necessary or advisable to carry out the provisions of this ¶2.10, including
  23 the “relation-back election” (as defined in Treas. Reg. §1.468B-1) back to the
  24 earliest permitted date. Such elections shall be made in compliance with the
  25 procedures and requirements contained in such regulations.                  It shall be the
  26 responsibility of the Escrow Agent to timely and properly prepare and deliver the
  27 necessary documentation for signature by all necessary parties, and thereafter to
  28 cause the appropriate filing(s) to occur.
                                                     - 16 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 18 of 111 Page ID
                                 #:6278



   1                       (b)   The Settling Parties agree that Lead Counsel shall be
   2 “administrators” of the qualified settlement fund for the purpose of §468B of the
   3 Internal Revenue Code of 1986, as amended, and the regulations promulgated
   4 thereunder. Lead Counsel shall timely and properly file, or cause to be filed, all
   5 federal, state, or local tax returns and information returns necessary or advisable with
   6 respect to the earnings on the funds deposited in the Escrow Account (including,
   7 without limitation, the returns described in Treas. Reg. §1.468B-2(k)). Such returns
   8 (as well as the election described in ¶2.10(a) hereof) shall be consistent with this
   9 ¶2.10 and in all events shall reflect that all Taxes (including any estimated Taxes,
  10 interest or penalties) on the income earned on the funds deposited in the Escrow
  11 Account shall be paid out of the Settlement Fund as provided in ¶2.10(c) hereof.
  12                       (c)   All (a) Taxes (including any estimated Taxes, interest or
  13 penalties) arising with respect to the income earned by the Settlement Fund,
  14 including any Taxes or tax detriments that may be imposed upon the Released
  15 Defendant Parties or their counsel with respect to any income earned by the
  16 Settlement Fund for any period during which the Settlement Fund does not qualify
  17 as a “qualified settlement fund” for federal or state income tax purposes, and (b) Tax
  18 Expenses, shall be paid out of the Settlement Fund; in all events the Settling Parties
  19 and their counsel shall have no liability or responsibility for the Taxes or the Tax
  20 Expenses. Taxes and Tax Expenses shall be treated as, and considered to be, a cost
  21 of administration of the Settlement Fund and shall be timely paid by the Escrow
  22 Agent out of the Settlement Fund without prior order from the Court or Defendants
  23 and Lead Counsel shall be authorized (notwithstanding anything herein to the
  24 contrary) to withhold from distribution to Authorized Claimants any funds necessary
  25 to pay such amounts, including the establishment of adequate reserves for any Taxes
  26 and Tax Expenses (as well as any amounts that may be required to be withheld under
  27 Treas. Reg. §1.468B-2(l)(2)); neither the Releasing Plaintiff Parties, the Released
  28 Defendant Parties nor their counsel are responsible nor shall they have any liability
                                                  - 17 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 19 of 111 Page ID
                                 #:6279



   1 for any Taxes or Tax Expenses. The Settling Parties hereto agree to cooperate with
   2 the Escrow Agent, each other, their counsel, and their tax attorneys and accountants
   3 to the extent reasonably necessary to carry out the provisions of this ¶2.10.
   4                       d.    Termination of Settlement
   5            2.11 In the event that the Settlement is not approved or the Settlement is
   6 terminated, canceled, or fails to become effective for any reason, the Settlement
   7 Fund less Notice and Administration Expenses or Taxes or Tax Expenses paid,
   8 incurred, or due and owing in connection with the Settlement provided for herein,
   9 shall be refunded pursuant to written instructions from Defendants’ Counsel in
  10 accordance with ¶7.5 herein.
  11            3.         Preliminary Approval Order and Settlement Hearing
  12            3.1        Promptly after execution of the Stipulation, the Settling Parties shall
  13 submit the Stipulation together with its Exhibits to the Court and Lead Plaintiff shall
  14 move for entry of the Preliminary Approval Order, substantially in the form of
  15 Exhibit A attached hereto, requesting, inter alia, the preliminary approval of the
  16 Settlement set forth in the Stipulation, and approval for the mailing of the Notice and
  17 publication of the Summary Notice, substantially in the forms of Exhibits A-1 and
  18 A-3 attached hereto, which motion shall be unopposed by Defendants. The Notice
  19 shall include the general terms of the Settlement, the proposed Plan of Allocation,
  20 the general terms of the Fee and Expense Application, and the date of the Settlement
  21 Hearing.
  22            3.2        Lead Counsel shall request that after notice is given, the Court hold the
  23 Settlement Hearing. At or after the Settlement Hearing, Lead Counsel also will
  24 request that the Court approve the proposed Plan of Allocation and the Fee and
  25 Expense Application and Lead Plaintiff’s request for payment of its time and
  26 expenses, if any.
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                                                      - 18 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 20 of 111 Page ID
                                 #:6280



   1            4.         Releases
   2            4.1        By operation of the Judgment, as of the Effective Date, as defined in
   3 ¶1.11 hereof, Lead Plaintiff and each and every Releasing Plaintiff Party shall be
   4 deemed to have fully, finally, and forever waived, released, discharged, and
   5 dismissed each and every one of the Released Plaintiff’s Claims against each and
   6 every one of the Released Defendant Parties and shall forever be barred and enjoined
   7 from commencing, instituting, prosecuting, or maintaining any and all of the
   8 Released Plaintiff’s Claims against any and all of the Released Defendant Parties,
   9 whether or not such Releasing Plaintiff Party executes and delivers the Proof of
  10 Claim and Release or shares in the Settlement Fund. Claims to enforce the terms of
  11 the Stipulation are not released.
  12            4.2        The Proof of Claim and Release to be executed by the Class Members
  13 shall release all Released Plaintiff’s Claims against the Released Defendant Parties
  14 and shall be substantially in the form contained in Exhibit A-2 attached hereto.
  15            4.3        By operation of the Judgment, as of the Effective Date, as defined in
  16 ¶1.11 hereof, Defendants and each and every Released Defendant Party shall be
  17 deemed to have fully, finally, and forever waived, released, discharged, and
  18 dismissed each and every one of the Released Defendants’ Claims against each and
  19 every one of the Releasing Plaintiff Parties and shall forever be barred and enjoined
  20 from commencing, instituting, prosecuting, or maintaining any and all of the
  21 Released Defendants’ Claims against any and all of the Releasing Plaintiff Parties.
  22 Claims to enforce the terms of the Stipulation are not released.
  23            4.4        The Judgment shall contain a bar order that, upon the Effective Date,
  24 to the fullest extent permitted by law, (i) all persons shall be permanently enjoined,
  25 barred and restrained from commencing, instituting, prosecuting, or maintaining any
  26 claims, actions, or causes of action for contribution, indemnity or otherwise against
  27 any of the Released Defendant Parties seeking as damages or otherwise the recovery
  28 of all or part of any liability, judgment, or settlement which they pay or are obligated
                                                    - 19 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 21 of 111 Page ID
                                 #:6281



   1 to pay or agree to pay to the Releasing Plaintiff Parties arising out of, relating to or
   2 concerning any acts, facts, statements or omissions that were or could have been
   3 alleged in the Litigation, both known and Unknown Claims, whether arising under
   4 state, federal or foreign law, as claims, cross-claims, counterclaims, third-party
   5 claims or otherwise, in the Court or any other federal, state, or foreign court, or in
   6 any arbitration proceeding, administrative agency proceeding, tribunal, or any other
   7 proceeding or forum; and (ii) all Released Defendant Parties shall be permanently
   8 enjoined, barred and restrained from commencing, instituting, prosecuting, or
   9 maintaining any claims, actions, or causes of action for contribution, indemnity or
  10 otherwise against any persons seeking as damages or otherwise the recovery of all
  11 or part of any liability, judgment or settlement which they pay or are obligated to
  12 pay or agree to pay to the Releasing Plaintiff Parties arising out of, relating to, or
  13 concerning any acts, facts, statements or omissions that were or could have been
  14 alleged in the Litigation, both known and Unknown Claims, whether arising under
  15 state, federal or foreign law, as claims, cross-claims, counterclaims, third-party
  16 claims or otherwise, in the Court or any other federal, state, or foreign court, or in
  17 any arbitration proceeding, administrative agency proceeding, tribunal, or any other
  18 proceeding or forum; provided that clauses (i) and (ii) of this Paragraph shall not be
  19 construed to modify, amend, or supersede any agreements between or among
  20 Released Defendant Parties with respect to claims between or among those Released
  21 Defendant Parties, including, without limitation, any claims for contractual or other
  22 indemnification rights, nor limit the Defendants’ ability to pursue insurance
  23 recoveries against their insurers for claims relating to this Litigation, including the
  24 Settlement Amount and legal fees and costs incurred in connection with the
  25 Litigation.
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                                              - 20 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 22 of 111 Page ID
                                 #:6282



   1            5.         Provision of Notice, Administration and Calculation of
                           Claims, Final Awards and Supervision and Distribution of
   2                       the Settlement Fund
   3            5.1        As part of the Preliminary Approval Order, Lead Counsel shall seek
   4 appointment of a Claims Administrator. The Claims Administrator shall administer
   5 the Settlement, including, but not limited to, the process of receiving, reviewing, and
   6 approving or denying Claims, under Lead Counsel’s supervision and subject to the
   7 jurisdiction of the Court.           Other than Stamps.com’s obligation to provide its
   8 securities holders records as provided in ¶5.2 below, the Released Defendant Parties
   9 and Defendants’ Counsel shall have no responsibility for or interest in whatsoever
  10 with respect to the administration of the Settlement or the actions or decisions of the
  11 Claims Administrator, and shall have no liability whatsoever to the Releasing
  12 Plaintiff Parties, including Lead Plaintiff, any other Class Members, or Lead
  13 Counsel, in connection with such administration, including, but not limited to, with
  14 respect to: (i) any act, omission, or determination by Lead Counsel, the Escrow
  15 Agent, and/or the Claims Administrator, or any of their respective designees or
  16 agents, in connection with the administration of the Settlement or otherwise; (ii) the
  17 management or investment of the Settlement Fund or the Net Settlement Fund, or
  18 the distribution of the Net Settlement Fund; (iii) the Plan of Allocation; (iv) the
  19 determination, administration, calculation, or payment of any claims asserted against
  20 the Settlement Fund; (v) any losses suffered by, or fluctuations in value of, the
  21 Settlement Fund; or (vi) the payment or withholding of any taxes, expenses, and/or
  22 costs incurred with the taxation of the Settlement Fund or the filing of any federal,
  23 state, or local returns. Defendants’ Counsel shall cooperate in the administration of
  24 the Settlement to the extent reasonably necessary to effectuate its terms.
  25            5.2        In accordance with the terms of the Preliminary Approval Order, Lead
  26 Counsel shall cause the Claims Administrator to mail the Notice and Claim Form to
  27 those members of the Class as may be identified through reasonable effort. Lead
  28 Counsel shall also cause the Claims Administrator to have the Summary Notice
                                                    - 21 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 23 of 111 Page ID
                                 #:6283



   1 published in accordance with the terms of the Preliminary Approval Order to be
   2 entered by the Court. For the purposes of identifying and providing notice to the
   3 Class, within seven (7) calendar days of the date of entry of the Preliminary Approval
   4 Order, Stamps.com shall provide or cause to be provided to the Claims
   5 Administrator in electronic format (at no cost to the Settlement Fund, Lead Counsel
   6 or the Claims Administrator) a list (consisting of names and addresses) of the holders
   7 of the Stamps.com common stock during the Class Period.
   8            5.3        The Claims Administrator, subject to such supervision and direction of
   9 the Court as may be necessary or as circumstances may require, shall administer and
  10 calculate the Claims submitted by Class Members and shall oversee distribution of
  11 the Net Settlement Fund to Authorized Claimants.
  12            5.4        The Settlement Fund shall be applied as follows:
  13                       (a)   to pay all Notice and Administration Expenses as described in
  14 ¶2.8 hereof;
  15                       (b)   to pay the Taxes and Tax Expenses as described in ¶2.10 hereof;
  16                       (c)   to pay the Fee and Expense Award to Lead Counsel and to
  17 reimburse Lead Plaintiff for its time and expenses pursuant to 15 U.S.C. §78u-
  18 4(a)(4), if and to the extent allowed by the Court; and
  19                       (d)   after the Effective Date, to distribute the Net Settlement Fund to
  20 Authorized Claimants as allowed by the Stipulation, the Plan of Allocation, or the
  21 Court.
  22            5.5        After the Effective Date, and in accordance with the terms of the
  23 Stipulation, the Plan of Allocation, or such further approval and further order(s) of
  24 the Court as may be necessary or as circumstances may require, the Net Settlement
  25 Fund shall be distributed to Authorized Claimants, subject to and in accordance with
  26 the following.
  27            5.6        Within ninety (90) calendar days after the mailing of the Notice or such
  28 other time as may be set by the Court, each Person claiming to be an Authorized
                                                     - 22 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 24 of 111 Page ID
                                 #:6284



   1 Claimant shall be required to submit to the Claims Administrator a completed Proof
   2 of Claim and Release, substantially in the form of Exhibit A-2 attached hereto,
   3 signed under penalty of perjury and supported by such documents as are specified
   4 in the Proof of Claim and Release.
   5            5.7        The Claims Administrator shall receive Claims and determine first,
   6 whether the Claim is a valid Claim, in whole or part, and second, each Authorized
   7 Claimant’s pro rata share of the Net Settlement Fund based upon each Authorized
   8 Claimant’s Recognized Claim compared to the total Recognized Claims of all
   9 Authorized Claimants (as set forth in the Plan of Allocation set forth in the Notice
  10 attached hereto as Exhibit A-1, or in such other plan of allocation as the Court
  11 approves).
  12            5.8        Except as otherwise ordered by the Court, all Class Members who fail
  13 to timely submit a valid Proof of Claim and Release within such period, or such other
  14 period as may be ordered by the Court, or otherwise allowed, shall be forever barred
  15 from receiving any payments pursuant to the Stipulation and the Settlement set forth
  16 herein, but will in all other respects be subject to and bound by the provisions of the
  17 Stipulation, the releases contained herein, and the Judgment. Notwithstanding the
  18 foregoing, Lead Counsel shall have the discretion (but not an obligation) to accept
  19 late-submitted claims for processing by the Claims Administrator so long as the
  20 distribution of the Net Settlement Fund to Authorized Claimants is not materially
  21 delayed thereby, but will bear no liability for failing to accept such late claims.
  22            5.9        Proofs of Claim and Release that do not meet the submission
  23 requirements may be rejected. Prior to rejection of a Proof of Claim and Release,
  24 the Claims Administrator shall communicate with Claimants in order to remedy the
  25 curable deficiencies in the Proofs of Claim and Release submitted. The Claims
  26 Administrator, under supervision of Lead Counsel, if necessary, shall notify, in a
  27 timely fashion and in writing, all Claimants whose Proofs of Claim and Release it
  28 proposes to reject in whole or in part, setting forth the reasons therefore, and shall
                                                    - 23 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 25 of 111 Page ID
                                 #:6285



   1 indicate in such notice that the Claimant whose Claim is to be rejected has the right
   2 to a review by the Court if the Claimant so desires and complies with the
   3 requirements of ¶5.10 below.
   4            5.10 If any Claimant whose Claim has been rejected in whole or in part
   5 desires to contest such rejection, the Claimant must, within twenty (20) days after
   6 the mailing of the notice required in ¶5.9 above, or a less period of time if the claim
   7 was untimely, serve upon the Claims Administrator a notice and statement of reasons
   8 indicating the Claimant’s grounds for contesting the rejection along with any
   9 supporting documentation, and requesting a review thereof by the Court. If a dispute
  10 concerning a Claim cannot otherwise be resolved, Lead Counsel shall thereafter
  11 present the request for review to the Court.
  12            5.11 Each Claimant who submits a Proof of Claim and Release shall be
  13 deemed to have submitted to the jurisdiction of the Court with respect to the
  14 Claimant’s Claim, including, but not limited to, all releases provided herein and in
  15 the Judgment, and the Claim will be subject to investigation and discovery under the
  16 Federal Rules of Civil Procedure, provided that such investigation and discovery
  17 shall be limited to that Claimant’s status as a Class Member, the validity and amount
  18 of the Claimant’s Claim and any previous objections to class action settlements by
  19 the Claimant or his, her or its counsel. No discovery shall be allowed on the merits
  20 of the Litigation or settlement in connection with the processing of the Claims. All
  21 proceedings with respect to the administration, processing and determination of
  22 Claims and the determination of all controversies relating thereto, including disputed
  23 questions of law and fact with respect to the validity of Claims, shall be subject to
  24 the jurisdiction of the Court, but shall not in any event delay or affect the finality of
  25 the Judgment. All Class Members, other Claimants, and parties to this Settlement
  26 expressly waive trial by jury (to the extent any such right may exist) and any right
  27 of appeal or review with respect to such determinations.
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                                               - 24 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 26 of 111 Page ID
                                 #:6286



   1            5.12 Payment pursuant to this Stipulation and Plan of Allocation shall be
   2 deemed final and conclusive against all Claimants. All Class Members whose
   3 Claims are not approved shall be barred from participating in a distribution from the
   4 Net Settlement Fund, but otherwise shall be bound by all of the terms of this
   5 Stipulation and the Settlement, including the terms of the Judgment to be entered in
   6 the Litigation and the releases provided for herein, and shall be banned from bringing
   7 any action against the Released Defendant Parties concerning the Released
   8 Plaintiff’s Claims.
   9            5.13 Following the Effective Date, the Net Settlement Fund shall be
  10 distributed to the Authorized Claimants substantially in accordance with the plan of
  11 allocation approved by the Court. No distributions will be made to Authorized
  12 Claimants who would otherwise receive a distribution of less than $10.00. If there
  13 is any balance remaining in the Net Settlement Fund after a reasonable period of
  14 time after the date of the initial distribution of the Net Settlement Fund, Lead
  15 Counsel shall, if feasible, reallocate such balance among Authorized Claimants who
  16 negotiated the checks sent in the initial distribution and who would receive a
  17 minimum of $10.00. These redistributions shall be repeated until the balance
  18 remaining in the Net Settlement Fund is de minimis. Thereafter, any balance which
  19 still remains in the Net Settlement Fund shall be donated to an appropriate non-profit
  20 organization designated by Lead Counsel.
  21            5.14 The Released Defendant Parties shall have no responsibility for,
  22 interest in, or liability whatsoever with respect to the distribution of the Net
  23 Settlement Fund, the Plan of Allocation, the determination, administration, or
  24 calculation of Claims, the payment or withholding of Taxes or Tax Expenses, or any
  25 losses incurred in connection therewith. No Person shall have any claim of any kind
  26 against the Released Defendant Parties with respect to the matters set forth in ¶¶5.1-
  27 5.14 hereof.
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                                              - 25 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 27 of 111 Page ID
                                 #:6287



   1            5.15 No Person shall have any claim against Lead Plaintiff, Lead Counsel or
   2 the Claims Administrator, or any other Person designated by Lead Counsel based on
   3 determinations or distributions made substantially in accordance with the Stipulation
   4 and the Settlement contained herein, the Plan of Allocation, or further order(s) of the
   5 Court.
   6            5.16 It is understood and agreed by the Settling Parties that any proposed
   7 Plan of Allocation of the Net Settlement Fund including, but not limited to, any
   8 adjustments to an Authorized Claimant’s Claim set forth therein, is not a part of the
   9 Stipulation and is to be considered by the Court separately from the Court’s
  10 consideration of the fairness, reasonableness, and adequacy of the Settlement set
  11 forth in the Stipulation, and any order or proceeding relating to the Plan of Allocation
  12 shall not operate to terminate or cancel the Stipulation or affect the finality of the
  13 Court’s Judgment approving the Stipulation and the Settlement set forth herein.
  14            6.         Lead Counsel’s Attorneys’ Fees and Expenses
  15            6.1        Lead Counsel will submit a Fee and Expense Application on behalf of
  16 all Plaintiff’s Counsel for: (a) an award of attorneys’ fees; plus (b) expenses or
  17 charges in connection with prosecuting the Litigation; plus (c) any interest on such
  18 attorneys’ fees and expenses at the same rate and for the same periods as earned by
  19 the Settlement Fund (until paid) as may be awarded by the Court. Lead Counsel
  20 reserves the right to make additional applications for fees and expenses incurred. In
  21 addition, Lead Plaintiff may also submit a request for reimbursement of its time and
  22 expenses representing the Class pursuant to 15 U.S.C. §78u-4(a)(4).
  23            6.2        Any attorneys’ fees and expenses awarded by the Court shall be paid
  24 from the Settlement Fund to Lead Counsel immediately upon entry of the Judgment
  25 and an Order awarding such attorneys’ fees and expenses, notwithstanding the
  26 existence of any timely filed objections thereto or to the Settlement, or potential for
  27 appeal therefrom, or collateral attack on the awarded fees and expenses, the
  28 Settlement, or any part thereof. Lead Counsel shall allocate any Court-awarded
                                                   - 26 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 28 of 111 Page ID
                                 #:6288



   1 attorneys’ fees and expenses among other Plaintiff’s Counsel, if any, in a manner in
   2 which they in good faith believe reflects the contributions of such counsel to the
   3 initiation, prosecution, and resolution of the Litigation.
   4            6.3        In the event that the Effective Date does not occur, or the Judgment or
   5 the order making the Fee and Expense Award is reversed or modified, or the
   6 Stipulation is canceled or terminated for any other reason, and such reversal,
   7 modification, cancellation or termination becomes Final and not subject to review,
   8 and in the event that the Fee and Expense Award has been paid to any extent, then
   9 Lead Counsel and such of Plaintiff’s Counsel who have received any portion of the
  10 Fee and Expense Award shall within thirty (30) days from receiving notice of the
  11 termination of the Settlement pursuant to this Stipulation, notice from a court of
  12 appropriate jurisdiction of the disapproval of the Settlement by final non-appealable
  13 court order, or notice of any reduction or reversal of the award of attorneys’ fees
  14 and/or expenses by final non-appealable court order, refund to the Settlement Fund
  15 such fees and expenses previously paid to them from the Settlement Fund plus the
  16 interest earned thereon in an amount consistent with such reversal or modification.
  17 Each such Plaintiff’s Counsel’s law firm receiving attorneys’ fees and litigation
  18 costs and expenses, as a condition of receiving such fees and expenses, on behalf of
  19 itself and each partner and/or shareholder of it, agrees that it and its partners and/or
  20 shareholders are subject to the jurisdiction of the Court for the purpose of enforcing
  21 this Stipulation.
  22            6.4        The procedure for and the allowance or disallowance by the Court of
  23 any applications by any Plaintiff’s Counsel for attorneys’ fees and expenses, or the
  24 expenses of Lead Plaintiff, to be paid out of the Settlement Fund, are not part of the
  25 Settlement set forth in the Stipulation, and are to be considered by the Court
  26 separately from the Court’s consideration of the fairness, reasonableness, and
  27 adequacy of the Settlement set forth in the Stipulation, and shall have no effect on
  28 the terms of the Stipulation or on the validity or enforceability of this Settlement.
                                                     - 27 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 29 of 111 Page ID
                                 #:6289



   1 The approval of the Settlement, and it becoming Final, shall not be contingent on the
   2 award of attorneys’ fees and expenses, any award to Lead Plaintiff or Plaintiff’s
   3 Counsel, nor any appeals to such awards. Lead Plaintiff and Lead Counsel may not
   4 cancel or terminate the Stipulation or the Settlement in accordance with ¶¶7.1-7.9 or
   5 otherwise based on the Court’s or any appellate court’s ruling with respect to fees
   6 and expenses in the Litigation.
   7            6.5        Any fees and/or expenses awarded by the Court shall be paid solely
   8 from the Settlement Fund.                The Released Defendant Parties shall have no
   9 responsibility for any payment of attorneys’ fees and/or expenses to Lead Counsel,
  10 Plaintiff’s Counsel, or any other plaintiff and counsel.
  11            6.6        The Released Defendant Parties shall have no responsibility for the
  12 allocation among Plaintiff’s Counsel, any other counsel who have represented one
  13 or more plaintiff in the Litigation, and/or any other Person who may assert some
  14 claim thereto, of any Fee and Expense Award that the Court may make in the
  15 Litigation.
  16            7.         Conditions of Settlement, Effect of Disapproval,
                           Cancellation or Termination
  17
                7.1        The Effective Date of the Stipulation shall be the first business day on
  18
       which all of the following shall have occurred or been waived:
  19
                           (a)   the Settlement Amount has been deposited into the Escrow
  20
       Account;
  21
                           (b)   the Court has entered the Preliminary Approval Order, as
  22
       required by ¶3.1 hereof;
  23
                           (c)   the Court has entered the Judgment, or a judgment substantially
  24
       in the form of Exhibit B attached hereto, following notice to the Class and the
  25
       Settlement Hearing, as prescribed by Rule 23 of the Federal Rules of Civil
  26
       Procedure;
  27
  28
                                                     - 28 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 30 of 111 Page ID
                                 #:6290



   1                       (d)   Defendants have not exercised their option to terminate the
   2 Stipulation pursuant to ¶7.3 hereof; and
   3                       (e)   the Judgment has become Final, as defined in ¶1.16 hereof.
   4            7.2        This is not a claims made settlement. Upon the Effective Date, the
   5 Released Defendant Parties, including Defendants, Defendants’ insurers, and/or any
   6 other Person funding the Settlement on their behalf, shall have no interest in the
   7 Settlement Fund or in the Net Settlement Fund, shall not have any right to the return
   8 of the Settlement Fund or any portion thereof for any reason, and shall not have
   9 liability should claims made exceed the amount available in the Settlement Fund for
  10 payment of such claims. The Released Defendant Parties shall not be liable for the
  11 loss of any portion of the Settlement Fund, nor have any liability, obligation, or
  12 responsibility for the payment of claims, Taxes, legal fees, or any other expenses
  13 payable from the Settlement Fund. If the conditions specified in ¶7.1 hereof are not
  14 met, then the Stipulation shall be canceled and terminated subject to ¶7.4 hereof
  15 unless Lead Counsel and Defendants’ Counsel mutually agree in writing to proceed
  16 with the Stipulation.
  17            7.3        If prior to the Settlement Hearing, the aggregate number of shares of
  18 Stamps.com common stock purchased or acquired during the Class Period by
  19 Persons who would otherwise be Class Members, but who request exclusion from
  20 the Class, exceeds the sum specified in a separate supplemental agreement between
  21 Lead Plaintiff and Defendants (the “Supplemental Agreement”), Defendants shall
  22 have the discretion to withdraw from or terminate this Stipulation in accordance with
  23 the procedures set forth in the Supplemental Agreement. The Settling Parties agree
  24 to maintain the confidentiality of the Supplemental Agreement, which shall not be
  25 filed with the Court unless a dispute arises as to its terms, or as otherwise ordered by
  26 the Court, nor shall the Supplemental Agreement otherwise be disclosed unless
  27 ordered by the Court. If required by the Court, the Supplemental Agreement and/or
  28 any of its terms may be disclosed in camera to the Court for purposes of approval of
                                                    - 29 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 31 of 111 Page ID
                                 #:6291



   1 the Settlement, but such disclosure shall be carried out to the fullest extent possible
   2 in accordance with the practices of the Court so as to preserve the confidentiality of
   3 the Supplemental Agreement, particularly the threshold aggregate number of shares.
   4            7.4        Defendants and Lead Plaintiff shall each have the right to terminate the
   5 Settlement and this Stipulation by providing written notice of their election to do so
   6 to all other counsel of the Settling Parties within thirty (30) days of:
   7                       (a)   the Court’s final non-appealable refusal to enter the Preliminary
   8 Approval Order or any material part of it;
   9                       (b)   the Settlement Amount not being timely funded when Lead
  10 Counsel has complied with ¶2.2 hereof;
  11                       (c)   the Court’s final non-appealable refusal to approve this
  12 Stipulation or any material part of it;
  13                       (d)   the Court’s final non-appealable refusal to enter the Judgment or
  14 any material part of it; or
  15                       (e)   the Judgment being modified or reversed in any material respect
  16 by a Final order of the Court, the United States Court of Appeals, or the Supreme
  17 Court of the United States. For the avoidance of doubt, no order of the Court or
  18 modification or reversal on appeal of any order of the Court concerning the Plan of
  19 Allocation or the amount of any attorneys’ fees, expenses, and interest awarded by
  20 the Court to Lead Counsel or expenses to Lead Plaintiff shall operate to terminate or
  21 cancel this Stipulation or constitute grounds for cancellation or termination of the
  22 Stipulation.
  23            7.5        Unless otherwise ordered by the Court, in the event the Settlement is
  24 not approved or the Settlement is terminated, canceled, or fails to become effective
  25 for any reason, within five (5) business days after joint written notification of such
  26 event is sent by Defendants’ Counsel and Lead Counsel to the Escrow Agent, the
  27 Settlement Fund (including accrued interest), less expenses which have either been
  28 disbursed pursuant to ¶¶2.8 and 2.10 hereof, or are chargeable to the Settlement Fund
                                                     - 30 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 32 of 111 Page ID
                                 #:6292



   1 pursuant to ¶¶2.8 and 2.10 hereof, shall be refunded by the Escrow Agent pursuant
   2 to written instructions from Defendants’ Counsel. The Escrow Agent or its designee
   3 shall apply for any tax refund owed on the Settlement Amount and pay the proceeds,
   4 after deduction of any fees or expenses incurred in connection with such
   5 application(s) for refund, pursuant to written instructions from Defendants’ Counsel.
   6 In the event that the funds received by Lead Counsel consistent with ¶6.2 above have
   7 not been refunded to the Settlement Fund within the five (5) business days specified
   8 in this paragraph, those funds shall be refunded by the Escrow Agent pursuant to
   9 written instructions from Defendants’ Counsel immediately upon their deposit into
  10 the Escrow Account consistent with ¶6.3 above.
  11            7.6        In the event that the Stipulation is not approved by the Court or the
  12 settlement set forth in the Stipulation is terminated or fails to become effective in
  13 accordance with its terms, the Settling Parties shall be restored to their respective
  14 positions in the Litigation as of the date that this Stipulation is executed by the
  15 Settling Parties. In such event, the terms and provisions of the Stipulation and any
  16 aspect of the discussions or negotiations leading to this Stipulation, with the
  17 exception of ¶¶2.8, 2.10, 2.11, 6.3, 7.5-7.7, 8.1, 9.1, and 9.5 hereof, shall not be
  18 admissible in this Litigation and shall not be used against or to the prejudice of
  19 Defendants or against or to the prejudice of Lead Plaintiff, in any court filing,
  20 deposition, at trial, or otherwise, and any judgment or order entered by the Court in
  21 accordance with the terms of the Stipulation shall be treated as vacated, nunc pro
  22 tunc.
  23            7.7        If the Effective Date does not occur, or if the Stipulation is terminated
  24 pursuant to its terms, neither Lead Plaintiff nor any of its counsel shall have any
  25 obligation to repay any amounts disbursed pursuant to ¶¶2.8 or 2.10. In addition,
  26 any expenses already incurred pursuant to ¶¶2.8 or 2.10 hereof at the time of such
  27 termination or cancellation but which have not been paid, shall be paid by the Escrow
  28
                                                      - 31 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 33 of 111 Page ID
                                 #:6293



   1 Agent in accordance with the terms of the Stipulation prior to the balance being
   2 refunded in accordance with ¶¶2.11 and 7.5 hereof.
   3            7.8        Each Defendant contributing to the Settlement Amount warrants as to
   4 himself or itself that, as to the payments made by or on behalf of him or it, at the
   5 time of such payment that the Defendant made or caused to be made pursuant to ¶2.2
   6 hereof, he or it was not insolvent, nor will the payment required to be made by or on
   7 behalf of him or it render such Defendant insolvent, within the meaning of and/or
   8 for the purposes of the United States Bankruptcy Code, including §§ 101 and 547
   9 thereof. This warranty is made by each such Defendant and not by such Defendant’s
  10 Counsel.
  11            7.9        If, before the Settlement becomes Final, any Defendant files for
  12 protection under the Bankruptcy Code or any similar law or a trustee, receiver,
  13 conservator, or other fiduciary is appointed under Bankruptcy, and in the event of a
  14 final order of a court of competent jurisdiction, not subject to any further
  15 proceedings, determining the transfer of the Settlement Fund, or any portion thereof,
  16 by or on behalf of any Defendant to be a preference, voidable transfer, fraudulent
  17 transfer or similar transaction under Title 11 of the United States Code (Bankruptcy)
  18 or applicable state law and any portion thereof is required to be refunded and such
  19 amount is not promptly deposited in the Settlement Fund by or on behalf of any other
  20 Defendant, then, at the election of Lead Plaintiff, as to the Defendant as to whom
  21 such order applies, the Settlement may be terminated and the releases given and the
  22 Judgment entered in favor of such Defendant pursuant to the Settlement shall be null
  23 and void. In such instance, the releases given and the Judgments entered in favor of
  24 other Defendants shall remain in full force and effect. Alternatively, Lead Plaintiff
  25 may elect to terminate the entire Settlement as to all Defendants and all of the
  26 releases given and the Judgments entered in favor of the Defendants pursuant to the
  27 Settlement shall be null and void and the Settling Parties shall be restored to their
  28 respective positions in the Litigation as of August 16, 2021.
                                                   - 32 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 34 of 111 Page ID
                                 #:6294



   1            8.         No Admission of Wrongdoing
   2            8.1        Except as set forth in ¶8.2 below, this Stipulation (including the exhibits
   3 hereto and the Plan of Allocation contained therein (or any other plan of allocation
   4 that may be approved by the Court)), whether or not consummated, and whether or
   5 not approved by the Court, and any discussions, negotiations, proceedings, or
   6 agreements relating to the Stipulation, the Settlement, and any matters arising in
   7 connection with settlement discussions or negotiations, proceedings, or agreements,
   8 shall not be offered or received against or to the prejudice of the Settling Parties or
   9 their respective counsel, for any purpose other than in an action to enforce the terms
  10 hereof, and in particular:
  11                       (a)   do not constitute, and shall not be offered or received against or
  12 to the prejudice of any of the Released Defendant Parties as evidence of, or construed
  13 as, or deemed to be evidence of any presumption, concession or admission by any
  14 of the Released Defendant Parties with respect to the truth of any fact or allegation
  15 by Lead Plaintiff and the Class or the validity of any claim that has been or could
  16 have been asserted or the deficiency of any defense that has been or could have been
  17 asserted in the Litigation or in any litigation, including, but not limited to, the
  18 Released Plaintiff’s Claims, or of any liability, damages, negligence, fault or other
  19 wrongdoing of any kind of any of the Released Defendant Parties or any person or
  20 entity whatsoever;
  21                       (b)   do not constitute, and shall not be offered or received against or
  22 to the prejudice of any of the Released Defendant Parties as evidence of a
  23 presumption, concession, or admission of any fault, misrepresentations, or omission
  24 with respect to any statement or written document approved or made by any of the
  25 Released Defendant Parties, or against or to the prejudice of Lead Plaintiff or any
  26 other Class Members as evidence of any infirmity in the claims of Lead Plaintiff or
  27 the other Class Members;
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                                                      - 33 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 35 of 111 Page ID
                                 #:6295



   1                       (c)   do not constitute, and shall not be offered or received against or
   2 to the prejudice of any of the Released Defendant Parties, Lead Plaintiff, any other
   3 Class Members, or their respective counsel, as evidence of a presumption,
   4 concession or admission with respect to any liability, damages, negligence, fault,
   5 infirmity, or wrongdoing, or in any way referred to for any other reason against or
   6 to the prejudice of any of the Settling Parties, in any other civil, criminal, or
   7 administrative action or proceeding, other than such proceedings as may be
   8 necessary to effectuate the provisions of this Stipulation;
   9                       (d)   do not constitute, and shall not be construed as, or offered or
  10 received against or to the prejudice of any of the Released Defendant Parties, Lead
  11 Plaintiff, or any other Class Members, as evidence of a presumption, concession, or
  12 admission that the consideration to be given hereunder represents the amount which
  13 could be or would have been recovered after trial;
  14                       (e)   do not constitute, and shall not be construed as, or offered or
  15 received against or to the prejudice of any of the Released Defendant Parties, Lead
  16 Plaintiff, or any other Class Members, as evidence of a presumption, concession, or
  17 admission that any of their claims or defenses are without merit or infirm or that
  18 damages recoverable under the Complaint would not have exceeded and/or been
  19 lower than the Settlement Amount.
  20            8.2        Each of the Released Defendant Parties may file this Stipulation and/or
  21 the Judgment in any action that may be brought against them in order to support a
  22 defense or counterclaim based on principles of res judicata, collateral estoppel,
  23 release, statute of limitations, statute of repose, good-faith settlement, judgment bar
  24 or reduction, or any theory of claim preclusion or issue preclusion or similar defense
  25 or counterclaim, or to effectuate any liability protection granted them under any
  26 applicable insurance policy. The Settling Parties may file this Stipulation and/or the
  27 Judgment in any action that may be brought to enforce the terms of this Stipulation
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                                                     - 34 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 36 of 111 Page ID
                                 #:6296



   1 and/or the Judgment. All Settling Parties submit to the jurisdiction of the Court for
   2 purposes of implementing and enforcing the Settlement.
   3            9.         Miscellaneous Provisions
   4            9.1        Solely for purposes of the Settlement and for no other purpose,
   5 Defendants stipulate and agree to: (a) certification of the Litigation as a class action
   6 pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure on
   7 behalf of the Class; (b) certification of Lead Plaintiff as class representative for the
   8 Class; and (c) appointment of Plaintiff’s Counsel as class counsel for the Class
   9 pursuant to Rule 23(g) of the Federal Rules of Civil Procedure. Defendants’
  10 conditional stipulation to a Class is for settlement purposes only and contingent upon
  11 consummation of the Settlement and the Judgment becoming Final.                  If the
  12 Settlement does not become effective, Defendants reserve their rights to assert
  13 objections and defenses to certification of any class, and Lead Plaintiff and
  14 Plaintiff’s Counsel agree that they will not offer Defendants’ conditional stipulation
  15 to a Class as support for a motion to certify a class, or argue that Defendants are
  16 equitably or judicially estopped from contesting certification of a class in the
  17 Litigation. Without in any way limiting the generality of the foregoing, if the
  18 Settlement does not become effective, Lead Plaintiff and Plaintiff’s Counsel agree
  19 that nothing contained in this Stipulation shall limit the arguments Defendants can
  20 present to the United States Court of Appeals for the Ninth Circuit in the case styled
  21 as Karinski v. Stamps.com Inc., Case No. 21-55223 or to this Court should the United
  22 States Court of Appeals reverse, remand, or otherwise order this Court to conduct
  23 further proceedings with respect to Lead Plaintiff’s Notice of Motion and Motion
  24 for Class Certification.
  25            9.2        The Settling Parties: (a) acknowledge that it is their intent to
  26 consummate this agreement; and (b) agree to cooperate to the extent reasonably
  27 necessary to effectuate and implement all terms and conditions of the Stipulation
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                                                  - 35 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 37 of 111 Page ID
                                 #:6297



   1 and to exercise their best efforts to accomplish the foregoing terms and conditions
   2 of the Stipulation.
   3            9.3        The Settling Parties intend the Settlement to be the full, final, and
   4 complete resolution of all claims asserted or that could have been asserted by the
   5 Settling Parties with respect to the Litigation, Released Plaintiff’s Claims and
   6 Released Defendants’ Claims. The Settlement compromises claims which are
   7 contested and shall not be deemed an admission by any Settling Party as to the merits
   8 of any claim or defense. Pursuant to 15 U.S.C. §78u-4(c)(1), the Final Judgment
   9 will contain a finding that, during the course of the Litigation, the Settling Parties
  10 and their respective counsel at all times complied with the requirements of Federal
  11 Rule of Civil Procedure 11 in connection with the maintenance, prosecution,
  12 defense, and settlement of the Litigation and shall not make any application for
  13 sanctions, pursuant to Rule 11 or other court rule or statute, with respect to any claim
  14 or defense in this Litigation. The Settling Parties agree that the Settlement Amount
  15 and the other terms of the Settlement were negotiated at arm’s length and in good
  16 faith by the Settling Parties, and reflect a settlement that was reached voluntarily
  17 based upon adequate information and after consultation with competent legal
  18 counsel. The Settling Parties reserve their right to rebut, in a manner that such party
  19 determines to be appropriate, any contention made in any public forum regarding
  20 the Litigation, including that the Litigation was brought or defended in bad faith or
  21 without a reasonable basis.
  22            9.4        The Settling Parties shall, in good faith, endeavor to communicate the
  23 terms of the Settlement, if at all, in a manner that is respectful of the fact that no final
  24 adjudication of fault was determined by a court or a jury.
  25            9.5        All agreements made and orders entered during the course of the
  26 Litigation relating to the confidentiality of information shall survive this Stipulation.
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                                                    - 36 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 38 of 111 Page ID
                                 #:6298



   1            9.6        All of the Exhibits to the Stipulation, and the Supplemental Agreement,
   2 are material and integral parts hereof and are fully incorporated herein by this
   3 reference.
   4            9.7        The Stipulation, along with its Exhibits and the Supplemental
   5 Agreement, may be amended or modified only by a written instrument signed by or
   6 on behalf of all Settling Parties or their respective successors-in-interest.
   7            9.8        The waiver by one Settling Party of any breach of this Stipulation by
   8 any other Settling Party shall not be deemed a waiver of any other prior or
   9 subsequent breach of this Stipulation.
  10            9.9        The Stipulation, its Exhibits, and the Supplemental Agreement
  11 constitute the entire agreement among the Settling Parties and no representations,
  12 warranties or inducements have been made to any party concerning the Stipulation
  13 or its Exhibits other than the representations, warranties, and covenants contained
  14 and memorialized in such documents.
  15            9.10 Lead Counsel, on behalf of the Class, is expressly authorized by Lead
  16 Plaintiff to take all appropriate action required or permitted to be taken by the Class
  17 pursuant to the Stipulation to effectuate its terms and also is expressly authorized to
  18 enter into any modifications or amendments to the Stipulation on behalf of the Class
  19 which it deems appropriate.
  20            9.11 All counsel and any other person executing this Stipulation, its
  21 Exhibits, the Supplemental Agreement, or any related Settlement document, warrant
  22 and represent that they have the full authority to do so, and that they have the
  23 authority to take appropriate action required or permitted to be taken pursuant to the
  24 Stipulation to effectuate its terms, without requiring additional consent, approval, or
  25 authorization of any other Person, board, entity, tribunal, or other regulatory or
  26 governmental authority.
  27            9.12 The Stipulation may be executed in one or more counterparts. All
  28 executed counterparts and each of them shall be deemed to be one and the same
                                                     - 37 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 39 of 111 Page ID
                                 #:6299



   1 instrument. A complete set of executed counterparts shall be filed with the Court.
   2 Signatures sent by facsimile or pdf’d via e-mail shall be deemed originals.
   3            9.13 This Stipulation shall be binding when signed, but the Settlement shall
   4 be effective upon the entry of the Judgment and the payment in full of the Settlement
   5 Amount, subject only to the condition that the Effective Date will have occurred.
   6            9.14 The Stipulation shall be binding upon, and inure to the benefit of, the
   7 successors and assigns of the Settling Parties hereto.
   8            9.15 The headings herein are used for the purpose of convenience only and
   9 are not meant to have legal effect.
  10            9.16 The administration and consummation of the Settlement as embodied
  11 in this Stipulation shall be under the authority of the Court, and the Court shall retain
  12 jurisdiction for the purpose of entering orders providing for awards of attorneys’ fees
  13 and any expenses, and implementing and enforcing the terms of this Stipulation.
  14            9.17 Pending approval of the Court of the Stipulation and its Exhibits, all
  15 proceedings in this Litigation shall be stayed and all Members of the Class shall be
  16 barred and enjoined from prosecuting any of the Released Plaintiff’s Claims against
  17 any of the Released Defendant Parties.
  18            9.18 This Stipulation, its Exhibits, and the Supplemental Agreement shall be
  19 considered to have been negotiated, executed and delivered, and to be wholly
  20 performed, in the State of California. The construction, interpretation, operation,
  21 effect, and validity of this Stipulation, its Exhibits, the Supplemental Agreement,
  22 and all documents necessary to effectuate them, shall be governed by the internal,
  23 substantive laws of the State of California without giving effect to that State’s
  24 choice-of-law principles, except to the extent that federal law requires that federal
  25 law govern.
  26            9.19 This Stipulation shall not be construed more strictly against one Settling
  27 Party than another merely by virtue of the fact that it, or any part of it, may have
  28 been prepared by counsel for one of the Settling Parties, it being recognized that it
                                                 - 38 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 40 of 111 Page ID
                                 #:6300



   1 is the result of arm’s-length negotiations among the Settling Parties, and all Settling
   2 Parties have contributed substantially and materially to the preparation of this
   3 Stipulation.
   4            9.20 Nothing in the Stipulation, or the negotiations relating thereto, is
   5 intended to or shall be deemed to constitute a waiver of any applicable privilege or
   6 immunity, including, without limitation, attorney-client privilege, joint defense
   7 privilege, or work product protection.
   8            9.21 Unless otherwise provided, the Settling Parties may agree to reasonable
   9 extensions of time to carry out any of the provisions of this Stipulation without
  10 further order of the Court.
  11            9.22 Except as otherwise provided herein, each party shall bear its own costs.
  12            IN WITNESS WHEREOF, the parties hereto have caused the Stipulation to
  13 be executed, by their duly authorized attorneys, dated August 16, 2021.
  14                                             ROBBINS GELLER RUDMAN
                                                  & DOWD LLP
  15                                             STEVEN W. PEPICH
                                                 JASON A. FORGE
  16                                             ERIC I. NIEHAUS
                                                 HILLARY B. STAKEM
  17                                             KEVIN S. SCIARANI
  18
  19
  20                                                         ERIC I. NIEHAUS
  21                                             655 West Broadway, Suite 1900
  22                                             San Diego, CA 92101-8498
                                                 Telephone: 619/231-1058
  23                                             619/231-7423 (fax)

  24                                             Lead Counsel for Lead Plaintiff

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                                                 - 39 -
       4841-9732-9645.v9
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 41 of 111 Page ID
                                 #:6301
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 42 of 111 Page ID
                                 #:6302



   1          INDEX OF EXHIBITS TO STIPULATION OF SETTLEMENT
   2                           DOCUMENT                            EXHIBIT
   3     [Proposed] Order Preliminarily Approving Settlement and      A
         Providing for Notice
   4
         Notice of Pendency and Settlement of Class Action           A-1
   5
         Claim Form                                                  A-2
   6
         Summary Notice                                              A-3
   7
         [Proposed] Final Judgment and Order of Dismissal with        B
   8     Prejudice
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                                     -41-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 43 of 111 Page ID
                                 #:6303




                       EXHIBIT A
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 44 of 111 Page ID
                                 #:6304



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   9
     Lead Counsel for Lead Plaintiff
  10
                          UNITED STATES DISTRICT COURT
  11
                         CENTRAL DISTRICT OF CALIFORNIA
  12
     MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF-SK
  13 Behalf of All Others Similarly Situated, )
                                              ) CLASS ACTION
  14                          Plaintiff,      )
                                              ) [PROPOSED] ORDER
  15       vs.                                ) PRELIMINARILY APPROVING
                                              ) SETTLEMENT AND PROVIDING
  16 STAMPS.COM, INC. et al.                  ) FOR NOTICE
                                              )
  17                          Defendants. ) EXHIBIT A
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       4831-3613-5406.v1                                           Exhibit A
                                                                       -42-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 45 of 111 Page ID
                                 #:6305



   1            WHEREAS, an action is pending before this Court entitled Karinski v.
   2 Stamps.com, Inc., et al., Case No. 2:19-cv-01828-MWF-SK (the “Litigation”);
   3            WHEREAS, the parties having made application, pursuant to Federal Rule of
   4 Civil Procedure 23(e), for an order preliminarily approving the settlement of this
   5 Litigation, in accordance with a Stipulation of Settlement dated August 16, 2021 (the
   6 “Stipulation”), which, together with the Exhibits annexed thereto, sets forth the terms
   7 and conditions for a proposed settlement of the Litigation and for dismissal of the
   8 Litigation with prejudice upon the terms and conditions set forth therein; and the
   9 Court having read and considered the Stipulation and the Exhibits annexed thereto;
  10 and
  11            WHEREAS, unless otherwise defined, all terms used herein have the same
  12 meanings as set forth in the Stipulation.
  13            NOW, THEREFORE, IT IS HEREBY ORDERED:
  14            1.         After a preliminary review, the Settlement appears to be fair, reasonable,
  15 and adequate. The Settlement: (a) resulted from arm’s-length negotiations overseen
  16 by an experienced mediator; and (b) is sufficient to warrant (i) notice thereof as set
  17 forth below; and (ii) a full hearing on the Settlement. Accordingly, the Court does
  18 hereby preliminarily approve the Stipulation and the Settlement set forth therein,
  19 subject to further consideration at the Settlement Hearing described below.
  20            2.         A hearing (the “Settlement Hearing”) shall be held before this Court on
  21 __________, 2021, at _:__ _.m. [a date that is at least 100 days from the date of this
  22 Order], at the United States District Court for the Central District of California, First
  23 Street Courthouse, 350 West First Street, Courtroom 5A, Los Angeles, California
  24 90012, for the following purposes:
  25                       a. to determine whether the Settlement is fair, reasonable, and adequate,
  26                          and should be approved by the Court;
  27                       b. to finally determine whether Judgment as provided under the
                              Stipulation should be entered, dismissing the Complaint on the merits
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                                                      -1-
       4831-3613-5406.v3
                                                                                     Exhibit A
                                                                                         -43-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 46 of 111 Page ID
                                 #:6306



   1                          and with prejudice, and to determine whether the release by the Class
   2                          of the Released Defendant Parties as set forth in the Stipulation,
   3                          should be ordered, along with a permanent injunction barring efforts
                              to bring any Released Plaintiff’s Claims or Released Defendants’
   4
                              Claims extinguished by the Settlement;
   5
                           c. to finally determine whether the proposed Plan of Allocation for the
   6                          distribution of the Net Settlement Fund is fair and reasonable and
   7                          should be approved by the Court;
   8                       d. to consider the application of Lead Counsel for an award of
   9                          attorneys’ fees and expenses, and any application for an award to
  10                          Lead Plaintiff;
                           e. to consider Class Members’ objections to the Settlement, Plan of
  11
                              Allocation or application for fees and expenses, if any; and
  12
                           f. to rule upon such other matters as the Court may deem appropriate.
  13            3.         The Court may adjourn the Settlement Hearing without further notice to
  14 the Members of the Class, and reserves the right to approve the Settlement with such
  15 modifications as may be agreed upon or consented to by the parties and without
  16 further notice to the Class where to do so would not impair Class Members’ rights in a
  17 manner inconsistent with Rule 23 and due process of law. The Court further reserves
  18 the right to enter its Judgment approving the Settlement and dismissing the Complaint,
  19 on the merits and with prejudice, regardless of whether it has approved the Plan of
  20 Allocation or awarded attorneys’ fees and expenses or made an award to Lead
  21 Plaintiff.
  22            4.         Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court
  23 entered an order certifying the Class defined as: all persons who purchased or
  24 otherwise acquired Stamps.com Inc. (“Stamps.com” or the “Company”) common
  25 stock between May 3, 2017, and May 8, 2019, inclusive (the “Class Period”), and
  26 were damaged thereby. Excluded from the Class are Defendants and their immediate
  27 families, the officers and directors of the Company, at all relevant times, members of
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                                                      -2-
       4831-3613-5406.v3
                                                                                   Exhibit A
                                                                                       -44-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 47 of 111 Page ID
                                 #:6307



   1 their immediate families, and their legal representatives, heirs, successors or assigns,
   2 and any entity in which Defendants have or had a controlling interest.
   3            5.         The Court approves, as to form and content, the Notice of Pendency and
   4 Settlement of Class Action (the “Notice”), the Claim Form (the “Claim Form” or
   5 “Proof of Claim”), and the Summary Notice, annexed hereto as Exhibits A-1, A-2,
   6 and A-3, respectively, and finds that the mailing and distribution of the Notice and
   7 publishing of the Summary Notice, substantially in the manner and form set forth in
   8 ¶¶7-8 of this Order, meet the requirements of Federal Rule of Civil Procedure 23 and
   9 due process, and is the best notice practicable under the circumstances and shall
  10 constitute due and sufficient notice to all Persons entitled thereto.
  11            6.         The firm of Gilardi & Co. LLC (“Claims Administrator”) is hereby
  12 appointed to supervise and administer the notice procedure as well as the processing
  13 of claims as more fully set forth below.
  14            7.         Stamps.com shall provide, or cause to be provided, to Lead Counsel or
  15 the Claims Administrator, at no cost to Lead Plaintiff, the Settlement Fund, Lead
  16 Counsel or the Claims Administrator, within seven (7) calendar days after the Court
  17 enters this Order, documentation or data in the possession of Stamps.com or its
  18 present or former stock transfer agent(s) sufficient to identify to the extent available
  19 the record holders of Stamps.com common stock during the period from May 3, 2017
  20 through May 8, 2019, inclusive, and their last known addresses or other similar
  21 information. Stamps.com shall provide this documentation in an electronic searchable
  22 form, such as Excel.
  23            8.         Lead Counsel, through the Claims Administrator, shall commence
  24 mailing the Notice and Claim Form, substantially in the forms annexed hereto, within
  25 twenty-one (21) calendar days after the Court signs this Order (the “Notice Date”), or
  26 by __________, 2021, by first-class mail to all Class Members who can be identified
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       4831-3613-5406.v3
                                                                                  Exhibit A
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Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 48 of 111 Page ID
                                 #:6308



   1 with reasonable effort, and to be posted on the Settlement website at
   2 www.StampsSecuritiesSettlement.com.
   3            9.         Not later than ten (10) calendar days after the Notice Date, the Claims
   4 Administrator shall cause the Summary Notice to be published once in the national
   5 edition of The Wall Street Journal and once over a national newswire service.
   6            10.        At least seven (7) calendar days prior to the Settlement Hearing, Lead
   7 Counsel shall serve on Defendants’ Counsel and file with the Court proof, by affidavit
   8 or declaration, of such mailing and publishing.
   9            11.        Nominees who purchased or acquired Stamps.com common stock for the
  10 beneficial ownership of Class Members during the Class Period shall (a) within seven
  11 (7) calendar days of receipt of the Notice and the Proof of Claim (“Notice Packet”),
  12 request from the Claims Administrator sufficient copies of the Notice Packet to
  13 forward to all such beneficial owners and within seven (7) calendar days of receipt of
  14 those Notice Packets forward them to all such beneficial owners; or (b) within seven
  15 (7) calendar days of receipt of the Notice Packet, send a list of the names and
  16 addresses of all such beneficial owners to the Claims Administrator in which event the
  17 Claims Administrator shall promptly mail the Notice Packet to such beneficial
  18 owners. Lead Counsel shall, if requested, reimburse banks, brokerage houses or other
  19 nominees solely for their reasonable out-of-pocket expenses incurred in providing
  20 notice to beneficial owners who are Class Members out of the Settlement Fund, which
  21 expenses would not have been incurred except for the sending of such notice, subject
  22 to further order of this Court with respect to any dispute concerning such
  23 compensation.
  24            12.        In order to be entitled to participate in the recovery from the Settlement
  25 Fund after the Effective Date, each Class Member shall take the following action and
  26 be subject to the following conditions:
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                                                       -4-
       4831-3613-5406.v3
                                                                                     Exhibit A
                                                                                         -46-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 49 of 111 Page ID
                                 #:6309



   1                       (a)   A properly completed and executed Proof of Claim must be
   2                             submitted to the Claims Administrator, at the post office box or
   3                             electronic mailbox indicated in the Notice and Proof of Claim,
   4                             postmarked no later than ninety (90) calendar days from the
   5                             Notice Date. Such deadline may be further extended by Order of
   6                             the Court. Each Proof of Claim shall be deemed to have been
   7                             submitted when legibly postmarked (if properly addressed and
   8                             mailed by first-class mail) provided such Proof of Claim is
   9                             actually received before the filing of a motion for an Order of the
  10                             Court approving distribution of the Settlement Fund. Any Proof
  11                             of Claim submitted in any other manner shall be deemed to have
  12                             been submitted when it was actually received by the Claims
  13                             Administrator at the address designated in the Notice.
  14                       (b)   The Proof of Claim submitted by each Class Member must satisfy
  15                             the following conditions: (i) it must be properly filled out, signed
  16                             and submitted in a timely manner in accordance with the
  17                             provisions of the preceding subparagraph; (ii) it must be
  18                             accompanied by adequate supporting documentation for the
  19                             transactions reported therein, in the form of broker confirmation
  20                             slips, broker account statements, an authorized statement from the
  21                             broker containing the transactional information found in a broker
  22                             confirmation slip, or such other documentation as is deemed
  23                             adequate by the Claims Administrator or Lead Counsel; (iii) if the
  24                             person executing the Proof of Claim is acting in a representative
  25                             capacity, a certification of his current authority to act on behalf of
  26                             the Class Member must be provided with the Proof of Claim; and
  27                             (iv) the Proof of Claim must be complete and contain no material
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                                                       -5-
       4831-3613-5406.v3
                                                                                      Exhibit A
                                                                                          -47-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 50 of 111 Page ID
                                 #:6310



   1                             deletions or modifications of any of the printed matter contained
   2                             therein and must be signed under penalty of perjury.
   3                       (c)   Once the Claims Administrator has considered a timely submitted
   4                             Proof of Claim, it shall determine whether such claim is valid,
   5                             deficient or rejected. For each claim determined to be either
   6                             deficient or rejected, the Claims Administrator shall send a
   7                             deficiency letter or rejection letter as appropriate, describing the
   8                             basis on which the claim was so determined. Persons who timely
   9                             submit a Proof of Claim that is deficient or otherwise rejected
  10                             shall be afforded a reasonable time (at least seven (7) calendar
  11                             days) to cure such deficiency if it shall appear that such deficiency
  12                             may be cured.
  13                       (d)   For the filing of and all determinations concerning their Proof of
  14                             Claim, each Class Member shall submit to the jurisdiction of the
  15                             Court.
  16                       (e)   Any Class Member that opts out of the Class or otherwise settled
  17                             claims with one or more Defendants for claims arising out of the
  18                             conduct alleged in the Litigation is hereby enjoined from
  19                             submitting a Claim Form or having another person or entity
  20                             submit a Claim Form on its behalf.
  21            13.        Any Class Member who does not timely submit a valid and timely Proof
  22 of Claim within the time provided for, shall be barred from sharing in the distribution
  23 of the proceeds of the Settlement Fund, but will in all other respects be subject to and
  24 bound by the provisions of the Stipulation and the Judgment, if entered.
  25 Notwithstanding the foregoing, Lead Counsel shall have the discretion (but not an
  26 obligation) to accept late-submitted claims for processing by the Claims Administrator
  27 so long as distribution of the Net Settlement Fund to Authorized Claimants is not
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                                                      -6-
       4831-3613-5406.v3
                                                                                      Exhibit A
                                                                                          -48-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 51 of 111 Page ID
                                 #:6311



   1 materially delayed thereby, but will bear no liability for failing to accept such late
   2 claims.
   3            14.        Any Member of the Class may enter an appearance in the Litigation, at
   4 their own expense, individually or through counsel of their own choice. If they do not
   5 enter an appearance, they will be represented by Lead Counsel.
   6            15.        All Class Members shall be bound by all determinations and judgments
   7 in this Litigation, whether favorable or unfavorable, unless such persons request to be
   8 excluded, or “opt out,” from the Class. A Class Member wishing to be excluded from
   9 the Class must submit to the Claims Administrator a request for exclusion (“Request
  10 for Exclusion”), by first-class mail, or otherwise hand-deliver it, such that it is
  11 received no later than twenty-one (21) calendar days prior to the Settlement Hearing,
  12 or __________, 20__, to the address listed in the Notice. A Request for Exclusion
  13 must be signed and must legibly state: (a) the name, address, and telephone number of
  14 the Person requesting exclusion; (b) the number of shares of Stamps.com common
  15 stock that the Person requesting exclusion held at the close of trading on May 2, 2017,
  16 the number of shares of Stamps.com common stock that the Person requesting
  17 exclusion purchased, acquired, sold, and/or disposed of during the Class Period, as
  18 well as the number of shares, dates and prices for each such purchase, acquisition,
  19 sale, and disposition; and (c) that the Person wishes to be excluded from the Class in
  20 Karinski v. Stamps.com, Inc., et al., Case No. 2:19-cv-01828-MWF-SK. All Persons
  21 who submit valid and timely Requests for Exclusion in the manner set forth in this
  22 paragraph shall have no rights under the Stipulation, shall not share in the distribution
  23 of the Net Settlement Fund, and shall not be bound by the Stipulation or any Final
  24 Judgment. Unless otherwise ordered by the Court, any Class Member who does not
  25 submit a valid and timely written Request for Exclusion as provided by this paragraph
  26 shall be bound by the Stipulation.
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                                                     -7-
       4831-3613-5406.v3
                                                                                 Exhibit A
                                                                                     -49-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 52 of 111 Page ID
                                 #:6312



   1            16.        If prior to the Settlement Hearing Persons who otherwise would be Class
   2 Members have submitted valid and timely Requests for Exclusion in accordance with
   3 the provisions of this Order and the Notice given pursuant thereto, and have not
   4 thereafter withdrawn such Requests for Exclusion, and such Persons have in the
   5 aggregate purchased or acquired the number of shares specified in the separate
   6 Supplemental Agreement between the Settling Parties which has not been filed with
   7 this Court, Defendants shall have the option to withdraw from or terminate the
   8 Stipulation in accordance with the procedures set forth in the Supplemental
   9 Agreement. Pursuant to the Private Securities Litigation Reform Act of 1995, §
  10 27(a)(2)(B)(5), this Court finds that good cause has been shown for not filing the
  11 Supplemental Agreement, which shall be filed under seal only if a dispute among the
  12 Settling Parties arises concerning its interpretation or application.
  13            17.        The Claims Administrator or Lead Counsel shall cause to be provided to
  14 Defendants’ Counsel copies of all Requests for Exclusion within two (2) calendar
  15 days of receipt.
  16            18.        The Court will consider comments or objections to the Settlement, the
  17 Plan of Allocation, or Lead Counsel’s request for an award of attorneys’ fees and
  18 expenses, including Lead Plaintiff’s expenses as provided for by 15 U.S.C. §78u-
  19 4(a)(4), only if such comments or objections and any supporting papers are served by
  20 hand or sent by first-class mail, and are received at least twenty-one (21) calendar
  21 days prior to the Settlement Hearing, or _______________, 20__:
  22
                                  Counsel for Lead Plaintiff
  23          Robbins Geller Rudman & Dowd LLP
  24          Eric I. Niehaus
              655 West Broadway, Suite 1900
  25          San Diego, CA 92101
  26
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       4831-3613-5406.v3
                                                                                   Exhibit A
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Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 53 of 111 Page ID
                                 #:6313



   1                                 Counsel for Defendants
              Katten Muchin Rosenman LLP
   2
              Richard H. Zelichov
   3          2029 Century Park East, Suite 2600
              Los Angeles, CA 90067
   4
   5 Those comments or objections and any supporting papers must also be filed with the
   6 Clerk of the United States District Court for the Central District of California, First
   7 Street Courthouse, 350 West First Street, Suite 4311, Los Angeles, California 90012,
   8 at least twenty-one (21) calendar days prior to the Settlement Hearing, or __________,
   9 20__. Attendance at the Settlement Hearing is not necessary but any Person wishing
  10 to be heard orally in opposition to the Settlement, the Plan of Allocation, or the
  11 application for attorneys’ fees and expenses or award to Lead Plaintiff are required to
  12 indicate in their written objection whether they intend to appear at the Settlement
  13 Hearing. The notice of objection must include documentation establishing the
  14 objecting Person’s membership in the Class, including the number of shares of
  15 Stamps.com common stock that the objecting Person purchased, acquired, sold, and/or
  16 disposed of during the Class Period, as well as the number of shares, dates and prices
  17 for each such purchase, acquisition, sale, and disposition. The objection must contain
  18 a statement of reasons for the objection, copies of any papers, briefs, or other
  19 documents upon which the objection is based, a statement of whether the objector
  20 intends to appear at the Settlement Hearing, and the objector’s signature, even if
  21 represented by counsel. In addition, the objection must state whether it applies only to
  22 the objector, to a specific subset of the Class or to the entire Class. The member of the
  23 Class making the objection must identify any other class actions to which the Class
  24 Member and/or his, her or its counsel has previously objected. Any Member of the
  25 Class who does not make his, her or its objection in the manner provided shall be
  26 deemed to have waived such objection and shall forever be foreclosed from making
  27 any objection to the fairness or adequacy of the Settlement as set forth in the
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                                                -9-
       4831-3613-5406.v3
                                                                              Exhibit A
                                                                                  -51-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 54 of 111 Page ID
                                 #:6314



   1 Stipulation, to the Plan of Allocation, or to the award of attorneys’ fees and expenses
   2 to Lead Counsel or award to the Lead Plaintiff unless otherwise ordered by the Court.
   3 Class Members do not need to appear at the Settlement Hearing or take any other
   4 action to indicate their approval.
   5            19.        All funds held by the Escrow Agent shall be deemed and considered to be
   6 in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court,
   7 until such time as such funds shall be distributed pursuant to the Stipulation and/or
   8 further order(s) of the Court.
   9            20.        All opening briefs and supporting documents in support of the
  10 Settlement, the Plan of Allocation, and any application by counsel for the Lead
  11 Plaintiff for attorneys’ fees and expenses or by Lead Plaintiff for its expenses shall be
  12 filed and served no later than thirty-five (35) calendar days before the Settlement
  13 Hearing, or __________, 20__. Replies to any objections shall be filed and served at
  14 least seven (7) calendar days prior to the Settlement Hearing, or __________, 20__.
  15            21.        The Released Defendant Parties shall have no responsibility for the Plan
  16 of Allocation or any application for attorneys’ fees or expenses submitted by Lead
  17 Counsel or Lead Plaintiff, and such matters will be considered separately from the
  18 fairness, reasonableness, and adequacy of the Settlement. Any order or proceeding
  19 relating to the Plan of Allocation or any application for attorneys’ fees or expenses, or
  20 any appeal from any order relating thereto or reversal or modification thereof, shall
  21 not operate to terminate or cancel the Stipulation, or affect or delay the finality of the
  22 Judgment approving the Stipulation and the settlement of the Litigation.
  23            22.        At or after the Settlement Hearing, the Court shall determine whether the
  24 Plan of Allocation proposed by Lead Counsel, and any application for attorneys’ fees
  25 or payment of expenses shall be approved.
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                                                      - 10 -
       4831-3613-5406.v3
                                                                                    Exhibit A
                                                                                        -52-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 55 of 111 Page ID
                                 #:6315



   1            23.        All reasonable expenses incurred in identifying and notifying Class
   2 Members, as well as administering the Settlement Fund, shall be paid as set forth in
   3 the Stipulation.
   4            24.        Neither the Stipulation, nor any of its terms or provisions, nor any of the
   5 negotiations or proceedings connected with it: (i) is or may be deemed to be or may be
   6 used as an admission of, or evidence of, the validity of any Released Plaintiff’s Claims
   7 by the Released Defendant Parties, or of any wrongdoing or liability of the Released
   8 Defendant Parties; (ii) is or may be deemed to be or may be used as an admission of,
   9 or evidence of, any fault or omission of any of the Released Defendant Parties in any
  10 civil, criminal or administrative proceeding in any court, administrative agency, or
  11 other tribunal or of any liability or wrongdoing of any kind; (iii) is or may be deemed
  12 to be evidence of or an admission or concession that Lead Plaintiff or any Class
  13 Members have suffered any damages, harm, or loss; (iv) is or may be deemed to be or
  14 may be used as an admission that the claims alleged in the Litigation lacked merit or
  15 that Lead Plaintiff and the Class would not have been able to recover a greater amount
  16 of damages had the claims been prosecuted through trial and appeals, if any.
  17            25.        In the event that the Settlement does not become effective in accordance
  18 with the terms of the Stipulation or the Effective Date does not occur, or in the event
  19 that the Settlement Fund, or any portion thereof, is returned to the Defendants, then
  20 this Order shall be rendered null and void to the extent provided by and in accordance
  21 with the Stipulation, and shall be vacated. In such event, all orders entered and
  22 Releases delivered in connection herewith shall be null and void to the extent
  23 provided by and in accordance with the Stipulation. Without in any way limiting the
  24 generality of the foregoing, if the Settlement does not become effective, nothing
  25 contained in the Stipulation or any of the documents attached to the Stipulation shall
  26 limit the arguments Defendants can present to the United States Court of Appeals for
  27 the Ninth Circuit (“Ninth Circuit”) in their appeal of this Court’s Order Granting
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                                                      - 11 -
       4831-3613-5406.v3
                                                                                      Exhibit A
                                                                                          -53-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 56 of 111 Page ID
                                 #:6316



   1 Motion for Class Certification or to this Court should the Ninth Circuit reverse,
   2 remand, or otherwise order this Court to conduct further proceedings with respect to
   3 class certification.
   4            26.        All proceedings in the Litigation are stayed until further order of this
   5 Court, except as may be necessary to implement the Settlement or comply with the
   6 terms of the Stipulation. Pending final determination of whether the proposed
   7 Settlement should be approved, neither the Lead Plaintiff, nor any Class Member,
   8 directly or indirectly, representatively, or in any other capacity, shall commence or
   9 prosecute against any of the Released Defendant Parties, any action or proceeding in
  10 any court or tribunal asserting any of the Released Plaintiff’s Claims.
  11            27.        The Court’s orders entered during this Litigation relating to the
  12 confidentiality of information shall survive this Settlement.
  13            IT IS SO ORDERED.
  14    DATED: _____________                 _________________________________________
  15                                         THE HONORABLE MICHAEL W. FITZGERALD
                                             UNITED STATES DISTRICT JUDGE
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       4831-3613-5406.v3
                                                                                   Exhibit A
                                                                                       -54-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 57 of 111 Page ID
                                 #:6317




                    EXHIBIT A-1
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 58 of 111 Page ID
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       & DOWD LLP
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   9
     Lead Counsel for Lead Plaintiff
  10
                          UNITED STATES DISTRICT COURT
  11
                         CENTRAL DISTRICT OF CALIFORNIA
  12
     MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF-SK
  13 Behalf of All Others Similarly Situated, )
                                              ) CLASS ACTION
  14                          Plaintiff,      )
                                              ) NOTICE OF PENDENCY AND
  15       vs.                                ) SETTLEMENT OF CLASS ACTION
                                              )
  16 STAMPS.COM, INC., et al.,                ) EXHIBIT A-1
                                              )
  17                          Defendants. )
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                                                                        -55-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 59 of 111 Page ID
                                 #:6319



   1   A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
   2 NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your
   3 rights may be affected by the above-captioned class action lawsuit pending in
     this Court (the “Litigation”) if you purchased or otherwise acquired the
   4 common stock of Stamps.com Inc. (“Stamps.com” or the “Company”) from
   5 May 3, 2017 through May 8, 2019, inclusive (the “Class Period”), and were
     damaged thereby.
   6
     NOTICE OF SETTLEMENT: Please also be advised that the Indiana Public
   7
     Retirement System (“Lead Plaintiff”), on behalf of the Class (as defined in ¶1
   8 below), has reached a proposed settlement of the Litigation for a total of $100
     million in cash that will resolve all claims in the Litigation (the “Settlement”).
   9
  10 This Notice explains important rights you may have, including your possible
     receipt of cash from the Settlement. Your legal rights will be affected whether
  11 or not you act. Please read this Notice carefully!
  12
             1.     Description of the Litigation and the Class: This Notice relates to a
  13 proposed Settlement of a class action lawsuit pending against the following
  14 defendants: Stamps.com, Kenneth McBride, Kyle Huebner, and Jeff Carberry
     (“Defendants”) (collectively, with Lead Plaintiff, the “Settling Parties”). The
  15 proposed Settlement, if approved by the Court, will apply to the following Class (the
  16 “Class”): all persons and entities who purchased or otherwise acquired Stamps.com
     common stock during the Class Period and were damaged thereby. Excluded from
  17 the Class are Defendants and their immediate families, the officers and directors of
  18 the Company, at all relevant times, members of their immediate families, and their
     legal representatives, heirs, successors or assigns, and any entity in which
  19 Defendants have or had a controlling interest. Also excluded from the Class are
  20 those Persons who exclude themselves by submitting a request for exclusion, as set
     forth in ¶56 below, that is accepted by the Court. Anyone with questions as to
  21 whether or not they are excluded from the Class may call the Claims Administrator
  22 toll-free at (866) 331-7166.
  23         2.    Statement of Class’s Recovery: Subject to Court approval, and as
       described more fully in ¶¶45-50 below, Lead Plaintiff, on behalf of the Class, has
  24   agreed to settle all Released Plaintiff’s Claims (as defined in ¶46 below) against
  25   Defendants and other Released Defendant Parties (as defined in ¶47 below) in
       exchange for a settlement payment of $100 million in cash (the “Settlement
  26
       Amount”) to be deposited into an escrow account. The Net Settlement Fund (the
  27   Settlement Fund less Taxes and Tax Expenses, Notice and Administration Expenses,
       and attorneys’ fees and litigation expenses and Lead Plaintiff award) will be
  28
                                              -1-
       4831-6602-4942.v9                                                 Exhibit A-1
                                                                                -56-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 60 of 111 Page ID
                                 #:6320



   1 distributed in accordance with a plan of allocation (the “Plan of Allocation”) that
     will be approved by the Court and will determine how the Net Settlement Fund shall
   2
     be distributed to Members of the Class. The Plan of Allocation is a basis for
   3 determining the relative positions of Class Members for purposes of allocating the
     Net Settlement Fund. The proposed Plan of Allocation is included in this Notice,
   4
     and may be modified by the Court without further notice.
   5
            3.     Statement of Average Distribution Per Share: The Settlement Fund
   6 consists of the $100 million Settlement Amount plus interest earned. Assuming all
   7 potential Class Members elect to participate, the estimated average recovery is $9.56
     per damaged share before fees and expenses. Class Members may recover more or
   8 less than this amount depending on, among other factors, the aggregate value of the
   9 Recognized Claims represented by valid and acceptable Claim Forms as explained
     in the Plan of Allocation; when their shares were purchased or acquired and the price
  10 at the time of purchase or acquisition; whether the shares were sold, and if so, when
  11 they were sold and for how much. In addition, the actual recovery of Class Members
     may be further reduced by the payment of fees and costs from the Settlement Fund,
  12 as approved by the Court.
  13
            4.     Statement of the Parties’ Position on Damages: Defendants deny all
  14 claims of wrongdoing, that they engaged in any wrongdoing, that they are liable to
  15 Lead Plaintiff and/or the Class and that Lead Plaintiff or other Members of the Class
     suffered any injury. Moreover, the parties do not agree on the amount of recoverable
  16 damages if Lead Plaintiff was to prevail on each of the claims. The issues on which
  17 the parties disagree include, but are not limited to, whether: (1) the statements made
     or facts allegedly omitted were material, false or misleading; (2) Defendants are
  18 otherwise liable under the securities laws for those statements or omissions; and
  19 (3) all or part of the damages allegedly suffered by Members of the Class were
     caused by economic conditions or factors other than the allegedly false or misleading
  20 statements or omissions.
  21          5.     Statement of Attorneys’ Fees and Expenses Sought: Lead Counsel
  22   will apply to the Court, on behalf of all Plaintiff’s Counsel, for an award of attorneys’
       fees from the Settlement Fund of no more than 16.75% of the Settlement Amount,
  23   plus interest earned at the same rate and for the same period as earned by the
  24   Settlement Fund. In addition, Lead Counsel also will apply to the Court for payment
       from the Settlement Fund for Plaintiff’s Counsel’s litigation expenses (reasonable
  25
       expenses or charges of Plaintiff’s Counsel in connection with commencing and
  26   prosecuting the Litigation), in a total amount not to exceed $600,000, plus interest
       earned at the same rate and for the same period as earned by the Settlement Fund. If
  27
       the Court approves Lead Counsel’s fee and expense application, the estimated
  28   average cost per damaged share is $1.66. In addition, Lead Counsel may apply for
                                                 -2-
       4831-6602-4942.v9                                                      Exhibit A-1
                                                                                     -57-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 61 of 111 Page ID
                                 #:6321



   1 an award in an amount of no more than $10,000 for Lead Plaintiff pursuant to 15
     U.S.C. §78u-4(a)(4) in connection with its representation of the Class.
   2
   3       6.    Identification of Attorneys’ Representatives: Lead Plaintiff and the
     Class are being represented by Robbins Geller Rudman & Dowd LLP (“Lead
   4 Counsel”). Any questions regarding the Settlement should be directed to Eric I.
   5 Niehaus, Esq. at Robbins Geller Rudman & Dowd LLP, 655 W. Broadway, Suite
     1900, San Diego, CA 92101, (800) 449-4900, eniehaus@rgrdlaw.com.
   6
   7            YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT
   8      DO NOTHING                       Get no payment. Remain a Class Member.
   9                                       Give up your rights.
  10      REMAIN A MEMBER OF THE           This is the only way to be potentially
  11      CLASS AND SUBMIT A CLAIM         eligible to receive a payment. If you wish
          FORM POSTMARKED NO               to obtain a payment as a Member of the
  12      LATER THAN [_______], 2021       Class, you will need to file a claim form
  13                                       (the “Claim Form” or “Proof of Claim
                                           Form”), which is included with this Notice,
  14                                       postmarked no later than _______ __,
  15                                       2021.

  16      EXCLUDE YOURSELF FROM            Receive no payment pursuant to this
          THE CLASS (OPT OUT) BY           Settlement. This is the only option that
  17
          SUBMITTING A WRITTEN             allows you to ever potentially be part of
  18      REQUEST FOR EXCLUSION SO         any other lawsuit against any of the
          THAT IT IS RECEIVED NO           Defendants or the other Released
  19
          LATER THAN [_______], 2021       Defendant Parties concerning the Released
  20                                       Plaintiff’s Claims. Should you elect to
                                           exclude yourself from the Class, you
  21
                                           should understand that Defendants and the
  22                                       other Released Defendant Parties will have
                                           the right to assert any and all defenses they
  23
                                           may have to any claims that you may seek
  24                                       to assert, including, without limitation, the
                                           defense that any such claims are untimely
  25
                                           under applicable statutes of limitations and
  26                                       statutes of repose.
  27
  28
                                           -3-
       4831-6602-4942.v9                                               Exhibit A-1
                                                                              -58-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 62 of 111 Page ID
                                 #:6322



   1      OBJECT TO THE SETTLEMENT Write to the Court about your view on the
          SO THAT IT IS RECEIVED NO  Settlement, or why you don’t think the
   2
          LATER THAN [_______], 2021 Settlement is fair to the Class.
   3
                                            If you do not exclude yourself from the
   4                                        Class, you may object to the Settlement,
   5                                        the Plan of Allocation, or the request for
                                            attorneys’ fees and litigation expenses.
   6                                        You must still submit a Claim Form in
   7                                        order to be potentially eligible to receive
                                            any money from the Settlement Fund.
   8
   9      GO TO THE HEARING ON              Ask to speak in Court about the fairness of
          [_______], 2021, AT __:__ _.M.,   the Settlement, the proposed Plan of
  10      AND FILE A NOTICE OF              Allocation, or the request for attorneys’
  11      INTENTION TO APPEAR SO            fees and litigation expenses.
          THAT IT IS RECEIVED NO
  12      LATER THAN [_______], 2021
  13
  14                         WHAT THIS NOTICE CONTAINS
  15      Why Did I Get This Notice?                                        Page __
  16      What Is This Case About? What Has Happened So Far?                Page __
          How Do I Know If I Am Affected By The Settlement?                 Page __
  17      What Are Lead Plaintiff’s Reasons For The Settlement?             Page __
  18      What Might Happen If There Were No Settlement?                    Page __
          How Much Will My Payment Be?                                      Page __
  19      What Rights Am I Giving Up By Agreeing To The Settlement?         Page __
  20      What Payment Are The Attorneys For The Class Seeking?             Page __
          How Will The Lawyers Be Paid?
  21      How Do I Participate In The Settlement?                           Page __
  22      What Do I Need To Do?
          What If I Do Not Want To Be A Part Of The Settlement?             Page __
  23
          How Do I Exclude Myself?
  24      When And Where Will The Court Decide Whether To Approve           Page __
          The Settlement? Do I Have To Come To The Hearing?
  25
          May I Speak At The Hearing If I Don’t Like The Settlement?
  26      What If I Bought Shares On Someone Else’s Behalf?                 Page __
  27      Can I See The Court File? Whom Should I Contact If I Have         Page __
          Questions?
  28
                                            -4-
       4831-6602-4942.v9                                               Exhibit A-1
                                                                              -59-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 63 of 111 Page ID
                                 #:6323



   1
                                 WHY DID I GET THIS NOTICE
   2
                 7.     The purpose of this Notice is to inform you about (a) this Litigation,
   3      (b) the certification of the Class, (c) the terms of the proposed Settlement, and
   4      (d) your rights in connection with a hearing to be held before the United States
          District Court, Central District of California (the “Court”), on _________, 2021,
   5      at____ _.m., to consider the fairness, reasonableness, and adequacy of the
   6      Settlement and related matters. This Notice also describes the steps to be taken
          by those who wish to be excluded from the Class and, for those who remain Class
   7      Members, the steps necessary to seek to be potentially eligible to share in the
   8      distribution of the Net Settlement Fund in the event the Settlement is approved by
          the Court.
   9
  10            8.     A class action is a type of lawsuit in which the claims of a number of
          individuals are resolved together, thus providing the class members with both
  11      consistency and efficiency. In a class action lawsuit, the Court selects one or more
  12      people, known as class representatives, to sue on behalf of all people with similar
          claims, commonly known as the class or the class members. (For more
  13      information on excluding yourself from the Class, please read “What If I Do Not
  14      Want To Be A Part Of The Settlement? How Do I Exclude Myself?” located
          below.) In the Litigation, the Court has appointed Lead Plaintiff as the Class
  15      Representative and Lead Counsel as Class Counsel, for purposes of the
  16      Settlement.

  17            9.     The Court in charge of this case is the United States District Court
          for the Central District of California, and the case is known as Karinski v.
  18      Stamps.com, Inc., et al., Case No. 2:19-cv-01828-MWF-SK. The judge presiding
  19      over this case is the Honorable Michael W. Fitzgerald, United States District
          Judge. The people who are suing are called plaintiffs, and those who are being
  20
          sued are called defendants. In this case, the Defendants are Stamps.com, Kenneth
  21      McBride, Kyle Huebner and Jeff Carberry.
  22            10. This Notice explains the lawsuit, the Settlement, your legal rights,
  23      what benefits are available, who is eligible for them, and how to get them. The
          purpose of this Notice is to inform you of this case, that it is a class action, how
  24      you might be affected, and how to exclude yourself from the Settlement if you
  25      wish to do so. It also is being sent to inform you of the terms of the proposed
          Settlement, and of a hearing to be held by the Court to consider the fairness,
  26      reasonableness, and adequacy of the proposed Settlement, the proposed Plan of
  27      Allocation, and the application by Lead Counsel for attorneys’ fees and litigation
          expenses (the “Settlement Hearing”).
  28
                                                -5-
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -60-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 64 of 111 Page ID
                                 #:6324



   1             11. The Settlement Hearing will be held on ______, 2021, at ________
          _.m., before the Honorable Michael W. Fitzgerald, at the United States District
   2
          Court, Central District of California, First Street Courthouse, 350 West First
   3      Street, Courtroom 5A, Los Angeles, California 90012, for the following purposes:
   4               (a)     to determine whether the proposed Settlement on the terms and
   5                       conditions provided for in the Stipulation is fair, reasonable, and
                           adequate and should be approved by the Court;
   6
                   (b)     to determine whether the Judgment as provided for under the
   7
                           Stipulation of Settlement dated August 16, 2021 (the “Stipulation”)
   8                       should be entered;
   9               (c)     to determine whether the proposed Plan of Allocation for the net
  10                       proceeds of the Settlement is fair and reasonable and should be
                           approved by the Court;
  11
  12               (d)     to determine whether the application by Lead Counsel for an award
                           of attorneys’ fees and litigation expenses should be approved; and
  13
                   (e)     to rule upon such other matters as the Court may deem appropriate.
  14
  15            12. This Notice does not express any opinion by the Court concerning
          the merits of any claim in the Litigation, and the Court still has to decide whether
  16      to approve the Settlement. If the Court approves the Settlement, payments to
  17      Authorized Claimants will be made after any appeals are resolved, and after the
          completion of all claims processing. This process takes time. Please be patient.
  18
  19          WHAT IS THIS CASE ABOUT? WHAT HAS HAPPENED SO FAR?
  20            13. This Litigation arises under Sections 10(b) and 20(a) of the Securities
  21      Exchange Act of 1934, and alleges that during the period between May 3, 2017
          and May 8, 2019, inclusive (the “Class Period”), Defendants Stamps.com,
  22      Kenneth McBride, Kyle Huebner and Jeff Carberry made materially false and
  23      misleading statements about Stamps.com’s business performance and conditions.
          More specifically, Lead Plaintiff alleges that during the Class Period, Defendants
  24      misled investors regarding Stamps.com’s “strong” relationship with the United
  25      States Postal Service (“USPS”) and that the USPS was “‘very happy’” with
          Stamps’ business practices.
  26
                 14. Lead Plaintiff alleges that during the Class Period, Defendants knew
  27
          or recklessly disregarded that Stamps.com’s relationship with the USPS was
  28      strained due to the Company’s abuse of the USPS Reseller Program. Lead
                                               -6-
       4831-6602-4942.v9                                                     Exhibit A-1
                                                                                    -61-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 65 of 111 Page ID
                                 #:6325



   1      Plaintiff alleges that Defendants concealed these facts from investors and that this
          scheme artificially inflated Stamps.com’s stock price during the Class Period. On
   2
          February 21, 2019, Stamps.com announced the end of an agreement with the
   3      USPS whereby the USPS compensated Stamps.com for certain types of postage
          in exchange for exclusivity. The Company’s stock price plummeted $114 per
   4
          share on record trading volume of 13.7 million shares, a decline of over 57%.
   5      Then, on May 8, 2019, Stamps.com announced it was lowering its earnings
          guidance because of potential unfavorable negotiations and terminations of certain
   6
          contracts between the USPS and the Company’s reseller partners. As a result of
   7      the news, the Company’s stock price dropped another $46 per share on record
          trading volume of 16.8 million shares, a decline of over 56%.
   8
   9             15. On August 5, 2019, Lead Plaintiff filed its Consolidated Class Action
          Complaint for Violations of the Federal Securities Laws (the “Complaint”). On
  10      October 4, 2019, Defendants moved to dismiss this Complaint, which was
  11      opposed by Lead Plaintiff. On January 17, 2020, the Court granted in part and
          denied in part Defendants’ motion to dismiss the Complaint, holding that Lead
  12      Plaintiff had adequately alleged that Defendants made false or misleading
  13      representations that Stamps.com had a strong relationship with the USPS and that
          the USPS fully approved Stamps.com’s use of the reseller program. Defendants
  14      filed their answer to the Complaint on January 31, 2020.
  15
                 16. Lead Plaintiff and Defendants began formal discovery in April 2020.
  16      The Settling Parties served written discovery on each other, and issued subpoenas
  17      to third parties. At the time settlement was reached, Lead Plaintiff had collected
          hundreds of thousands of pages of documents from Defendants and various third
  18      parties. Similarly, Defendants collected thousands of pages of documents from
  19      Lead Plaintiff, its investment managers and other third parties.

  20             17. In the course of the Litigation, the Settling Parties engaged the
          services of Daniel Weinstein, a nationally recognized mediator. The Settling
  21      Parties participated in an in-person mediation session with Judge Weinstein on
  22      December 1, 2020. The Settling Parties did not reach an agreement to settle the
          Litigation at the mediation and continued litigating the case. The Settling Parties
  23      participated in a second in-person mediation session with Judge Weinstein on
  24      March 23, 2020. While the Settling Parties did not reach an agreement to settle
          the Litigation at this second mediation, they continued settlement negotiations
  25
          with the assistance of Judge Weinstein. Judge Weinstein subsequently provided
  26      the Settling Parties with a Mediator’s Proposal to settle the Litigation for
          $100,000,000, which the Settling Parties accepted on May 28, 2021.
  27
  28
                                                -7-
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -62-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 66 of 111 Page ID
                                 #:6326



   1
               HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
   2
                 18. If you are a Member of the Class, you are subject to the Settlement
   3      unless you timely request to be excluded. The Class consists of all persons or
   4      entities who purchased or otherwise acquired Stamps.com common stock during
          the Class Period and were damaged thereby. Excluded from the Class are
   5      Defendants and their immediate families, the officers and directors of the
   6      Company, at all relevant times, members of their immediate families, and their
          legal representatives, heirs, successors or assigns, and any entity in which
   7      Defendants have or had a controlling interest. Also excluded from the Class are
   8      any persons or entities who exclude themselves by submitting a request for
          exclusion in accordance with the requirements set forth in this Notice. (See “What
   9      If I Do Not Want To Be A Part Of The Settlement? How Do I Exclude Myself?,”
  10      below.) Anyone with questions as to whether or not they are excluded from the
          Class may call the Claims Administrator toll-free at (866) 331-7166.
  11
  12               RECEIPT OF THIS NOTICE DOES NOT NECESSARILY MEAN
                   THAT YOU ARE A CLASS MEMBER OR THAT YOU ARE
  13               ENTITLED TO RECEIVE PROCEEDS FROM THE
  14               SETTLEMENT.     IF YOU WISH TO BE POTENTIALLY
                   ELIGIBLE TO RECEIVE A DISTRIBUTION OF THE
  15               SETTLEMENT PROCEEDS, YOU MUST COMPLETE, SIGN
  16               AND SUBMIT THE ENCLOSED CLAIM FORM POSTMARKED
                   NO LATER THAN [____________], 2021.
  17
  18      WHAT ARE LEAD PLAINTIFF’S REASONS FOR THE SETTLEMENT?
  19              19. Lead Plaintiff and Lead Counsel believe that the claims asserted
  20      against Defendants have merit. Lead Plaintiff and Lead Counsel recognize,
          however, the expense and length of continued proceedings necessary to pursue
  21
          their claims against Defendants through trial and appeals, as well as the difficulties
  22      in establishing liability, obtaining class certification and establishing damages.
          Lead Plaintiff and Lead Counsel have considered the amount of the Settlement, as
  23
          well as the uncertain outcome and risk in complex lawsuits like this one. Such
  24      risks include that Lead Plaintiff would be unsuccessful in proving that Defendants’
          alleged misstatements were materially false and misleading, made with scienter
  25
          (that is, the requisite state of mind), or caused compensable damages to the Class.
  26
                20. In light of the amount of the Settlement and the immediacy of
  27      recovery to the Class, Lead Plaintiff and Lead Counsel believe that the proposed
  28      Settlement is fair, reasonable and adequate, and in the best interests of the Class.
                                                 -8-
       4831-6602-4942.v9                                                      Exhibit A-1
                                                                                     -63-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 67 of 111 Page ID
                                 #:6327



   1      Lead Plaintiff and Lead Counsel believe that the Settlement provides a substantial
          benefit now, namely $100 million in cash (less the various deductions described
   2
          in this Notice), as compared to the risk that the claims would produce a smaller
   3      recovery, or no recovery after summary judgment, trial and appeals, possibly years
          in the future.
   4
   5             21. Each Defendant has expressly denied and continues to deny all
          charges of wrongdoing or liability arising out of any of the conduct, statements,
   6      acts or omissions alleged, or that could have been alleged, in the Complaint,
   7      including, without limitation, that the allegations that Defendants or any of them
          made or caused to be made any alleged misrepresentation or omission, or engaged
   8      in any alleged scheme or course of conduct to defraud, that the price of
   9      Stamps.com common stock was artificially inflated by reasons of alleged
          misrepresentations, non-disclosures or otherwise, that any Defendant acted with
  10      scienter in making or causing any alleged misrepresentation or omission, and that
  11      Lead Plaintiff or the Class Members (as hereinafter defined) have suffered
          damages. Defendants believe that the Litigation is without merit and the evidence
  12      developed to date supports their position that they acted in good faith and in a
  13      manner they reasonably believed to be in accordance with all applicable rules,
          regulations, and laws. Defendants also believe that their public statements during
  14      the Class Period contained no material misstatements or omissions. In addition,
  15      Defendants maintain that they have meritorious defenses to all claims alleged in
          the Litigation.
  16
  17            WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?
  18
                22. If there were no Settlement and Lead Plaintiff failed to establish any
  19      essential legal or factual element of the alleged claims, neither Lead Plaintiff nor
          the Class would recover anything from Defendants. If the Court’s order certifying
  20
          a Class is reversed by the United States Court of Appeal for the Ninth Circuit and
  21      Lead Plaintiff was not to succeed in obtaining class certification, Defendants may
          have asserted the defense that the claims of Class Members were untimely under
  22
          applicable statutes of limitations and statutes of repose. Also, if Defendants were
  23      successful in proving any of their defenses, the Class likely would recover
          substantially less than the amount provided in the Settlement, or nothing at all.
  24
  25                           HOW MUCH WILL MY PAYMENT BE?
  26
  27            23. Defendants have agreed to cause to be paid One Hundred Million
          Dollars ($100,000,000.00) in cash into escrow for the benefit of the Class. At this
  28
                                                -9-
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -64-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 68 of 111 Page ID
                                 #:6328



   1      time, it is not possible to make any determination as to how much individual Class
          Members may receive from the Settlement. Lead Plaintiff has proposed a plan for
   2
          allocating the Net Settlement Fund to those Class Members who timely submit
   3      valid Proof of Claim Forms. The Plan of Allocation proposed by Lead Plaintiff is
          set forth below, and additional information is available on the website created for
   4
          purposes of this Settlement, www.StampsSecuritiesSettlement.com.
   5
                24. Payment pursuant to the Plan of Allocation shall be conclusive
   6      against all Authorized Claimants. No person or entity shall have any claim based
   7      on distributions made substantially in accordance with the Stipulation and the
          Settlement contained therein, the Plan of Allocation, or further order(s) of the
   8      Court against Lead Counsel, Lead Plaintiff, Class Members, the Claims
   9      Administrator, Defendants and the other Released Defendant Parties (defined
          below), or any person or entity designated by Lead Counsel. All Members of the
  10      Class who fail to timely submit an acceptable Claim Form by the deadline set by
  11      the Court, or such other deadline as may be ordered by the Court, or otherwise
          allowed, shall be forever barred from receiving any payments pursuant to the
  12      Settlement, but will in all other respects be subject to and bound by the terms of
  13      the Settlement, including the release of the Class Member’s Released Plaintiff’s
          Claims.
  14
  15            25. The Court has reserved jurisdiction to allow, disallow, or adjust on
          equitable grounds the claim of any Member of the Class.
  16
                 26. The Plan of Allocation set forth below is the proposed plan submitted
  17      by Lead Plaintiff and Lead Counsel for the Court’s approval. The Court may
  18      approve this plan as proposed or it may modify it without further notice to the
          Class.
  19
  20            27. Each Claimant shall be deemed to have submitted to the jurisdiction
          of the United States District Court for the Central District of California with
  21      respect to his, her or its Claim Form.
  22             28. Persons and entities that exclude themselves from the Class will not
  23      be eligible to receive a distribution from the Net Settlement Fund and should not
          submit Proof of Claim Forms.
  24
                                    PLAN OF ALLOCATION
  25
  26
                 29. The objective of the Plan of Allocation is to equitably distribute the
  27      settlement proceeds to those Class Members who suffered economic losses as a
  28      proximate result of the alleged wrongdoing. In developing the Plan of Allocation,
                                               - 10 -
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -65-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 69 of 111 Page ID
                                 #:6329



   1       Lead Plaintiff’s damages expert calculated the potential amount of estimated
           alleged artificial inflation in Stamps.com’s common stock during the Class Period,
   2
           and this estimated alleged artificial inflation is reflected in Table 1 below. The
   3       computation of the estimated alleged artificial inflation is based on certain
           misrepresentations alleged by Lead Plaintiff and the price change in the stock, net
   4
           of market- and industry-wide factors, in reaction to the public announcements that
   5       allegedly corrected the misrepresentations alleged by Lead Plaintiff. Lead
           Plaintiff alleges that corrective disclosures removed artificial inflation from the
   6
           price of Stamps.com common stock on February 22, 2019 and May 9, 2019 (the
   7       “Corrective Disclosure Dates”).
   8              30. The calculations made pursuant to the Plan of Allocation are not
   9       intended to be estimates of, nor indicative of, the amounts that Class Members
           might have been able to recover after a trial. Nor are the calculations pursuant to
  10       the Plan of Allocation intended to be estimates of the amounts that will be paid to
  11       Authorized Claimants pursuant to the Settlement. The computations under the
           Plan of Allocation are only a method to weigh the claims of Authorized Claimants
  12       against one another for the purposes of making pro rata allocations of the Net
  13       Settlement Fund.
  14                       CALCULATION OF RECOGNIZED LOSS AMOUNTS

  15              31. In order to have recoverable damages, a disclosure of the alleged
           truth omitted or concealed by the misrepresentations must be the cause of the
  16
           decline in the price of Stamps.com’s common stock. In this case, Lead Plaintiff
  17       alleges that Defendants made false statements and omitted material facts during
           the Class Period, which had the effect of artificially inflating the prices of
  18
           Stamps.com’s common stock.
  19
                  32. Based on the formula set forth below, a “Recognized Loss Amount”
  20       will be calculated for each purchase or acquisition of Stamps.com common stock
  21       during the Class Period that is listed in the Proof of Claim Form and for which
           adequate documentation is provided. In the calculations below, if a Recognized
  22       Loss Amount calculates to a negative number, that Recognized Loss Amount shall
  23       be zero.1
  24   1
            Pursuant to PSLRA, Section 21D(e)(1), “in any private action arising under
  25 this Act in which the plaintiff seeks to establish damages by reference to the market
     price of a security, the award of damages to the plaintiff shall not exceed the
  26 difference between the purchase or sale price paid or received, as appropriate, by the
  27 plaintiff for the subject security and the mean trading price of that security during
     the 90-day period beginning on the date on which the information correcting the
  28
                                                - 11 -
       4831-6602-4942.v9                                                     Exhibit A-1
                                                                                    -66-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 70 of 111 Page ID
                                 #:6330



   1             33. For each share of Stamps.com common stock purchased or otherwise
          acquired during the Class Period, i.e., May 3, 2017 through May 8, 2019, both
   2
          dates inclusive, the Recognized Loss per share shall be calculated as follows:
   3
                       (a) For each share of Stamps.com common stock that was sold
   4      prior to February 22, 2019, the Recognized Loss per share is $0.00.
   5
                      (b) For each share of Stamps.com common stock that was sold
   6      during the period February 22, 2019 through May 8, 2019, both dates inclusive,
          the Recognized Loss per share is the lesser of:
   7
   8                          (i)    the amount of per-share price inflation on the date of
          purchase as appears in Table 1 below minus the amount of per-share price
   9      inflation on the date of sale as appears in Table 1; or
  10
                             (ii)    the purchase price minus the sale price.
  11
                      (c) For each share of Stamps.com common stock that was sold
  12      between May 9, 2019 and August 6, 2019, both dates inclusive (i.e., sold during
  13      the 90-Day Lookback Period), the Recognized Loss per share is the least of:
  14                        (i)    the amount of per-share price inflation on the date of
  15      purchase as appears in Table 1; or

  16                          (ii) the purchase price minus the “90-Day Lookback Value”
          on the date of sale as provided in Table 2 below; or
  17
  18                         (iii)   the purchase price minus the sale price.

  19                    (d) For each share of Stamps.com common stock that was still
          held as of the close of trading on August 6, 2019, the Recognized Loss per share
  20      is the lesser of:
  21
                            (i)    the amount of per-share price inflation on the date of
  22      purchase as appears in Table 1; or
  23
  24
     misstatement or omission that is the basis for the action is disseminated to the
  25 market.” Consistent with the requirements of the PSLRA, Recognized Loss
  26 Amounts are reduced to an appropriate extent by taking into account the closing
     prices of Stamps.com’s common stock during the 90-day look-back period. The
  27 mean (average) closing price for Stamp.com’s common stock during this 90-day
  28 look-back period was $42.18 per share.
                                                - 12 -
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -67-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 71 of 111 Page ID
                                 #:6331



   1                     (ii) the purchase price minus the average closing price for
          Stamps.com common stock during the 90-Day Lookback Period, which is $42.18.
   2
   3                                                 Table 1
                             Artificial Inflation in Stamps.com Common Stock*
   4                 From                               To                  Per-Share Price Inflation
                  May 3, 2017                   February 21, 2019                   $163.21
   5           February 22, 2019                   May 8, 2019                       $46.14
                  May 9, 2019                       Thereafter                        $0.00
   6      * For each day during the Class Period, the artificial inflation in the price of Stamps.com
          common stock shall be limited to that day’s closing price of Stamps.com common stock.
   7
                                                Table 2
   8                          90-Day Lookback Value by Sale/Disposition Date
   9         Sale /         90-Day          Sale /           90-Day         Sale /         90-Day
          Disposition      Lookback      Disposition        Lookback     Disposition      Lookback
  10         Date            Value          Date              Value         Date            Value

  11        5/9/2019        $36.90        6/10/2019          $37.63       7/10/2019        $40.15
           5/10/2019        $38.75        6/11/2019          $37.64       7/11/2019        $40.30
  12       5/13/2019        $39.83        6/12/2019          $37.69       7/12/2019        $40.47
  13       5/14/2019        $40.51        6/13/2019          $37.80       7/15/2019        $40.63
           5/15/2019        $41.10        6/14/2019          $37.90       7/16/2019        $40.80
  14
           5/16/2019        $41.22        6/17/2019          $37.99       7/17/2019        $40.94
  15       5/17/2019        $41.02        6/18/2019          $38.09       7/18/2019        $41.02
           5/20/2019        $40.75        6/19/2019          $38.18       7/19/2019        $41.11
  16
           5/21/2019        $40.55        6/20/2019          $38.28       7/22/2019        $41.19
  17       5/22/2019        $40.10        6/21/2019          $38.38       7/23/2019        $41.28
  18       5/23/2019        $39.62        6/24/2019          $38.47       7/24/2019        $41.39
           5/24/2019        $39.20        6/25/2019          $38.53       7/25/2019        $41.51
  19       5/28/2019        $38.81        6/26/2019          $38.63       7/26/2019        $41.63
  20       5/29/2019        $38.43        6/27/2019          $38.76       7/29/2019        $41.73
           5/30/2019        $38.10        6/28/2019          $38.94       7/30/2019        $41.85
  21
           5/31/2019        $37.82         7/1/2019          $39.11       7/31/2019        $41.95
  22        6/3/2019        $37.65         7/2/2019          $39.29        8/1/2019        $42.01
  23        6/4/2019        $37.63         7/3/2019          $39.45        8/2/2019        $42.08
            6/5/2019        $37.63         7/5/2019          $39.62        8/5/2019        $42.12
  24        6/6/2019        $37.63         7/8/2019          $39.77        8/6/2019        $42.18
  25        6/7/2019        $37.63         7/9/2019          $39.97

  26
  27
  28
                                                   - 13 -
       4831-6602-4942.v9                                                          Exhibit A-1
                                                                                         -68-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 72 of 111 Page ID
                                 #:6332



   1
                                  ADDITIONAL PROVISIONS
   2
                34. The Net Settlement Fund will be allocated among all Authorized
   3      Claimants based on the amount of each Authorized Claimant’s Recognized Claim
   4      (defined below).

   5            35. If a Class Member has more than one purchase/acquisition or sale of
          Stamps.com’s common stock, purchases/acquisitions and sales shall be matched
   6      on a First In, First Out (“FIFO”) basis. Class Period sales will be matched first
   7      against any holdings at the beginning of the Class Period, and then against
          purchases/acquisitions in chronological order, beginning with the earliest
   8      purchase/acquisition made during the Class Period.
   9
                 36. A Claimant’s “Recognized Claim” under the Plan of Allocation shall
  10      be the sum of his, her or its Recognized Loss Amounts.
  11             37. The Net Settlement Fund will be distributed to Authorized Claimants
  12      on a pro rata basis based on the relative size of their Recognized Claims.
          Specifically, a “Distribution Amount” will be calculated for each Authorized
  13
          Claimant, which shall be the Authorized Claimant’s Recognized Claim divided by
  14      the total Recognized Claims of all Authorized Claimants, multiplied by the total
          amount in the Net Settlement Fund. If any Authorized Claimant’s Distribution
  15
          Amount calculates to less than $10.00, it will not be included in the calculation
  16      and no distribution will be made to such Authorized Claimant.
  17             38. Purchases or acquisitions and sales of Stamps.com’s common stock
  18      shall be deemed to have occurred on the “contract” or “trade” date as opposed to
          the “settlement” or “payment” date. The receipt or grant by gift, inheritance or
  19      operation of law of Stamps.com’s common stock during the Class Period shall not
  20      be deemed a purchase, acquisition or sale of Stamps.com’s common stock for the
          calculation of an Authorized Claimant’s Recognized Loss Amount, nor shall the
  21      receipt or grant be deemed an assignment of any claim relating to the
  22      purchase/acquisition of any Stamps.com’s common stock unless (i) the donor or
          decedent purchased or otherwise acquired such Stamps.com’s common stock
  23      during the Class Period; (ii) no Claim Form was submitted by or on behalf of the
  24      donor, on behalf of the decedent, or by anyone else with respect to those shares;
          and (iii) it is specifically so provided in the instrument of gift or assignment.
  25
                 39. The date of covering a “short sale” is deemed to be the date of
  26
          purchase or acquisition of the Stamps.com common stock. The date of a “short
  27      sale” is deemed to be the date of sale of the Stamps.com common stock. Under
  28      the Plan of Allocation, however, the Recognized Loss Amount on “short sales” is

                                              - 14 -
       4831-6602-4942.v9                                                  Exhibit A-1
                                                                                 -69-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 73 of 111 Page ID
                                 #:6333



   1      zero. In the event that a Claimant has an opening short position in Stamps.com’s
          common stock, the earliest Class Period purchases or acquisitions of
   2
          Stamps.com’s common stock shall be matched against such opening short
   3      position, and not be entitled to a recovery, until that short position is fully covered.
   4            40. With respect to Stamps.com’s common stock purchased or sold
   5      through the exercise of an option, the purchase/sale date of the common stock is
          the exercise date of the option and the purchase/sale price of the common stock is
   6      the exercise price of the option.
   7
                  41. To the extent a Claimant had a market gain with respect to his, her,
   8      or its overall transactions in Stamps.com’s common stock during the Class Period,
          the value of the Claimant’s Recognized Claim shall be zero. Such Claimants shall
   9
          in any event be bound by the Settlement. To the extent that a Claimant suffered
  10      an overall market loss with respect to his, her, or its overall transactions in
  11      Stamps.com’s common stock during the Class Period, but that market loss was
          less than the total Recognized Claim calculated above, then the Claimant’s
  12      Recognized Claim shall be limited to the amount of the actual market loss.
  13             42. After the initial distribution of the Net Settlement Fund, the Claims
  14      Administrator shall make reasonable and diligent efforts to have Authorized
          Claimants cash their distribution checks. To the extent any monies remain in the
  15      fund within a reasonable time after the initial distribution, if Lead Counsel, in
  16      consultation with the Claims Administrator, determine that it is cost-effective to
          do so, the Claims Administrator shall conduct one or more re-distributions of the
  17      funds remaining after payment of any unpaid fees and expenses incurred in
  18      administering the Settlement, including for such re-distribution, to Authorized
          Claimants who have cashed their initial distributions and who would receive at
  19      least $10.00 from such re-distribution.
  20
                 43. Payment pursuant to the Plan of Allocation, or such other plan of
  21      allocation as may be approved by the Court, shall be conclusive against all
  22      Authorized Claimants. No person shall have any claim against Lead Plaintiff,
          Lead Counsel, Lead Plaintiff’s damages expert, or the Claims Administrator or
  23      other agent designated by Lead Counsel, or the Released Defendant Parties and/or
  24      their respective counsel, arising from distributions made substantially in
          accordance with the Stipulation, the Plan of Allocation approved by the Court, or
  25      further orders of the Court. Lead Plaintiff and Defendants, their respective
  26      counsel, Lead Plaintiff’s damages expert, and all other releasees shall have no
          responsibility or liability whatsoever for the investment or distribution of the
  27      Settlement Fund, the Net Settlement Fund, the Plan of Allocation, or the
  28      determination, administration, calculation, or payment of any Claim Form or
                                                  - 15 -
       4831-6602-4942.v9                                                        Exhibit A-1
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Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 74 of 111 Page ID
                                 #:6334



   1      nonperformance of the Claims Administrator, the payment or withholding of taxes
          (including interest and penalties) owed by the Settlement Fund, or any losses
   2
          incurred in connection therewith.
   3
                 44. The Plan of Allocation set forth herein is the plan that is being
   4      proposed to the Court for its approval by Lead Plaintiff after consultation with its
   5      damages expert. The Court may approve this plan as proposed or it may modify
          the Plan of Allocation without further notice to the Class. Any orders regarding
   6      any modification of the Plan of Allocation will be posted on the Settlement
   7      website.
   8
                    WHAT RIGHTS AM I GIVING UP BY AGREEING TO THE
   9                                SETTLEMENT?
  10
  11             45. If the Settlement is approved, the Court will enter a judgment (the
          “Judgment”). The Judgment will dismiss with prejudice the claims against
  12      Defendants and will provide that Lead Plaintiff and all other Releasing Plaintiff
  13      Parties (as defined in ¶48 below) shall have waived, released, discharged, and
          dismissed each and every one of the Released Plaintiff’s Claims (as defined in ¶46
  14      below), including Unknown Claims (as defined in ¶49 below), against each and
  15      every one of the Released Defendant Parties (as defined in ¶47 below) and shall
          forever be barred and enjoined from commencing, instituting, prosecuting, or
  16      maintaining any and all of the Released Plaintiff’s Claims against any and all of
  17      the Released Defendant Parties, whether or not they execute and deliver the Claim
          Form or share in the Settlement Fund. Claims to enforce the terms of the
  18      Settlement are not released.
  19             46. “Released Plaintiff’s Claims” means any and all claims, debts, duties,
  20      losses, actions, suits, demands, controversies, rights, liabilities, obligations,
          judgments, damages, costs, restitution, rescission, interest, attorneys’ fees, expert
  21      or consulting fees, expenses, matters, arguments, causes of action, and issues
  22      whatsoever, whether known or unknown, asserted or unasserted, accrued or
          unaccrued, liquidated or unliquidated, whether arising under federal, state, local,
  23
          statutory, common, foreign or administrative law, or any other law, rule or
  24      regulation, whether fixed or contingent, at law or in equity, whether in the nature
          of class, individual, representative, or in other capacity, that any Releasing
  25
          Plaintiff Party asserted in the Litigation or could have asserted, directly or
  26      indirectly, in any forum that arise out of or are based upon or relate in any way to
          both: (1) the purchase, acquisition or holding of Stamps.com common stock
  27
          during the Class Period and (ii) the facts, claims, matters, allegations, transactions,
  28      events, occurrences, disclosures, representations, statements, acts, or omissions or
                                                 - 16 -
       4831-6602-4942.v9                                                       Exhibit A-1
                                                                                      -71-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 75 of 111 Page ID
                                 #:6335



   1      failures to act that were alleged, asserted, contended, set forth, related to, or
          referred to in the Litigation. “Released Plaintiff’s Claims” includes “Unknown
   2
          Claims” as defined in ¶49 hereof. “Released Plaintiff’s Claims” do not include
   3      any claims relating to the enforcement of the Settlement.
   4            47. “Released Defendant Party” or “Released Defendant Parties” means
   5      each and all of the Defendants, and each of their respective past, present, or future
          subsidiaries, parents, associates, affiliates, principals, successors and
   6      predecessors, joint venturers, assigns, officers, directors, shareholders,
   7      underwriters, trustees, partners, members, agents, representatives, general or
          limited partners or partnerships, fiduciaries, contractors, employees, insurers, co-
   8      insurers, reinsurers, controlling shareholders, attorneys, accountants or auditors,
   9      financial or investment advisors or consultants, banks or investment bankers,
          personal or legal representatives, estates, heirs, related or affiliated entities, in their
  10      capacity as such, and any entity in which Defendants have a controlling interest,
  11      any member of an individual Defendant’s immediate family, or any trust of which
          any individual Defendant is a settlor or which is for the benefit of any individual
  12      Defendant and/or member(s) of his or her family, and each of the heirs, executors,
  13      administrators, predecessors, successors, and assigns of the foregoing.
  14             48. “Releasing Plaintiff Party” or “Releasing Plaintiff Parties” means
  15      Lead Plaintiff, Lead Counsel, each and every Class Member, and each of their
          respective past, present, or future subsidiaries, parents, associates, affiliates,
  16      principals, successors and predecessors, joint venturers, assigns, officers,
  17      directors, shareholders, underwriters, trustees, partners, members, agents,
          representatives, general or limited partners or partnerships, fiduciaries,
  18      contractors, employees, insurers, co-insurers, reinsurers, controlling shareholders,
  19      attorneys, accountants or auditors, financial or investment advisors or consultants,
          banks or investment bankers, personal or legal representatives, estates, heirs,
  20      related or affiliated entities, in their capacity as such, and any entity in which Lead
  21      Plaintiff has a controlling interest, any member of an individual Class Member’s
          immediate family, or any trust of which any individual Class Member is a settlor
  22      or which is for the benefit of any individual Class Member and/or member(s) of
  23      his or her family, and each of the heirs, executors, administrators, predecessors,
          successors, and assigns of the foregoing. Releasing Plaintiff Parties do not include
  24      any Person who timely and validly seeks exclusion from the Class.
  25
                 49. “Unknown Claims” means any and all Released Plaintiff’s Claims
  26      which the Releasing Plaintiff Parties do not know or suspect to exist in their favor
          at the time of the release of the Released Defendant Parties, and any and all
  27
          Released Defendants’ Claims which the Released Defendant Parties do not know
  28      or suspect to exist in their favor at the time of the release of the Releasing Plaintiff
                                                   - 17 -
       4831-6602-4942.v9                                                          Exhibit A-1
                                                                                         -72-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 76 of 111 Page ID
                                 #:6336



   1      Parties, which, if known by him, her, or it, might have affected his, her or its
          decision(s) with respect to the Settlement, including the decision to object to the
   2
          terms of the Settlement or to exclude himself, herself, or itself from the Class.
   3      With respect to any and all Released Plaintiff’s Claims and Released Defendants’
          Claims, the Settling Parties stipulate and agree that, upon the Effective Date, Lead
   4
          Plaintiff and Defendants shall expressly waive, and each Releasing Plaintiff Party
   5      and Released Defendant Party shall be deemed to have, and by operation of the
          Judgment shall have expressly waived, the provisions, rights, and benefits of
   6
          California Civil Code §1542, which provides:
   7
                   A general release does not extend to claims which the creditor or
   8               releasing party does not know or suspect to exist in his or her
                   favor at the time of executing the release and that, if known by
   9               him or her, would have materially affected his or her settlement
                   with the debtor or released party.
  10
         Lead Plaintiff and Defendants shall expressly waive, and each Releasing Plaintiff
  11     Party and Released Defendant Party shall be deemed to have, and by operation of
  12     the Judgment shall have expressly waived, any and all provisions, rights, and
         benefits conferred by any law of any state or territory of the United States or any
  13     foreign country, or any principle of common law, which is similar, comparable or
  14     equivalent in substance to California Civil Code §1542. Lead Plaintiff, any
         Releasing Plaintiff Party, Defendants, or any Released Defendant Party may
  15     hereafter discover, facts, legal theories, or authorities in addition to or different
  16     from those which any of them now knows or believes to be true with respect to the
         subject matter of the Released Plaintiff’s Claims and the Released Defendants’
  17     Claims, but Lead Plaintiff and Defendants shall expressly, fully, finally, and
  18     forever waive, compromise, settle, discharge, extinguish, and release, and each
         Releasing Plaintiff Party and Released Defendant Party shall be deemed to have
  19     waived, compromised, settled, discharged, extinguished, and released, and upon
  20     the Effective Date and by operation of the Judgment shall have waived,
         compromised, settled, discharged, extinguished, and released, fully, finally, and
  21     forever, any and all Released Plaintiff’s Claims and Released Defendants’ Claims
  22     as applicable, known or unknown, suspected or unsuspected, contingent or
         absolute, accrued or unaccrued, apparent or unapparent, which now exist, or
  23     heretofore existed, or may hereafter exist, without regard to the subsequent
  24     discovery or existence of such different or additional facts, legal theories, or
         authorities. Lead Plaintiff and Defendants acknowledge, and the Releasing
  25     Plaintiff Parties and Released Defendant Parties shall be deemed by operation of
  26     the Judgment to have acknowledged, that the foregoing waiver was separately
         bargained for and a key element of the Settlement.
  27
  28
                                                - 18 -
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -73-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 77 of 111 Page ID
                                 #:6337



   1             50. The Judgment also will provide that Defendants and each of the other
          Released Defendant Parties shall be deemed to have waived, released, discharged,
   2
          and dismissed as against the Releasing Plaintiff Parties all claims and causes of
   3      action of every nature and description (including Unknown Claims), whether
          arising under federal, state, common, or foreign law, that any Released Defendant
   4
          Party could have asserted against any of the Releasing Plaintiff Parties that arise
   5      out of or relate in any way to the institution, prosecution, or settlement of the
          claims in the Litigation, except for claims relating to the enforcement of the
   6
          Settlement (the “Released Defendants’ Claims”).
   7
   8              WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS
                     SEEKING? HOW WILL THE LAWYERS BE PAID?
   9
  10             51. Lead Counsel has not received any payment for its services in
  11      pursuing claims against Defendants on behalf of the Class, nor has Lead Counsel
          been paid for its expenses. Before final approval of the Settlement, Lead Counsel
  12      intends to apply to the Court for an award of attorneys’ fees on behalf of all
  13      Plaintiff’s Counsel from the Settlement Fund of no more than 16.75% of the
          Settlement Amount, plus interest. At the same time, Lead Counsel also intends to
  14      apply for the payment from the Settlement Fund for Plaintiff’s Counsel’s litigation
  15      expenses, in an amount not to exceed $600,000, plus interest, and may apply for
          an award for Lead Plaintiff, pursuant to 15 U.S.C. §78u-4(a)(4) based on its time
  16      representation of the Class, of no more than $10,000. The Court will determine
  17      the amount of the award of fees, expenses and Lead Plaintiff award. Such sums
          as may be approved by the Court will be paid from the Settlement Fund. Class
  18      Members are not personally liable for any such fees or expenses.
  19                       HOW DO I PARTICIPATE IN THE SETTLEMENT?
  20                                WHAT DO I NEED TO DO?
  21
                52. If you fall within the definition of the Class as described above, and
  22      you are not excluded by the definition of the Class and you do not elect to exclude
  23      yourself from the Class, then you are a Class Member, and you will be bound by
          the proposed Settlement if the Court approves it, and by any judgment or
  24      determination of the Court affecting the Class. If you are a Class Member, you
  25      must submit a Claim Form and supporting documentation to establish your
          potential entitlement to share in the proceeds of the Settlement. A Claim Form is
  26      included with this Notice, or you may go to the website maintained by the Claims
  27      Administrator for the Settlement to request that a Claim Form be mailed to you.
          The website is www.StampsSecuritiesSettlement.com. You may also request a
  28
                                               - 19 -
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -74-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 78 of 111 Page ID
                                 #:6338



   1      Claim Form by calling toll-free (866) 331-7166. Those who exclude themselves
          from the Class, and those who do not submit timely and valid Claim Forms with
   2
          adequate supporting documentation, will not be entitled to share in the proceeds
   3      of the Settlement unless otherwise ordered by the Court. Please retain all original
          records of your ownership of, or transactions in the shares, as they may be needed
   4
          to document your claim.
   5
                 53. As a Class Member, for purposes of the Settlement, you are
   6      represented by Lead Plaintiff and Lead Counsel, unless you enter an appearance
   7      through counsel of your own choice at your own expense. You are not required
          to retain your own counsel, but if you choose to do so, such counsel must file a
   8      notice of appearance on your behalf and must serve copies of his or her notice of
   9      appearance on the attorneys listed in the section entitled, “When And Where Will
          The Court Decide Whether To Approve The Settlement?” below.
  10
  11             54. If you do not wish to remain a Class Member, you may exclude
          yourself from the Class by following the instructions in the section entitled, “What
  12      If I Do Not Want To Be A Part Of The Settlement? How Do I Exclude Myself?”
  13      below. If you exclude yourself from the Class, you will not be eligible to receive
          any benefit from the Settlement and you should not submit a Claim Form but you
  14      will retain the right to be a part of any other lawsuit against any of the Released
  15      Defendant Parties (as defined in ¶47 above) with respect to any of the Released
          Plaintiff’s Claims (as defined in ¶46 above).
  16
                  55. If you wish to object to the Settlement or any of its terms, the
  17      proposed Plan of Allocation, or Lead Counsel’s application for attorneys’ fees and
  18      litigation expenses, and if you do not exclude yourself from the Class, you may
          present your objections by following the instructions in the section entitled,
  19      “When And Where Will The Court Decide Whether To Approve The Settlement?”
  20      below. If you exclude yourself from the Class, you are not entitled to submit an
          objection.
  21
  22
            WHAT IF I DO NOT WANT TO BE A PART OF THE SETTLEMENT?
  23
                           HOW DO I EXCLUDE MYSELF?
  24
  25            56. Each Class Member will be bound by all determinations and
          judgments in this lawsuit concerning the Settlement, whether favorable or
  26      unfavorable, unless such person or entity mails, by first-class mail (or its
  27      equivalent outside the U.S.), or otherwise delivers a written request for exclusion
          from the Class, addressed to Stamps.com Securities Settlement, EXCLUSIONS,
  28
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       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -75-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 79 of 111 Page ID
                                 #:6339



   1      c/o Gilardi & Co. LLC, 150 Royall Street, Suite 101, Canton, MA 02021. The
          exclusion request must be received no later than ________, 2021. Each request
   2
          for exclusion must clearly indicate the name, address and telephone number of the
   3      person or entity seeking exclusion, that the sender requests to be excluded from
          the Class in Karinski v. Stamps.com, Inc., et al., Case No. 2:19-cv-01828-MWF-
   4
          SK, and must be signed by such person. Such persons or entities requesting
   5      exclusion are also directed to provide the following information: the number of
          shares of Stamps.com common stock that the Person requesting exclusion held at
   6
          the close of trading on May 2, 2017, the number of shares of Stamps.com common
   7      stock that the Person requesting exclusion purchased, acquired, sold, or disposed
          of during the Class Period, as well as the number of shares, dates and prices for
   8
          each such purchase, acquisition, sale, and/or disposition. The request for
   9      exclusion shall not be effective unless it provides the required information and is
  10      made within the time stated above, or the exclusion is otherwise accepted by the
          Court. Should you elect to exclude yourself from the Class, you should understand
  11      that Defendants and the other Released Defendant Parties will have the right to
  12      assert any and all defenses they may have to any claims that you may seek to
          assert, including, without limitation, the defense that any such claims are untimely
  13      under applicable statutes of limitations and statutes of repose.
  14             57. If you do not want to be part of the Class, you must follow these
  15      instructions for exclusion even if you have pending, or later file, another lawsuit,
          arbitration, or other proceeding relating to any Released Plaintiff’s Claim against
  16      any of the Released Defendant Parties. Excluding yourself from the Class is the
  17      only option that allows you to be part of any other current or future lawsuit against
          Defendants or any of the other Released Defendant Parties concerning the
  18      Released Plaintiff’s Claims. Please note, however, if you decide to exclude
  19      yourself from the Class, you may be time-barred from asserting the claims covered
          by the Litigation by a statute of limitations and/or a statute of repose.
  20
  21            58. If a person or entity requests to be excluded from the Class, that
          person or entity will not receive any benefit provided for in the Stipulation. Any
  22      Class Member that opts out of the Class or otherwise settled claims with one or
  23      more Defendants for claims arising out of the conduct alleged in the Litigation is
          hereby enjoined from submitting a Claim Form or having another person or entity
  24      submit a Claim Form on its behalf.
  25
               WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO
  26
                           APPROVE THE SETTLEMENT?
  27                  DO I HAVE TO COME TO THE HEARING?
  28
                                                - 21 -
       4831-6602-4942.v9                                                     Exhibit A-1
                                                                                    -76-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 80 of 111 Page ID
                                 #:6340



   1                  MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE
   2                                  SETTLEMENT?

   3               59. If you do not wish to object in person to the proposed Settlement, the
   4       proposed Plan of Allocation, and/or the application for attorneys’ fees and
           litigation expenses, you do not need to attend the Settlement Hearing. You can
   5       object to or participate in the Settlement without attending the Settlement Hearing.
   6
                  60. The Settlement Hearing will be held on ______, 2021, at ________
   7       _.m., before the Honorable Michael W. Fitzgerald, at the United States District
   8       Court, Central District of California, First Street Courthouse, 350 West First
           Street, Courtroom 5A, Los Angeles, California 90012. The Court reserves the
   9       right to approve the Settlement or the Plan of Allocation, Lead Counsel’s motion
  10       for an award of attorneys’ fees and expenses, and/or any other matter related to
           the Settlement at or after the Settlement Hearing without further notice to the
  11       Members of the Class.
  12
                  61. Any Class Member who does not request exclusion such that it is
  13       received no later than _______, 2021, may object to the Settlement, the Plan of
           Allocation, or Lead Counsel’s request for an award of attorneys’ fees and litigation
  14
           expenses.2 Objections or oppositions must be in writing. You must file any
  15       written objection or opposition, together with copies of all other supporting papers
           and briefs, with the Clerk’s Office at the United States District Court for the
  16
           Central District of California at the address set forth below on or before _______,
  17       2021. You must also serve the papers on Lead Counsel for the Class and counsel
           for the Defendants at the addresses set forth below so that the papers are received
  18
           on or before ______, 2021.
  19
  20                                          Lead Counsel                  Counsel for
  21              Clerk’s Office              for the Class                 Defendants

  22          UNITED STATES              ROBBINS GELLER      KATTEN MUCHIN
             DISTRICT COURT            RUDMAN & DOWD LLP      ROSENMAN LLP
  23        CENTRAL DISTRICT               Eric I. Niehaus   Richard H. Zelichov
              OF CALIFORNIA              655 West Broadway  2029 Century Park East
  24        First Street Courthouse          Suite 1900           Suite 2600
  25         350 West First Street      San Diego, CA 92101    Los Angeles, CA
                   Suite 4311                                       90067
  26
  27   2
            Lead Plaintiff’s initial motion papers in support of these matters will be filed
  28 with the Court on or before _____________, 2021.
                                                 - 22 -
       4831-6602-4942.v9                                                     Exhibit A-1
                                                                                    -77-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 81 of 111 Page ID
                                 #:6341



   1       Los Angeles, CA 90012
   2
                 62. The notice of objection must include documentation establishing the
   3
          objecting Person’s membership in the Class, including the number of shares of
   4      Stamps.com common stock that the objecting Person purchased, acquired, sold,
          and/or disposed of during the Class Period, as well as the number of shares, dates
   5
          and prices for each such purchase, acquisition, sale, and disposition. The objection
   6      must contain a statement of reasons for the objection, copies of any papers, briefs,
          or other documents upon which the objection is based, a statement of whether the
   7
          objector intends to appear at the Settlement Hearing, and the objector’s signature,
   8      even if represented by counsel. The objection must state whether it applies only
          to the objector, to a subset of the Class or to the entire Class. The notice of
   9
          objection must also identify any other class actions to which the objector and/or
  10      his, her or its counsel has previously objected. Documentation establishing
          membership in the Class must consist of copies of brokerage confirmation slips or
  11
          monthly brokerage account statements, or an authorized statement from the
  12      objector’s broker containing the transactional and holding information found in a
  13      broker confirmation slip or account statement. Objectors who desire to present
          evidence at the Settlement Hearing in support of their objection must include in
  14      their written objection or notice of appearance the identity of any witnesses they
  15      may call to testify and any exhibits they intend to introduce into evidence at the
          hearing.
  16
                63. You may not object to the Settlement or any aspect of it, if you
  17      exclude yourself from the Class.
  18
                64. You may file a written objection without having to appear at the
  19      Settlement Hearing. You may not appear at the Settlement Hearing to present
  20      your objection, however, unless you have first filed and served a written objection
          in accordance with the procedures described above, unless the Court orders
  21      otherwise.
  22             65. You are not required to hire an attorney to represent you in making
  23      written objections or in appearing at the Settlement Hearing. If you decide to hire
          an attorney, which will be at your own expense, however, he or she must file a
  24      notice of appearance with the Court and serve it on Lead Counsel so that the notice
  25      is received on or before ____, 2021.
  26             66. The Settlement Hearing may be adjourned by the Court without
  27      further written notice to the Class, other than a posting of the adjournment on the

  28
                                                - 23 -
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -78-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 82 of 111 Page ID
                                 #:6342



   1      Settlement website, www.StampsSecuritiesSettlement.com. If you plan to attend
          the Settlement Hearing, you should confirm the date and time with Lead Counsel.
   2
   3               Unless the Court orders otherwise, any Class Member who does
                   not object in the manner described above will be deemed to have
   4               waived any objection and shall be forever foreclosed from
                   making any objection to the proposed Settlement, the proposed
   5               Plan of Allocation, or Lead Counsel’s request for an award of
   6               attorneys’ fees and litigation expenses. Class Members do not
                   need to appear at the hearing or take any other action to indicate
   7               their approval.
   8
               WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?
   9
  10             67. Nominees who purchased or acquired Stamps.com common stock for
          beneficial owners who are Class Members are directed to: (a) request within seven
  11      (7) calendar days of receipt of this Notice additional copies of the Notice and the
  12      Claim Form from the Claims Administrator for such beneficial owners; or (b) send
          a list of the names and addresses of such beneficial owners to the Claims
  13      Administrator within seven (7) calendar days after receipt of this Notice. If a
  14      nominee elects to send the Notice to beneficial owners, such nominee is directed
          to mail the Notice within seven (7) calendar days of receipt of the additional copies
  15      of the Notice from the Claims Administrator, and upon such mailing, the nominee
  16      shall send a statement to the Claims Administrator confirming that the mailing
          was made as directed, and the nominee shall retain the list of names and addresses
  17      for use in connection with any possible future notice to the Class. Upon full
  18      compliance with these instructions, including the timely mailing of the Notice to
          beneficial owners, such nominees may seek reimbursement of their reasonable
  19      expenses actually incurred in complying with these instructions by providing the
  20      Claims Administrator with proper documentation supporting the expenses for
          which reimbursement is sought and reflecting compliance with these instructions,
  21      including timely mailing of the Notice, if the nominee elected or elects to do so.
  22      Such properly documented expenses incurred by nominees in compliance with the
          terms of these instructions will be paid from the Settlement Fund. Copies of this
  23      Notice may also be obtained by calling toll-free (866) 331-7166, and may be
  24      downloaded from the Settlement website, www.StampsSecuritiesSettlement.com.
  25
                               CAN I SEE THE COURT FILE?
  26                   WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?
  27
  28
                                                - 24 -
       4831-6602-4942.v9                                                     Exhibit A-1
                                                                                    -79-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 83 of 111 Page ID
                                 #:6343



   1
                68. This Notice contains only a summary of the terms of the proposed
   2      Settlement. More detailed information about the matters involved in the Litigation
   3      is available at www.StampsSecutiesSettlement.com, including, among other
          documents, copies of the Stipulation and Proof of Claim Form. All inquiries
   4      concerning this Notice or the Claim Form should be directed to:
   5
                                 Stamps.com Securities Settlement
   6                                   c/o Gilardi & Co. LLC
                                          P.O. Box 43315
   7
                                    Providence, RI 02940-3315
   8                             Toll-free number: (866) 331-7166
   9                                             OR
  10                                  Eric I. Niehaus, Esq.
                           ROBBINS GELLER RUDMAN & DOWD LLP
  11                            655 West Broadway, Suite 1900
  12                                 San Diego, CA 92101
                                        (800) 449-4900
  13                                eniehaus@rgrdlaw.com
  14                                     Lead Counsel
  15                       DO NOT CALL OR WRITE THE COURT OR
  16                        THE OFFICE OF THE CLERK OF COURT
                                 REGARDING THIS NOTICE.
  17
  18      Dated: ____________, 2021                     By Order of the Court
  19                                                    United States District Court
                                                        Central District of California
  20
  21
  22
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  24
  25
  26
  27
  28
                                               - 25 -
       4831-6602-4942.v9                                                    Exhibit A-1
                                                                                   -80-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 84 of 111 Page ID
                                 #:6344




                    EXHIBIT A-2
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 85 of 111 Page ID
                                 #:6345



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   2 STEVEN W. PEPICH (116086)
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   6 619/231-7423 (fax)
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     ksciarani@rgrdlaw.com
   9
     Lead Counsel for Lead Plaintiff
  10
                          UNITED STATES DISTRICT COURT
  11
                         CENTRAL DISTRICT OF CALIFORNIA
  12
     MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF-SK
  13 Behalf of All Others Similarly Situated, )
                                              ) CLASS ACTION
  14                          Plaintiff,      )
                                              ) CLAIM FORM
  15       vs.                                )
                                              ) EXHIBIT A-2
  16 STAMPS.COM, INC., et al.,                )
                                              )
  17                          Defendants. )
                                              )
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       4847-3712-1006.v2                                         Exhibit A-2
                                                                        -81-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 86 of 111 Page ID
                                 #:6346



   1                              Stamps.com Securities Settlement
                                       c/o Gilardi & Co. LLC
   2                                       P.O. Box 43315
                                    Providence, RI 02940-3315
   3                             Toll-Free Number: (866) 331-7166
                           Email: info@StampsSecuritiesSettlement.com
   4                       Website: www.StampsSecuritiesSettlement.com
   5
   6
                             PROOF OF CLAIM AND RELEASE
   7
     To be eligible to receive a share of the Net Settlement Fund in connection with the
   8 Settlement of this Litigation, you must complete and sign this Proof of Claim and
     Release (“Claim Form”) and mail it by first-class mail to the above address,
   9
     postmarked no later than _________, 2021 or submit it online at the above website
  10 on or before _____, 2021.
  11 Failure to submit your Claim Form by the date specified will subject your claim to
  12 rejection and may preclude you from being eligible to receive any money in
     connection with the Settlement.
  13
     Do not mail or deliver your Claim Form to the Court, the parties to the
  14 Litigation, or their counsel. Submit your Claim Form only to the Claims
  15 Administrator at the address set forth above.
  16          TABLE OF CONTENTS                                            PAGE #
  17          PART I –INSTRUCTIONS
  18          PART II – CLAIMANT IDENTIFICATION
  19          PART III – SCHEDULE OF TRANSACTIONS IN
                         STAMPS.COM COMMON STOCK
  20
  21          PART IV – SUBMISSION TO JURISDICTION OF COURT
                        AND ACKNOWLEDGMENTS
  22
              PART V – RELEASE AND SIGNATURE
  23
  24
  25
  26
  27
  28
                                             -i-
       4847-3712-1006.v2                                               Exhibit A-2
                                                                              -82-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 87 of 111 Page ID
                                 #:6347



   1                                   PART I - INSTRUCTIONS
   2 A.         GENERAL INSTRUCTIONS
   3            1.         To recover as a Member of the Class based on your claims in the action
   4 entitled Karinski v. Stamps.com, Inc., et al., Case No. 2:19-cv-01828-MWF-SK (the
   5 “Litigation”), you must complete and, on page [__] hereof, sign this Proof of Claim
   6 and Release (“Claim Form”). If you fail to file a properly addressed (as set forth in
   7 paragraph 3 below) Claim Form, your claim may be rejected, and you may be
   8 precluded from any recovery from the Net Settlement Fund created in connection with
   9 the proposed settlement of the Litigation.
  10            2.         Submission of this Claim Form, however, does not assure that you will
  11 share in the proceeds of settlement in the Litigation.
  12            3.         YOU MUST MAIL OR SUBMIT ONLINE YOUR COMPLETED AND
  13 SIGNED CLAIM FORM ON OR BEFORE ____________, 2021, ADDRESSED AS
  14 FOLLOWS:
  15            Stamps.com Securities Settlement
                Claims Administrator
  16
                c/o Gilardi & Co. LLC
  17            P.O. Box 43315
                Providence, RI 02940-3315
  18
                Online Submissions: www.StampsSecuritiesSettlement.com
  19
       If you are NOT a Member of the Class, as defined below and in the Notice of
  20
       Pendency and Settlement of Class Action (the “Notice”), DO NOT submit a Claim
  21
       Form.
  22
                4.         If you are a Member of the Class and you do not timely and validly
  23
       request exclusion from the Class, you are bound by the terms of any judgment entered
  24
       in the Litigation, including the releases provided therein, WHETHER OR NOT YOU
  25
       SUBMIT A CLAIM FORM.
  26
                5.         It is important that you completely read and understand the Notice that
  27
       accompanies this Claim Form, including the Plan of Allocation of the Net Settlement
  28
                                                   -1-
       4847-3712-1006.v2                                                         Exhibit A-2
                                                                                        -83-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 88 of 111 Page ID
                                 #:6348



   1 Fund set forth in the Notice. The Notice describes the proposed Settlement, how
   2 Class Members are affected by the Settlement, and the manner in which the Net
   3 Settlement Fund will be distributed if the Settlement and Plan of Allocation are
   4 approved by the Court. The Notice also contains the definitions of many of the
   5 defined terms (which are indicated by initial capital letters) used in this Claim Form.
   6 By signing and submitting this Claim Form, you will be certifying that you have read
   7 and that you understand the Notice, including the terms of the releases described
   8 therein and provided for herein.
   9 B.         CLAIMANT IDENTIFICATION
  10            1.         If you purchased or acquired Stamps.com common stock and held the
  11 certificate(s) in your name, you are the beneficial purchaser or acquirer as well as the
  12 record purchaser or acquirer. If, however, the certificate(s) were registered in the
  13 name of a third party, such as a nominee or brokerage firm, you are the beneficial
  14 purchaser and the third party is the record purchaser.
  15            2.         Use Part II of this form entitled “Claimant Identification” to identify the
  16 beneficial owner(s) of the Stamps.com common stock. The complete name(s) of the
  17 beneficial owner(s) must be entered. If you held the eligible Stamps.com common
  18 stock in your own name, you are the beneficial owner as well as the record owner. If,
  19 however, your shares of eligible Stamps.com common stock were registered in the
  20 name of a third party, such as a nominee or brokerage firm, you are the beneficial
  21 owner of these shares, but the third party is the record owner. THIS CLAIM MUST
  22 BE FILED AND SIGNED BY THE ACTUAL BENEFICIAL PURCHASER(S) OR
  23 ACQUIRER(S) OR THE LEGAL REPRESENTATIVE OF SUCH PURCHASER(S)
  24 OR ACQUIRER(S) OF THE STAMPS.COM COMMON STOCK UPON WHICH
  25 THIS CLAIM IS BASED.
  26            3.         All joint purchasers must sign this Claim Form and be identified in Part
  27 II. The Social Security (or taxpayer identification) number and telephone number of
  28 the beneficial owner may be used in verifying the claim. Failure to provide the
                                                    -2-
       4847-3712-1006.v2                                                            Exhibit A-2
                                                                                           -84-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 89 of 111 Page ID
                                 #:6349



   1 foregoing information could delay verification of your claim or result in rejection of
   2 the claim.
   3            4.         One Claim should be submitted for each separate legal entity.
   4 Separate Claim Forms should be submitted for each separate legal entity (e.g., a claim
   5 from joint owners should not include separate transactions of just one of the joint
   6 owners, and an individual should not combine his or her IRA transactions with
   7 transactions made solely in the individual’s name). Conversely, a single Claim Form
   8 should be submitted on behalf of one legal entity including all transactions made by
   9 that entity on one Claim Form, no matter how many separate accounts that entity has
  10 (e.g., a corporation with multiple brokerage accounts should include all transactions
  11 made in all accounts on one Claim Form).
  12            5.         Agents, executors, administrators, guardians, and trustees must complete
  13 and sign the Claim Form on behalf of persons represented by them, and they must:
  14                       (a)   expressly state the capacity in which they are acting;
  15                       (b)   identify the name, account number, Social Security Number (or
  16                             taxpayer identification number), address, and telephone number of
                                 the beneficial owner of (or other person or entity on whose behalf
  17                             they are acting with respect to) the Stamps.com common stock;
  18                             and
  19                       (c)   furnish herewith evidence of their authority to bind to the Claim
                                 Form the person or entity on whose behalf they are acting.
  20
                                 (Authority to complete and sign a Claim Form cannot be
  21                             established by stockbrokers demonstrating only that they have
                                 discretionary authority to trade securities in another person’s
  22
                                 accounts.)
  23
                6.         By submitting a signed Claim Form, you will be swearing that you:
  24
                           (a)   own or owned the Stamps.com common stock you have listed in
  25
                the Claim Form; or
  26
                           (b)   are expressly authorized to act on behalf of the owner thereof.
  27
  28
                                                   -3-
       4847-3712-1006.v2                                                         Exhibit A-2
                                                                                        -85-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 90 of 111 Page ID
                                 #:6350



   1 C.         CLAIM FORM
   2            1.         Use Part III of this form entitled “Schedule of Transactions in
   3 Stamps.com Common Stock” to supply all required details of your transaction(s) in
   4 and holdings of Stamps.com common stock. If you need more space or additional
   5 schedules, attach separate sheets giving all of the required information in substantially
   6 the same form. Sign and print or type your name on each additional sheet.
   7            2.         On the schedules, provide all of the requested information with respect to
   8 all of your purchases and acquisitions and all of your sales of Stamps.com common
   9 stock that took place at any time on or between and including May 3, 2017 and
  10 August 6, 2019, whether such transactions resulted in a profit or a loss. Failure to
  11 report all such transactions may result in the rejection of your claim. Also, list the
  12 number of shares held at the close of trading on May 3, 2017, May 8, 2019, and
  13 August 6, 2019.
  14            3.         List each transaction in the Class Period separately and in chronological
  15 order, by trade date, beginning with the earliest. You must accurately provide the
  16 month, day and year of each transaction you list.
  17            4.         You are required to submit genuine and sufficient documentation for all
  18 of your transactions in and holdings of Stamps.com common stock set forth in the
  19 Claim Form. Documentation may consist of copies of brokerage confirmation slips or
  20 monthly brokerage account statements, or an authorized statement from your broker
  21 containing the transactional and holding information found in a broker confirmation
  22 slip or account statement.              The parties and the Claims Administrator do not
  23 independently have information about your investments in Stamps.com common
  24 stock. IF SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE
  25 OBTAIN COPIES OF THE DOCUMENTS OR EQUIVALENT DOCUMENTS
  26 FROM YOUR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION
  27 MAY RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT SEND
  28 ORIGINAL DOCUMENTS. Please keep a copy of all documents that you send to
                                -4-
       4847-3712-1006.v2                                                           Exhibit A-2
                                                                                          -86-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 91 of 111 Page ID
                                 #:6351



   1 the Claims Administrator. Also, do not highlight any portion of the Claim Form
   2 or any supporting documents.
   3            5.         The above requests are designed to provide the minimum amount of
   4 information necessary to process the simplest claims. The Claims Administrator may
   5 request additional information as required to efficiently and reliably calculate your
   6 losses. In the event the Claims Administrator cannot perform the calculation
   7 accurately or at a reasonable cost to the Class with the information provided, the
   8 Claims Administrator may condition acceptance of the claim upon the production of
   9 additional information and/or the claimant’s responsibility for any increased costs due
  10 to the nature and/or scope of the claim.
  11            6.         If the Court approves the Settlement, payments to eligible Authorized
  12 Claimants pursuant to the Plan of Allocation (or such other plan of allocation as the
  13 Court approves) will be made after any appeals are resolved, and after the completion
  14 of all claims processing. The claims process will take substantial time to complete
  15 fully and fairly. Please be patient.
  16            7.         PLEASE NOTE:         As set forth in the Plan of Allocation, each
  17 Authorized Claimant shall receive his, her or its pro rata share of the Net Settlement
  18 Fund. If the prorated payment to any Authorized Claimant calculates to less than
  19 $10.00, it will not be included in the calculation and no distribution will be made to
  20 that Authorized Claimant.
  21            8.         If you have questions concerning the Claim Form, or need additional
  22 copies of the Claim Form or the Notice, you may contact the Claims Administrator,
  23 Gilardi & Co. LLC, at the address on the first page of the Claim Form, by email at
  24 info@StampsSecuritiesSettlement.com, or by toll-free phone at (866) 331-7166, or
  25 you can visit the website, www.StampsSecuritiesSettlement.com, where copies of the
  26 Claim Form and Notice are available for downloading.
  27            9.         NOTICE REGARDING ELECTRONIC FILES: Certain claimants with
  28 large numbers of transactions may request, or may be requested, to submit information
                                                  -5-
       4847-3712-1006.v2                                                       Exhibit A-2
                                                                                      -87-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 92 of 111 Page ID
                                 #:6352



   1 regarding their transactions in electronic files. To obtain the mandatory electronic
   2 filing requirements and file layout, you may visit the settlement website at
   3 www.StampsSecuritiesSettlement.com or you may email the Claims Administrator’s
   4 electronic filing department at info@StampsSecuritiesSettlement.com. Any file not
   5 in accordance with the required electronic filing format will be subject to
   6 rejection. Only one claim should be submitted for each separate legal entity (see ¶B.4
   7 above) and the complete name of the beneficial owner(s) of the securities must be
   8 entered where called for (see ¶B.2 above). No electronic files will be considered to
   9 have been submitted unless the Claims Administrator issues an email to that effect.
  10 Do not assume that your file has been received until you receive this email. If
  11 you do not receive such an email within 10 days of your submission, you should
  12 contact the electronic filing department at info@StampsSecuritiesSettlement.com
  13 to inquire about your file and confirm it was received.
  14
  15                            IMPORTANT: PLEASE NOTE
  16            YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN
  17 ACKNOWLEDGEMENT POSTCARD. THE CLAIMS ADMINISTRATOR
  18 WILL ACKNOWLEDGE RECEIPT OF YOUR CLAIM FORM BY MAIL,
  19 WITHIN 60 DAYS. IF YOU DO NOT RECEIVE AN ACKNOWLEDGEMENT
  20 POSTCARD WITHIN 60 DAYS, CALL THE CLAIMS ADMINISTRATOR
  21 TOLL FREE AT (866) 331-7166.
  22
                           PART II:   CLAIMANT IDENTIFICATION
  23
  24    Beneficial Owner’s Name (First, Middle, Last)
  25
  26    Joint Beneficial Owner’s Name (if applicable) (First, Middle, Last)
  27
  28
                                            -6-
       4847-3712-1006.v2                                                 Exhibit A-2
                                                                                -88-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 93 of 111 Page ID
                                 #:6353



   1    Name of Representative, if applicable (executor, administrator, trustee, c/o, etc.),
        if different from Beneficial Owner
   2
   3    Street Address

   4
   5    City                                       State or Province

   6
   7    Zip Code or Postal Code                    Country

   8                                                                   Individual
        Social Security Number or                  ___________         Corporation/Other
   9    Taxpayer Identification Number
  10
  11    Area Code            Telephone Number (work)

  12
        Area Code            Telephone Number (home)
  13
  14
  15    Record Owner’s Name (if different from beneficial owner listed above)
  16
  17
  18
  19
  20
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  28
                                             -7-
       4847-3712-1006.v2                                                    Exhibit A-2
                                                                                   -89-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 94 of 111 Page ID
                                 #:6354



   1           PART III: SCHEDULE OF TRANSACTIONS IN STAMPS.COM
                                     COMMON STOCK
   2
     Please be sure to include proper documentation with your Claim Form as described in
   3 detail in ¶C.4 of the Instructions. Do not include information regarding securities
     other than Stamps.com common stock.
   4
   5               A.       Number of shares of Stamps.com common stock held at the close
                            of trading on May 2, 2017. (Must be documented.) If none, write
   6                        “zero”: ____________
   7               B.       Purchases or acquisitions of Stamps.com common stock (May 3,
                            2017-August 6, 2019, inclusive) (Must be documented.):
   8
   9 Date  of Purchase/ Number of                      Purchase /   Total Purchase or
     Acquisition        Shares Purchased               Acquisition  Acquisition Price
     (Trade Date)
  10 Mo. / Day / Year   or Acquired                                 (excluding any
                                                       Price Per Share
                                                                    taxes, commissions,
  11                                                                and fees)
          /    /                                $                   $
  12           /    /                           $                   $
  13           /    /                           $                   $
               /    /                           $                   $
  14
                 IMPORTANT: If any purchase listed covered a “short sale,” please mark Yes:
  15              Yes

  16               C.       Sales of Stamps.com common stock (May 3, 2017- August 6,
                            2019, inclusive) (Must be documented.):
  17
     Trade Date                    Number of           Sale Price          Total Sales Price
  18 Mo. Day Year                  Shares Sold         Per Share           (not deducting any
                                                                           taxes, commissions,
  19                                                                       and fees)
               /        /                              $                   $
  20           /        /                              $                   $
  21           /        /                              $                   $
               /        /                              $                   $
  22
  23               D.       Number of shares of Stamps.com common stock held at the close
                            of trading on May 8, 2019. (Must be documented.) If none, write
  24                        “zero”: ________________________
  25               E.       Number of shares of Stamps.com common stock held at the close
                            of trading on August 6, 2019. (Must be documented.) If none,
  26                        write “zero”: _______________.
  27               If you require additional space, attach extra schedules in the same format as
  28 above. Sign and print your name on each additional page.
                                                   -8-
       4847-3712-1006.v2                                                        Exhibit A-2
                                                                                       -90-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 95 of 111 Page ID
                                 #:6355



   1            YOU MUST READ AND SIGN THE RELEASE ON PAGE __. FAILURE
   2 TO SIGN THE RELEASE MAY RESULT IN A DELAY IN PROCESSING OR
   3 THE REJECTION OF YOUR CLAIM.
   4
   5       PART IV – SUBMISSION TO JURISDICTION OF COURT AND
                             ACKNOWLEDGMENTS
   6
   7            I (We) submit this Claim Form under the terms of the Stipulation of Settlement

   8 dated August 16, 2021 (“Stipulation”) described in the Notice. I (We) also submit to
   9 the jurisdiction of the United States District Court for the Central District of
  10 California, with respect to my (our) claim as a Class Member (as defined in the
  11 Notice) and for purposes of enforcing the release set forth herein. I (We) further
  12 acknowledge that I am (we are) bound by and subject to the terms of any judgment
  13 that may be entered in the Litigation. I (We) agree to furnish additional information to
  14 Lead Counsel and/or the Claims Administrator to support this claim if required to do
  15 so. I (We) have not submitted any other claim covering the same purchases,
  16 acquisitions, or sales of Stamps.com common stock during the Class Period and know
  17 of no other Person having done so on my (our) behalf.
                                        PART V – RELEASE
  18
  19            1.         I (We) hereby acknowledge full and complete satisfaction of, and do

  20 hereby fully, finally and forever settle, release, relinquish and discharge all of the
  21 Released Plaintiff’s Claims (including Unknown Claims) against each and all of the
  22 Released Defendant Parties, all as defined herein and in the Notice and Stipulation.
  23       2.   This release shall be of no force or effect unless and until the Court

  24 approves the Stipulation and it becomes effective on the Effective Date.
  25       3.    I (We) hereby warrant and represent that I (we) have not assigned or

  26 transferred or purported to assign or transfer, voluntarily or involuntarily, any matter
  27 released pursuant to this release or any other part or portion thereof and have not
  28
                                                  -9-
       4847-3712-1006.v2                                                      Exhibit A-2
                                                                                     -91-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 96 of 111 Page ID
                                 #:6356



   1 submitted any other claim covering the same purchases of Stamps.com common stock
   2 and know of no other person having done so on my (our) behalf.
   3            4.         I (We) hereby warrant and represent that I (we) have included all
   4 requested information about all of my (our) purchases or acquisitions of Stamps.com
   5 common stock during the Class Period, as well as sales of Stamps.com common stock
   6 between May 3, 2017 through August 6, 2019, as well as the number of shares held at
   7 the close of trading on May 2, 2017, May 8, 2019, and August 6, 2019.
   8            5.         The number(s) shown on this form is (are) the correct SSN/TIN(s).
   9            6.         I (We) waive the right to trial by jury, to the extent it exists, and agree to
  10 the determination by the Court of the validity or amount of this claim, and waive any
  11 right of appeal or review with respect to such determination.
  12            7.         I (We) certify that I am (we are) NOT subject to backup withholding
  13 under the provisions of Section 3406(a)(1)(C) of the Internal Revenue Code.
  14            (NOTE: If you have been notified by the Internal Revenue Service that you are
  15 subject to backup withholding, you must cross out Item 7 above.)
  16            I (We) declare under penalty of perjury under the laws of the United States of
  17 America that the foregoing information supplied by the undersigned is true and
  18 correct.
  19            Executed this ____ day of _________, 20__,
  20                                                   (Month/Year)
  21
  22 in _____________________, _______________________________________.
           (City)                (State/Country)
  23
  24                                                   ________________________________
  25                                                   (Sign your name here)
  26
                                                       ________________________________
  27                                                   (Type or print your name here)
  28
                                                    - 10 -
       4847-3712-1006.v2                                                              Exhibit A-2
                                                                                             -92-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 97 of 111 Page ID
                                 #:6357



   1                                                 ________________________________
                                                     (Capacity of person(s) signing, e.g.,
   2
                                                     Beneficial Purchaser or Acquirer,
   3                                                 Executor or Administrator)
   4 For Joint Beneficial Purchaser, if any:
   5
                                                     ________________________________
   6                                                 (Sign your name here)
   7
                                                     ________________________________
   8
                                                     (Type or print your name here)
   9
  10                          ACCURATE CLAIMS PROCESSING TAKES A
                                  SIGNIFICANT AMOUNT OF TIME.
  11                             THANK YOU FOR YOUR PATIENCE.
  12            Reminder Checklist:
  13            1.         Please sign the above release and declaration.
  14            2.         Remember to attach copies of supporting documentation, if available.
  15            3.         Do not send original stock certificates. Attach only copies of acceptable
  16 supporting documentation as these documents will not be returned to you.
  17            4.         Keep a copy of your Claim Form for your records.
  18            5.         The Claims Administrator will acknowledge receipt of your Claim Form
  19 by mail, within 60 days. Your claim is not deemed filed until you receive an
  20 acknowledgement postcard. If you do not receive an acknowledgement postcard
  21 within 60 days, please call the Claims Administrator toll free at (866) 331-7166.
  22            6.         If you move, please send us your new address.
  23            7.         If you have any questions or concerns regarding your claim, contact the
  24 Claims Administrator at Stamps.com Securities Settlement, c/o Gilardi & Co. LLC,
  25 P.O.            Box      43315,     Providence,      RI    02940-3315,      by     email     at
  26 info@StampsSecuritiesSettlement.com, or by toll-free phone at (866) 331-7166, or
  27 you may visit www.StampsSecuritiesSettlement.com. DO NOT call Stamps.com, the
  28 other Defendants, or their counsel with questions regarding your claim.
                                         - 11 -
       4847-3712-1006.v2                                                          Exhibit A-2
                                                                                         -93-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 98 of 111 Page ID
                                 #:6358




                    EXHIBIT A-3
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 99 of 111 Page ID
                                 #:6359



   1 ROBBINS GELLER RUDMAN
       & DOWD LLP
   2 STEVEN W. PEPICH (116086)
     JASON A. FORGE (181542)
   3 ERIC I. NIEHAUS (239023)
     HILLARY B. STAKEM (286152)
   4 KEVIN S. SCIARANI (301411)
     655 West Broadway, Suite 1900
   5 San Diego, CA 92101-8498
     Telephone: 619/231-1058
   6 619/231-7423 (fax)
     stevep@rgrdlaw.com
   7 jforge@rgrdlaw.com
     ericn@rgrdlaw.com
   8 hstakem@rgrdlaw.com
     ksciarani@rgrdlaw.com
   9
     Lead Counsel for Lead Plaintiff
  10
                          UNITED STATES DISTRICT COURT
  11
                         CENTRAL DISTRICT OF CALIFORNIA
  12
     MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF-SK
  13 Behalf of All Others Similarly Situated, )
                                              ) CLASS ACTION
  14                          Plaintiff,      )
                                              ) SUMMARY NOTICE
  15       vs.                                )
                                              ) EXHIBIT A-3
  16 STAMPS.COM, INC., et al.,                )
                                              )
  17                          Defendants. )
                                              )
  18
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       4811-2825-0350.v5                                         Exhibit A-3
                                                                        -94-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 100 of 111 Page ID
                                  #:6360



    1 IF YOU PURCHASED OR ACQUIRED STAMPS.COM INC. (“STAMPS.COM”)
      COMMON STOCK FROM MAY 3, 2017, THROUGH AND INCLUDING MAY 8,
    2 2019, AND WERE DAMAGED THEREBY (THE “CLASS”), YOU COULD
      RECEIVE A PAYMENT FROM A CLASS ACTION SETTLEMENT. CERTAIN
    3 PERSONS ARE EXCLUDED FROM THE DEFINITION OF THE CLASS AS
      SET FORTH IN THE STIPULATION OF SETTLEMENT.
    4
             PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS MAY BE
    5
      AFFECTED BY A CLASS ACTION LAWSUIT PENDING IN THIS COURT.
    6
             YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of
    7
      Civil Procedure and Order of the United States District Court for the Central District
    8
      of California that the above-captioned litigation (the “Litigation”) has been certified as
    9
      a class action and that a Settlement has been proposed for $100,000,000 in cash. A
   10
      hearing will be held on ____________, 2021, at __:__ _.m., before the Honorable
   11
      Michael W. Fitzgerald at the United States District Court for the Central District of
   12
      California, First Street Courthouse, 350 West First Street, Courtroom 5A, Los
   13
      Angeles, California 90012, for the purpose of determining whether: (1) the proposed
   14
      Settlement should be approved by the Court as fair, reasonable and adequate; (2) the
   15
      proposed Plan of Allocation for distribution of the Settlement proceeds is fair,
   16
      reasonable and adequate and therefore should be approved; and (3) the application of
   17
      Lead Plaintiff’s counsel for the payment of attorneys’ fees and expenses should be
   18
      approved.
   19
             IF YOU ARE A MEMBER OF THE CLASS DESCRIBED ABOVE,
   20
      YOUR RIGHTS MAY BE AFFECTED BY THE SETTLEMENT OF THE
   21
      LITIGATION, AND YOU MAY BE ENTITLED TO SHARE IN THE
   22
      SETTLEMENT FUND. If you have not received a detailed Notice of Pendency and
   23
      Settlement of Class Action (the “Notice”) and a copy of the Claim Form, you may
   24
      obtain a copy of these documents by contacting the Claims Administrator:
   25
      Stamps.com Securities Settlement, c/o Gilardi & Co. LLC, P.O. Box 43315,
   26
      Providence, RI 02940-3315. You may also obtain copies of the Stipulation of
   27
      Settlement, Notice and Claim Form at www.StampsSecuritiesSettlement.com.
   28
                                                 -1-
       4811-2825-0350.v5                                                      Exhibit A-3
                                                                                     -95-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 101 of 111 Page ID
                                  #:6361



    1            If you are a Class Member, to be eligible to share in the distribution of the Net
    2 Settlement Fund, you must submit a Claim Form by mail postmarked no later than
    3 ____________, 2021, or submit it online by that date. If you are a Class Member and
    4 do not submit a valid Claim Form, you will not be eligible to share in the distribution
    5 of the Net Settlement Fund, but you will still be bound by any judgment entered by
    6 the Court in this Litigation (including the releases provided for therein).
    7            To exclude yourself from the Class, you must submit a written request for
    8 exclusion so that it is received by ____________, 2021, in accordance with the
    9 instructions set forth in the Notice. If you are a Class Member and do not exclude
   10 yourself from the Class, you will be bound by any judgment entered by the Court in
   11 this Litigation (including the releases provided for therein) whether or not you submit
   12 a Claim Form. If you submit a written request for exclusion, you will have no right to
   13 recover money pursuant to the Settlement.
   14            Any objection to the proposed Settlement, the Plan of Allocation, or the fee and
   15 expenses application must be filed with the Court and delivered such that it is received
   16 by each of the following no later than _______, 2021:
   17
                 CLERK OF THE COURT
   18            UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA
   19            First Street Courthouse
                 350 West First Street
   20            Suite 4311
                 Los Angeles, CA 90012
   21
                 Lead Counsel:
   22
                 ROBBINS GELLER RUDMAN
   23             & DOWD LLP
                 ERIC I. NIEHAUS
   24            655 West Broadway, Suite 1900
                 San Diego, CA 92101
   25
   26
   27
   28
                                                   -2-
        4811-2825-0350.v5                                                       Exhibit A-3
                                                                                       -96-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 102 of 111 Page ID
                                  #:6362



    1            Defendants’ Counsel:
    2            KATTEN MUCHIN ROSENMAN LLP
                 RICHARD H. ZELICHOV
    3
                 2029 Century Park East, Suite 2600
    4            Los Angeles, CA 90067

    5 PLEASE DO NOT CONTACT THE COURT, THE CLERK’S OFFICE,
    6 DEFENDANTS, OR DEFENDANTS’ COUNSEL REGARDING THIS
    7 NOTICE. If you have any questions about the Settlement, or your eligibility to
    8 participate in the Settlement, you may contact Lead Counsel at the address listed
    9 above or by calling 1-800-449-4900.
   10
   11 DATED: ________________               BY ORDER OF THE COURT
                                            UNITED STATES DISTRICT COURT
   12                                       CENTRAL DISTRICT OF CALIFORNIA
   13
   14
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                                             -3-
        4811-2825-0350.v5                                             Exhibit A-3
                                                                             -97-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 103 of 111 Page ID
                                  #:6363




                       EXHIBIT B
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 104 of 111 Page ID
                                  #:6364



    1 ROBBINS GELLER RUDMAN
        & DOWD LLP
    2 STEVEN W. PEPICH (116086)
      JASON A. FORGE (181542)
    3 ERIC I. NIEHAUS (239023)
      HILLARY B. STAKEM (286152)
    4 KEVIN S. SCIARANI (301411)
      655 West Broadway, Suite 1900
    5 San Diego, CA 92101-8498
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    8 hstakem@rgrdlaw.com
      ksciarani@rgrdlaw.com
    9
      Lead Counsel for Lead Plaintiff
   10
                           UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12
      MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF-SK
   13 Behalf of All Others Similarly Situated, )
                                               ) CLASS ACTION
   14                          Plaintiff,      )
                                               ) [PROPOSED] FINAL JUDGMENT
   15       vs.                                ) AND ORDER OF DISMISSAL WITH
                                               ) PREJUDICE
   16 STAMPS.COM, INC., et al.,                )
                                               ) EXHIBIT B
   17                          Defendants. )
                                               )
   18
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        4823-9401-2654.v4                                           Exhibit B
                                                                        -98-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 105 of 111 Page ID
                                  #:6365



    1            This matter came before the Court for hearing pursuant to the Order of this
    2 Court, dated ____________, on the application of the Settling Parties for approval of
    3 the Settlement set forth in the Stipulation of Settlement dated August 16, 2021 (the
    4 “Stipulation”). Due and adequate notice having been given to the Class as required in
    5 the Order, the Court having considered all papers filed and proceedings held herein
    6 and otherwise being fully informed in the premises and good cause appearing
    7 therefore, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
    8            1.         This Judgment incorporates by reference the definitions in the
    9 Stipulation, and all terms used herein shall have the same meanings as set forth in the
   10 Stipulation, unless otherwise stated herein.
   11            2.         This Court has jurisdiction over the subject matter of the Litigation and
   12 over all parties to the Litigation, including all Members of the Class.
   13            3.         Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court
   14 hereby approves the Settlement set forth in the Stipulation and finds that:
   15                       (a)   the Stipulation and the Settlement contained therein are, in all
   16 respects, fair, reasonable and adequate;
   17                       (b)   there was no collusion in connection with the Stipulation;
   18                       (c)   the Stipulation was the product of informed, arm’s-length
   19 negotiations among competent, able counsel; and
   20                       (d)   the record is sufficiently developed and complete to have enabled
   21 Lead Plaintiff and Defendants to have adequately evaluated and considered their
   22 positions.
   23            4.         Accordingly, the Court authorizes and directs implementation and
   24 performance of all the terms and provisions of the Stipulation, as well as the terms and
   25 provisions hereof. Except as to any individual claim of those Persons who have
   26 validly and timely requested exclusion from the Class (identified in Exhibit 1 hereto),
   27 the Litigation and all claims contained therein are dismissed with prejudice as to Lead
   28 Plaintiff and the other Class Members and as against each and all of the Released
                                                       -1-
        4823-9401-2654.v4                                                            Exhibit B
                                                                                         -99-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 106 of 111 Page ID
                                  #:6366



    1 Defendant Parties. The Settling Parties are to bear their own costs except as otherwise
    2 provided in the Stipulation.
    3            5.         No Person shall have any claim against Lead Plaintiff, Lead Counsel, or
    4 the Claims Administrator, or any other Person designated by Lead Counsel based on
    5 determinations or distributions made substantially in accordance with the Stipulation
    6 and the Settlement contained therein, the Plan of Allocation, or further order(s) of the
    7 Court.
    8            6.         Upon the Effective Date, Lead Plaintiff and each of the Class Members
    9 shall be deemed to have, and by operation of this Judgment shall have, fully, finally
   10 and forever waived, released, discharged, and dismissed each and every one of the
   11 Released Plaintiff’s Claims (including, without limitation, Unknown Claims) against
   12 each and every one of the Released Defendant Parties with prejudice on the merits,
   13 whether or not Lead Plaintiff or such Class Member executes and delivers the Proof of
   14 Claim and Release and whether or not Lead Plaintiff or each of the Class Members
   15 ever seeks or obtains any distribution from the Settlement Fund. Claims to enforce
   16 the terms of the Stipulation are not released.
   17            7.         Upon the Effective Date, the Defendants and each and every Released
   18 Defendant Party shall be deemed to have, and by operation of this Judgment shall
   19 have, fully, finally and forever waived, released, discharged, and dismissed the
   20 Releasing Plaintiff Parties from all Released Defendants’ Claims (including, without
   21 limitation, Unknown Claims). Claims to enforce the terms of the Stipulation are not
   22 released.
   23            8.         Upon the Effective Date, Lead Plaintiff, all Class Members and anyone
   24 claiming through or on behalf of any of them are forever barred and enjoined from
   25 commencing, instituting, asserting or continuing to prosecute any action or proceeding
   26 in any court of law or equity, arbitration tribunal, administration forum or other forum
   27 of any kind any of the Released Plaintiff’s Claims (including, without limitation,
   28 Unknown Claims) against any of the Released Defendant Parties.
                                                      -2-
        4823-9401-2654.v4                                                           Exhibit B
                                                                                       -100-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 107 of 111 Page ID
                                  #:6367



    1            9.         The distribution of the Notice and publication of the Summary Notice as
    2 provided for in the Preliminary Approval Order constituted the best notice practicable
    3 under the circumstances, including individual notice to Class Members who could be
    4 identified through reasonable effort. The notice provided was the best notice
    5 practicable under the circumstances of those proceedings and of the matters set forth
    6 therein, including the proposed Settlement set forth in the Stipulation, to all Persons
    7 entitled to such notice, and said notice fully satisfied the requirements of Federal Rule
    8 of Civil Procedure 23, due process and any other applicable law, including the Private
    9 Securities Litigation Reform Act of 1995. No Class Member is relieved from the
   10 terms of the Settlement, including the releases provided for therein, based upon the
   11 contention or proof that such Class Member failed to receive actual or adequate
   12 notice. A full opportunity has been offered to the Class Members to object to the
   13 proposed Settlement and to participate in the hearing thereon. The Court further finds
   14 that the notice provisions of the Class Action Fairness Act, 28 U.S.C. Section 1715,
   15 were fully discharged and that the statutory waiting period has elapsed. Thus, it is
   16 hereby determined that all Members of the Class are bound by this Judgment, except
   17 those persons listed on Exhibit 1 to this Judgment.
   18            10.        Any Plan of Allocation submitted by Lead Counsel or any order entered
   19 regarding any attorneys’ fee and expense application shall in no way disturb or affect
   20 this Judgment and shall be considered separate from this Judgment. Any order or
   21 proceeding relating to the Plan of Allocation or any order entered regarding any
   22 attorneys’ fee and expense application, or any appeal from any order relating thereto
   23 or reversal or modification thereof, shall not affect or delay the finality of this
   24 Judgment.
   25            11.        Neither the Stipulation, nor any of its terms or provisions, nor any of the
   26 negotiations or proceedings connected with it: (a) is or may be deemed to be or may
   27 be used as an admission of, or evidence of, the validity of any Released Plaintiff’s
   28 Claims by the Released Defendant Parties, or of any wrongdoing or liability of the
                                                        -3-
        4823-9401-2654.v4                                                              Exhibit B
                                                                                          -101-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 108 of 111 Page ID
                                  #:6368



    1 Released Defendant Parties; (b) is or may be deemed to be or may be used as an
    2 admission of, or evidence of, any fault or omission of any of the Released Defendant
    3 Parties in any civil, criminal or administrative proceeding in any court, administrative
    4 agency, or other tribunal or of any liability or wrongdoing of any kind; (c) is or may
    5 be deemed to be evidence of or an admission or concession that Lead Plaintiff or any
    6 Class Members have suffered any damages, harm, or loss. The Released Defendant
    7 Parties may file the Stipulation and/or this Judgment in any other action that may be
    8 brought against them in order to support a defense or counterclaim based on principles
    9 of res judicata, collateral estoppel, release, good faith settlement, judgment bar or
   10 reduction, or any other theory of claim preclusion or issue preclusion or similar
   11 defense or counterclaim.
   12            12.        Without affecting the finality of this Judgment in any way, this Court
   13 hereby retains continuing jurisdiction over: (a) implementation of the Settlement and
   14 any award or distribution of the Settlement Fund, including interest earned thereon;
   15 (b) disposition of the Settlement Fund; (c) hearing and determining applications for
   16 attorneys’ fees and expenses in the Litigation; and (d) all parties hereto for the purpose
   17 of construing, enforcing and administering the Settlement.
   18            13.        The Court finds that during the course of the Litigation, the Settling
   19 Parties and their respective counsel at all times complied with the requirements of
   20 Federal Rule of Civil Procedure 11.
   21            14.        In the event that the Settlement does not become effective in accordance
   22 with the terms of the Stipulation, or the Effective Date does not occur, or in the event
   23 that the Settlement Fund, or any portion thereof, is returned to the Defendants or their
   24 insurers, then this Judgment shall be rendered null and void to the extent provided by
   25 and in accordance with the Stipulation and shall be vacated; and in such event, all
   26 orders entered and releases delivered in connection herewith shall be null and void to
   27 the extent provided by and in accordance with the Stipulation.
   28
                                                       -4-
        4823-9401-2654.v4                                                           Exhibit B
                                                                                       -102-
Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 109 of 111 Page ID
                                  #:6369



    1            15.        The Settling Parties shall bear their own costs and expenses except as
    2 otherwise provided in the Stipulation or in this Judgment.
    3            16.        Without further order of the Court, the Settling Parties may agree to
    4 reasonable extensions of time to carry out any of the provisions of the Stipulation.
    5            17.        The Court directs immediate entry of this Judgment by the Clerk of the
    6 Court.
    7            18.        The Court’s orders entered during this Litigation relating to the
    8 confidentiality of information shall survive this Settlement.
    9            IT IS SO ORDERED.
   10    DATED: _____________                 _________________________________________
   11                                         THE HONORABLE MICHAEL W. FITZGERALD
                                              UNITED STATES DISTRICT JUDGE
   12
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        4823-9401-2654.v4                                                          Exhibit B
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Case 2:19-cv-01828-MWF-SK Document 196 Filed 08/16/21 Page 110 of 111 Page ID
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    1                             CERTIFICATE OF SERVICE
    2        I hereby certify under penalty of perjury that on August 16, 2021, I authorized
    3 the electronic filing of the foregoing with the Clerk of the Court using the CM/ECF
    4 system which will send notification of such filing to the e-mail addresses on the
    5 attached Electronic Mail Notice List, and I hereby certify that I caused the mailing of
    6 the foregoing via the United States Postal Service to the non-CM/ECF participants
    7 indicated on the attached Manual Notice List.
    8                                              s/Eric I. Niehaus
                                                   ERIC I. NIEHAUS
    9
                                                   ROBBINS GELLER RUDMAN
   10                                                    & DOWD LLP
                                                   655 West Broadway, Suite 1900
   11                                              San Diego, CA 92101-8498
                                                   Telephone: 619/231-1058
   12                                              619/231-7423 (fax)
   13                                              E-mail: ericn@rgrdlaw.com
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